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 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA   :
              Plaintiff       :
 4                            :
                              :
 5 vs                         :Criminal Action:          RWT -04-0235
                              :
 6                            :
   PAULETTE MARTIN, et al     :
 7           Defendants.      :
   ------------------------x
 8
                          Tuesday, June 20, 2006
 9                        Greenbelt, Maryland

10       The above-entitled action came on for a Jury Trial
   Proceeding before the HONORABLE ROGER W. TITUS, United
11 States District Judge, in courtroom 4C, commencing at
   10:06 a.m.
12
         THIS TRANSCRIPT REPRESENTS THE PRODUCT
13       OF AN OFFICIAL REPORTER, ENGAGED BY
         THE COURT, WHO HAS PERSONALLY CERTIFIED
14       THAT IT REPRESENTS THE TESTIMONY AND PROCEEDINGS
         AS RECORDED AND REQUESTED BY COUNSEL.
15
         APPEARANCES:
16
         On behalf of the Plaintiff:
17
         DEBORAH JOHNSTON, Esquire
18       BONNIE GREENBERG, Esquire

19       On behalf of the Defendants:

20       MICHAEL MONTEMARANO , Esquire
         ANTHONY MARTIN, Esquire
21       MARC HALL, Esquire
         TIMOTHY MITCHELL, Esquire
22       PETER WARD, Esquire
         EDWARD SUSSMAN , Esquire
23       HARRY MCKNETT , Esquire

24 Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
   Official Court Reporter
25




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 1                                 I N D E X

 2
                             DIRECT       CROSS    REDIRECT   RECROSS
 3
     Michael Thurman          3           27        123
 4
     Kevin Ashby             137          153       164
 5
     Christopher Sakala      177          187       191
 6

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23 Reporter's Certificate                                     235

24 Concordance                                                236

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 1            THE COURT:      Good morn ing .    Please   be seat ed .

 2            Ar e we ready for the jury ?

 3            MS. JOHNSTON:       Government 's ready , Your Honor .

 4            THE COURT:      And Mr. Martin , you got your

 5 transcript ?

 6            MR. MARTIN:      Yes, sir .

 7            THE COURT:      All right , bring them in .

 8            MR. MARTIN:      Thank s to Ms. Tracy Dunlap .

 9                          (Witness resumes the stand.)

10                          (Jury return s at 10 :08 a.m. )

11            THE COURT:      Good morn ing , ladies and gentlemen          .

12 I hope you had a good weekend .            We're ready to resume

13 now with the direct         examination    of this witness .

14            You may proceed , Ms . Johnston .

15                      FURTHER DIRECT EXAMINATION

16            BY MS. JOHNSTON:

17 Q.         Thank you , Your Honor .

18            Mr. Thurman , when we left off on Friday            I was

19 asking     you some question s about some different

20 location s.        You previous ly mention ed Anacostia       Road ,

21 and the -- you identifi ed a residence             a Mr. - -- where

22 Mr. Lane live d as where you met Mr. Goodwin .

23            Were there other location s where you met Mr.

24 Goodwin ?

25 A.         Yes .




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 1 Q.         Can you de scribe        some of those other location s?

 2 A.         Can you explain       the question ?

 3            Like , how do you want me to de scribe           it ?

 4 Q.         Either     by address     or who live d at the other

 5 location s where you met Mr. Goodwin , either              to pick up

 6 money or to deliver         drug s or to pick up drug s.

 7 A.         Different     place s.     The school    and what -- --

 8 Anacostia .

 9 Q.         You remember     --

10 A.         Shepherd .

11 Q.         Who live d at Shepherd ?

12 A.         Geri Ford and I did .

13 Q.         Do you know if Mr. Goodwin         is marri ed ?

14 A.         Yes .

15 Q.         Who is he marri ed to ?

16 A.         Connie .

17 Q.         Okay .     Have you ever been to the house where

18 Connie     live d?

19 A.         Yes .

20 Q.         For what purpose         have you been to that location ?

21 A.         To meet him , also .

22 Q.         When you say to meet him , for what purpose              were

23 you meet ing him ?

24 A.         To talk .     To pick up money .        To pick up drug s.

25 Q.         Let me show you what's         been mark ed as




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 1 Government 's Exhibit        P-84 .

 2            Do you recognize        that photograph ?

 3 A.         Yes .

 4 Q.         What is that ?

 5 A.         That 's Goodwin 's house .

 6 Q.         Who did he live there with ?

 7 A.         Tiffany    Vessel s.

 8            A JUROR:     Your Honor , these screen s are not

 9 work ing .

10            THE COURT:      Let me explain       to you that we 've had

11 a technological        failure .      You're   going to have to do

12 with what we have today with the TV screen s.                We will

13 be switch ing equipment , but it 's not work ing now.              So

14 if you have trouble         see ing that, let us know .

15            BY MS. JOHNSTON:

16 Q.         Was anyone    else there when you went to see Mr.

17 Goodwin , other than Ms. Vessels ?

18 A.         No .

19 Q.         I believe    on Friday      you identifi ed photograph s

20 of the Conversion        v an that you use d for the trip s to

21 Texas.

22            Do you recall     that testimony ?

23 A.         Yes .

24 Q.         When you were -- do you know how many -- strike

25 that .




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 1            Do you know how many trip s to Texas you made in

 2 that Conversion       van ?

 3 A.         Five more .

 4 Q.         Let me show you on the screen          what's    already

 5 been admitted       into evidence     as Government 's Exhibit

 6 OC-1 .

 7            Can you read that document         from ?

 8 A.         Yes .

 9 Q.         Can you tell -- do you recall          what that refer s

10 to ?

11 A.         Tire s for the van .

12 Q.         Where did you get the tire s for the van ?

13 A.         Houston , Texas .

14 Q.         Was that on one of the         trip s you de scribe d for

15 us last week ?

16 A.         Yes .

17 Q.         Let me approach      and show you a couple        of the

18 exhibit s that already        have been introduced         into

19 evidence , OC44 and OC-10- .

20            I want you to see them up close before             I put

21 them up on the screen .          It 's OC-4 and OC -7, to correct

22 the record .

23            Do you recognize      OC-4 ?

24 A.         Yes .

25 Q.         How about look ing up close at OC -7 .           Do you




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 1 recognize      that ?

 2 A.         Yes .

 3 Q.         Let me put them up on the screen .

 4            In reference     to OC -4 .    Do see that document ?

 5 A.         Yes .

 6 Q.         Okay .    Is there a date on that document ?

 7 A.         9/3 /2003 .

 8 Q.         Can you tell us what that document           refer s to ?

 9 A.         A part for my motor cycle .

10 Q.         Was that something         that you took care of while

11 you were in Texas ?

12            MR. MONTEMARANO :         Objection .

13            Lead ing .

14            THE WITNESS:      Yes .

15            THE COURT:      Sustained .

16            Ask the question .

17            BY MS. JOHNSTON:

18 Q.         Do you recall     what that related      to and why that

19 receipt     would have been in your Conversion           van ?

20 A.         A part I bought      for a motor cycle while I was in

21 Texas .

22 Q.         Whose motor cycle was it ?

23 A.         Mine s.

24 Q.         Where was that motor cycle kept ?

25 A.         Houston , Texas .




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 1 Q.         At whose house ?

 2 A.         Steve n Campbell 's .

 3 Q.         Next , let me show you OC -7 .

 4            Do see that in voice ?

 5 A.         Yes .

 6 Q.         What is the date on that in voice ?

 7 A.         9/3 /03.

 8 Q.         It 's reference     to a U-H aul center .

 9            Can you tell us why this receipt           was in your

10 vehicle ?

11 A.         It was either     for trail er rental      or trail er

12 hitch .

13 Q.         When did you purchase        that trail er rental      or

14 trail er hitch ?

15 A.         9/3 /03.

16 Q.         Where ?

17 A.         I purchase d it in Landover          and dropped   it in

18 Houston .

19 Q.         Okay .     You reference d Landover .      Is that a

20 reference      to the first -- we have another          receipt    in

21 there .     Do you see that other receipt ?

22 A.         Yes .

23 Q.         What's     the date on that other receipt ?

24 A.         12/3 /03.

25 Q.         Where is that receipt        for ?




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 1 A.         Landover     Road .

 2 Q.         What did you purchase         at Landover   Road on

 3 12 /3/03?

 4 A.         Hitch .

 5 Q.         Now , was that after you rent ed the hitch or

 6 return ed the hitch in Texas on September              9 of 2003 ?

 7 A.         That was after .

 8 Q.         Did you ever use the Conversion           van to haul a

 9 trail er ?

10            MR. MONTEMARANO :      Objection .

11            Lead ing .

12            THE COURT:      Sustained .

13            BY MS. JOHNSTON:

14 Q.         During the trip s from Maryland          to Texas , when

15 you went to pick up drug s, was -- what did you do with

16 the trail er hitch ?

17 A.         Pull ed the -- had the bike and some other thing s

18 in side of it .

19 Q.         All right .     Do you know on which trip it was

20 that you took the bike -- the motor cycle to Texas ?

21 A.         I took it on several       occasion s.

22 Q.         When you took it on several          occasion s, did you

23 ride it or did you transport           it by trail er ?

24 A.         By trail er .

25 Q.         Were those trip s when you went down to pick up




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1 drug s, or were those separate         trip s apart from

2 delivering       drug s?

3 A.        While .

4 Q.        Now I want to show you what's         been mark ed as

5 Oglethorpe       21 and ask if you recognize      that -- let me

6 zoom out here .

7           Do you    recognize   that piece of paper and that

8 information       that 's on that exhibit ?

9 A.        Yes .

10 Q.       Okay .    Whose information     is that ?

11 A.       Mine s and my mother 's .

12 Q.       And the cell phone number ?         Whose cell phone

13 number s are those ?

14 A.       Mine s and my mother's.

15 Q.       Are you familiar      with the name Paul Sinclair ?

16 A.       Yes .

17 Q.       Do you know a person       name d Paul Sinclair ?

18 A.       No .

19 Q.       How are you familiar       with the name of Paul

20 Sinclair ?

21 A.       The phone line at the shop was in that name .

22 Q.       How did you come to know that the phone at the

23 shop was in the name of Paul Sinclair ?

24 A.       Bell Atlantic     bill .

25 Q.       When did you see a Bell Atlantic            bill ?




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 1 A.        At Lobo's    Dis count , and I seen the name on the

 2 Call er ID.

 3 Q.        I want to show you what 's been mark ed as Goodwin

 4 12 -A.    Do you see that document ?

 5 A.        Yes .

 6 Q.        Do you recognize       the name that 's on the

 7 document ?

 8 A.        Yes .

 9 Q.        How about the address ?

10 A.        Yes .

11 Q.        What address       is that ?

12 A.        For Lobo's    Dis count .

13 Q.        If we look at the very top , there 's a telephone

14 number    listed .    Let me zoom in on that .

15           Do you recognize       the telephone     number ?

16 A.        Yes .   That's o ne of the shop 's number s.

17 Q.        What number    is it that 's one of the shop

18 number s?    If   you read it into the record .

19 A.        20 2-38 8-9033 .

20 Q.        Did you yourself       maintain    a bank account   at any

21 bank s?

22 A.        I don't understand          the question .

23 Q.        Let me show you what's          been mark ed as

24 Government 's Exhibit        R-12 .

25           Do you recognize       that record ?




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1 A.       Yes .

2 Q.       What is that ?

3 A.       Ban k account    from the federal     credit   union .

4 Q.       Whose bank account      is that ?

5 A.       Mine s.

6 Q.       For what period     of time does it cover ?        Wh at's

7 the period      on the bank statement ?

8 A.       03/01/04 to 03/31 /04.

9 Q.       Did you have electron ic access         to that account ?

10 A.      Yes .

11 Q.      Now , you testifi ed on Friday       about your time in

12 April 2004 in Texas .      Do you recall     that testimony ?

13 A.      Yes .

14 Q.      What were you do ing In Texas in April 2004 ?

15 A.      In Houston    or El Paso?

16 Q.      Well , what -- why were you down in Texas in

17 April 2004 ?

18 A.      Say again .

19 Q.      Why were you down in Texas in April 2004 ?

20 A.      I was wait ing on a ship ment to be return ed .

21 Q.      Okay .    Return ed from where ?

22 A.      El Paso .

23 Q.      Who were you wait ing on ?

24 A.      Kelly .

25 Q.      What were you wait ing for Kelly to do ?




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 1 A.         Ex change    some bad drug s.

 2 Q.         Where was he ex changi ng it ?

 3 A.         Mexico .

 4 Q.         If we look at your bank statement , does it

 5 indicate     where you were at different         time s during    2004 ?

 6 A.         Yes .

 7 Q.         Okay .     Where were you on , say , April 14 of '04?

 8 A.         North Parkway , Houston,        Texas .

 9 Q.         If we go down at the bottom         of that page to

10 April 19 of '04, where were you then ?

11            Let me scroll      over to the date and wide n it .

12 A.         North Park way .

13 Q.         Okay .     Where is that ?

14 A.         Houston , Texas .

15 Q.         Similar ly , in -- the last entry , April 29 and

16 April 30 .     Where were you on those date s?

17 A.         Con rail , Texas and Houston , Texas .

18 Q.         Finally , let me show you -- not "finally ," but

19 let me show you what 's been mark ed as Government 's

20 Exhibit     R-13 .

21            Do you recognize      the telephone       number   and the

22 account ?

23 A.         Yes .

24 Q.         What's     the customer   name ?

25 A.         HBC, Incorporated .




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1 Q.         And the telephone       number ?

2 A.         20 2-904-119 2.

3 Q.         Whose telephone     was that ?

4 A.         Mine .

5 Q.         How is it that you came to have a telephone

6 number     under the name HBC, Incorporated ?

7 A.         Because    once you put the phone in your name , you

8 can change        it to whatever   you want it to be under .

9 Q.         Did you change    it to that company ?

10 A.        Yes .

11 Q.        Was that a real company ?

12 A.        No .

13 Q.        Why did you change       it to that company     name ?

14 A.        So my name would n't show up and stuff .

15 Q.        Now , you testif ied that after you were arrested

16 in Louisiana       in June of 2004 , and after your re lease

17 while in Texas , you learn ed about the         arrest    of Mr.

18 Goodwin    and Ms. Martin     and other s; is that correct ?

19 A.        Can you repeat    the question     again ?

20 Q.        After you were arrested       in Louisiana     in June of

21 2004 , did there come a time when you learn ed that Mr.

22 Goodwin    and Ms. Martin     had been arrested ?

23 A.        I learn ed before    I was arrested .

24 Q.        All right .    Did there come -- after you were

25 re lease d on that arrest , did you eventually           return    to




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 1 Maryland ?

 2 A.        Yes .

 3 Q.        Once you return ed to Maryland , did you have any

 4 contact    with Ms. Martin ?

 5 A.        No .

 6 Q.        Did you have any contact       with Mr. Goodwin ?

 7 A.        Yes .

 8 Q.        Can you de scribe      where you -- what contact       you

 9 had with him ?

10 A.        Through    telephone    and visit s.

11 Q.        What conversation       did you have with him

12 concern ing his arrest ?

13 A.        I don't understand       the question .

14 Q.        Let me re phrase    the question .

15           During    your discussion s or your meet ings with

16 Mr. Goodwin , was anyone         else present ?

17 A.        Yes .

18 Q.        Who else would have been present ?

19 A.        At the house , it was Tiffany          Vessels   and John

20 Irby .

21 Q.        Okay .    Was Mr. Goodwin    at the house , or was your

22 communication       with him by telephone ?

23 A.        By telephone .

24 Q.        Did you actual ly visit with him as well ?

25 A.        Yes .




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 1 Q.         During    the course    of that visit or over the

 2 telephone , was there any discussion             about Raynard

 3 Dorsey ?

 4 A.         Yes .

 5 Q.         Did you know Mr. Dorsey ?

 6 A.         No .    I k new of him .

 7 Q.         How did you know of him ?

 8 A.         Through    previous    conversation , and Tiffany

 9 Vessels .

10 Q.         Did you have any conversation s with             Mr. Goodwin

11 prior to his arrest         in June of 2004 about Raynard

12 Dorsey ?

13 A.         Yes .

14 Q.         What was the discussion s that you had with Mr.

15 Goodwin     after his arrest      in June ?

16 A.         That Raynard     Dorsey     was the one that got him

17 lock ed up before       he got arrested       this time .

18 Q.         Were you familiar       with his earlier     arrest ?

19 A.         Yes .

20 Q.         Where were you when that happened ?

21 A.         Texas .

22 Q.         Is that the arrest         you de scribe d during    your

23 testimony     on Friday ?

24 A.         Yes .

25 Q.         While he was arrested         for that -- in that first




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 1 instance , who did he communicate           with during    that

 2 arrest ?

 3 A.         Paula .

 4 Q.         "Paula " being Ms. Martin ?

 5 A.         Yes .

 6 Q.         Moving    forward .    You r return   after Mr. Goodwin 's

 7 been arrested .       What conversation       did you have with Mr.

 8 Goodwin     concern ing Mr. Dorsey ?

 9 A.         Oh .    That he was the one got him arrested           for

10 the -- got him lock ed up the first time , and he was the

11 one -- like , the witness         in the case .

12 Q.         Were there additional         discussion s about Mr.

13 Dorsey     with Mr. Goodwin ?

14 A.         Yes .

15 Q.         What did Mr. Goodwin       tell you ?

16 A.         That he need to come to court and so forth , and

17 we need to find somebody          to take care of him .

18 Q.         When he said that you need ed to find someone                to

19 take care of him , what did you understand             him to mean ?

20            MR. MARTIN:     Objection .

21            THE COURT:     Over ruled .

22            BY MS. JOHNSTON:

23 Q.         What did you understand         him to mean ?

24 A.         To find somebody       to get rid of him or kill him .

25 Q.         Did you in fact       find someone    to kill Mr. Dorsey ?




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 1 A.       No .

 2 Q.       Do you know whether        or not Mr. Irby did ?

 3 A.       I'm not sure .

 4 Q.       What if any discussion            was there concern ing how

 5 that person      would be paid ?

 6          Do you recall ?

 7 A.       I don't understand        question .

 8 Q.       Other than Mr. Goodwin            tell ing you that you had

 9 to find someone      to kill him , was there any other

10 discussion      about how that person        would be paid or how

11 the kill ing would take place ?

12 A.       Oh .    The person     would be paid by Tiffany .

13 Q.       Excuse    me ?

14 A.       The person       would be paid by Tiffany .

15 Q.       Do you know where Tiffany            is today ?

16 A.       No .

17 Q.       When was the last time you saw Ms. Vessels ?

18 A.       End of '04.

19 Q.       Did you make any -- strike            that .

20          After you had those discussion s, did there come

21 a time in April of 2005 when you took step s concern ing

22 your own criminal         involve ment ?

23 A.       Yes .

24 Q.       What did you do in April of 2005 -- at the end

25 of April 2005 ?




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1 A.       I don't understand         the question .

2 Q.       Let me back up for a second .

3          Where were you living           at the end of 2005 --

4 strike   that.

5          Where were you living           at the end of April of

6 2005 ?

7 A.       With my mom .

8 Q.       Okay .   Where were you still hang ing out at that

9 time ?

10 A.      Anacostia       Road and another     place in Southeast .

11 Q.      Anacostia       Road .   Is that the place you call ed

12 the "Ponderosa ?"

13 A.      Yes .

14 Q.      And were you still in contact           with Mr. Goodwin

15 at that point in time ?

16 A.      Yes .

17 Q.      Who else were you associati ng with down there at

18 the end of April of 2005 ?

19 A.      Mr. Irby .

20 Q.      At that time , were you want ed in any state s?

21 A.      Yes .

22 Q.      Where were you want ed ?

23 A.      Louisiana       and Houston .

24 Q.      Excuse   me ?

25 A.      Louisiana       and Orange , Texas .




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 1 Q.       Were those the two incident s that you de scribe d

 2 here for the jury that occurred         in 2004 ?

 3 A.       Yes .

 4 Q.       Did there come a time at the end of April 2005

 5 when you made contact       with any law enforcement

 6 officer s?

 7 A.       Yes .    Once they came past different        spot s I was

 8 stay ing at .

 9 Q.       What did they do when they came past the

10 different    spot s?

11 A.       Asked the people , and search ed the house .

12 Q.       Excuse    me ?

13 A.       Asked the people      was I there,    and they search ed

14 the house s.

15 Q.       Who told you that ?

16 A.       Xavier Moore      and this female    that I knew house

17 they went past , too .

18 Q.       Were you ever there when they came by these

19 different    location s?

20 A.       I was there one time .

21 Q.       Did you talk to them then ?

22 A.       No .

23 Q.       What did you do after they came by a few

24 people 's house s?

25 A.       My mom -- my mother      contact ed them .




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 1 Q.       But what did you do      after your mom contact ed

 2 them ?

 3 A.       Came in .

 4 Q.       Where did you go to meet with them ?

 5 A.       My mother 's house .

 6 Q.       Do you remember     how many officer s were there at

 7 your mother 's house ?

 8 A.       Two .

 9 Q.       Was one of them Detective         Eveler , who 's sitting

10 at the end of the table ?

11 A.       Yes .

12 Q.       When they came to your mother 's house , did you

13 have a conversation      with them ?

14 A.       Yes .

15 Q.       Were you advise d of your right s?

16 A.       Yes .

17 Q.       Did you give them information         at that point in

18 time ?

19 A.       Yes .

20 Q.       What happened     to you then ?

21 A.       I was taken into custody .

22 Q.       Have you been in custody        ever since ?

23 A.       Yes .

24 Q.       As a result    of your arrest      in late April 2005 ,

25 were you charge d federal ly with your involve ment in




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 1 this conspiracy ?

 2 A.        Yes

 3 Q.        Were you represent ed by counsel ?

 4 A.        Yes .

 5 Q.        Let me show you what 's been mark ed as

 6 Government 's Exhibit          A-2 .

 7           Do you recognize         that document ?

 8 A.        Yes .

 9 Q.        What is that ?

10 A.        Chargi ng paper s.

11 Q.        What did you plead guilty           to ?

12 A.        Attempt        to distribute .

13 Q.        Call ing your attention          -- let me zoom out here .

14           Do you see the first paragraph ?

15 A.        Yes .

16 Q.        What did you -- what was the charge            that you

17 pled guilty       to ?

18 A.        Conspiracy        to distribute , and possess     with

19 attempt   to distribute         5 kilogram s or more of cocaine .

20 Q.        On Page 2 of that plea agreement , does it set

21 fort h what the maximum          and minimum    pen alty are ?

22 A.        No less than ten , and not more than life .

23 Q.        As part of that plea agreement , did you agree to

24 cooperate    with the government ?

25 A.        Yes .




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 1 Q.       Are you r responsibilities        set forth in Paragraph

 2 5 of that plea agreement ?

 3 A.       I don't understand        you .

 4 Q.       Your obligation s under the plea agreement .            Are

 5 they set forth in that paragraph ?

 6 A.       Yes .

 7 Q.       That has many little        subparagraph s; is that

 8 correct ?

 9 A.       Yes .

10 Q.       What is your understand ing of what you must            do

11 under the term s of the plea agreement ?

12 A.       Tell the truth .

13 Q.       All right .    And when you say "tell the truth ,"

14 what does that mean in term s of -- in response             to who

15 do you have to tell the truth ?

16 A.       Everyone .    Everyone     that I have knowledge      of .

17 Q.       What do you expect        to happen   if you ful fill your

18 term s of the plea agreement         as is set forth in this

19 plea agreement ?

20          If you live up to your end of the plea

21 agreement , what do you expect         to happen   at the time of

22 sent enc ing ?

23 A.       A less er sentence .

24 Q.       Do you have any idea or any expectation            of how

25 low your sentence      will go ?




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 1 A.         No .

 2 Q.         Who ultimate ly make s the decision        of whether     or

 3 not your sentence        will be reduced   be low the range as is

 4 set without        cooperation ?

 5 A.         The judge .

 6 Q.         What would be the effect      if you were to lie in

 7 response     to -- even a single      question     pose d by anyone

 8 here in court ?

 9 A.         Won't be no consideration .

10 Q.         Would it have any other effect          if you were to

11 lie in response        to any question   here in court ?

12 A.         Be charge d with perjury .

13 Q.         Would that be in addition       to the time that you

14 would get for the conspiracy          charge ?

15 A.         Yes .

16 Q.         Does that apply to question s asked by defense

17 counsel     as well as government      counsel ?

18 A.         Yes .

19 Q.         Let me show you what 's been mark ed as

20 Government 's Exhibit       CH -1 .

21            You've    mention ed a lot of people .      If you could

22 look at this chart and see who of those people              are --

23 you recognize        on the chart -- I'm going to ask you ,

24 without     say ing anything , to look at the chart and , with

25 this pen , write the name s of the people            you recognize




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1 next to their picture         but not on the white tape .        Find

2 another    spot to write , and then we'll have you explain

3 to the jury what you've          written   on the diagram     after

4 you've    finish ed .

5 A.        The name ?

6 Q.        Yeah .     Write the name next to       the photograph      of

7 anyone    you recognize .

8 A.        Not on the white tape ?

9 Q.        Not on the white tape .

10 A.       (Witness      indicati ng .)

11 Q.       I'm going to ask you to put your initial s and

12 the today 's date underneath        each name you write .       Today

13 is June 20 .

14 A.       That 's it ?

15 Q.       Yes .     You can identify     yourself .

16 A.       (Witness      indicati ng .)

17 Q.       Is that it ?

18 A.       Yeah .

19 Q.       I'm going to turn this around           and ask you to

20 point and tell the jury who you identifi ed , while I

21 stand be hind this .

22 A.       Mr. Goodwin .

23 Q.       Keep your voice up , please .

24 A.       Oh .     Mr. Goodwin .   Ms. Martin .       Mr. Moore , Mr.

25 Irby , Mr. McKenzie , Ms. Vessels,         Mr. Campbell , and




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 1 myself .

 2 Q.         On the bottom ?     Did you identify      anybody   in the

 3 bottom     box ?

 4 A.         Oh , and Larry Lane .

 5 Q.         Are those the people      that you just testifi ed

 6 about here ?

 7 A.         Yes .

 8 Q.         Both today and on Friday ?

 9 A.         Yes .

10 Q.         Also , you mention ed cousin       Steve n Ross .

11 A.         Yes .

12 Q.         When you were first inter view ed by the police ,

13 did you identify        him to the police      as well ?

14 A.         Yes .

15 Q.         Like wise , did you look at photograph s with the

16 police     and make identification s of these people           as

17 well ?

18 A.         Yes .

19            MS. JOHNSTON:      Court 's indulgence .

20            Your Honor , just for the record , I identifi ed --

21 did not identify        this piece of paper .      It 's Oglethorpe

22 21 so that the record         is clear .

23            With that , Your Honor , I have       no other

24 question s.

25            THE COURT:      All right .     Cross-examination   ?




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 1                          CROSS-EXAMINATION

 2          BY MR. MARTIN:

 3 Q.       Mr. Thurman , you would admit , sir , that long

 4 before   you ever met any of the people           that you

 5 mention ed who are sitting       in this courtroom , you were

 6 using drug s; right ?

 7 A.       Yes .

 8 Q.       In fact , you were using drug s since you were 16

 9 year s of age ; correct ?

10 A.       Yes .

11 Q.       And you had suppliers       since you were 16 year s of

12 age ; correct ?

13 A.       Yes .

14 Q.       In fact , if I remember      your testimony       correct ly ,

15 you had friends     and family    in Texas who were also

16 suppliers ; is that not correct ?

17 A.       I knew of friends .      I ain't had no family        that

18 was suppliers .

19 Q.       Well , didn't    you tell government       trial counsel

20 that you went to Texas to establish             a source   of cocaine

21 supply ing through     your cousin    Steve ?

22 A.       Yes .

23 Q.       So , it 's not a mis characterization        to say that

24 you had suppliers      in Texas ; is it ?

25 A.       I don't understand      the question .




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 1 Q.        In addition     to your cousin    Steve , there was

 2 another   cousin -- I believe         you said Steve Campbell ?

 3 A.        He 's not my cousin .

 4 Q.        Okay .     Steve Campbell    is a friend ?

 5 A.        Yes .

 6 Q.        And Steve Campbell      was also another       source    for

 7 your drug network       in Texas ; correct ?

 8 A.        I met him through     Steve n Ross .

 9 Q.        You also knew that these people         had source s in

10 Mexico ; right ?

11 A.        Mexico ?     I was n't sure where their source          was .

12 Q.        Even tually , that 's where you found out they were

13 get ting their drug s from ; is that not correct ?

14 A.        I had idea s.

15 Q.        You had idea s.

16 A.        Yes .

17 Q.        But didn't     Madam Trial counsel     ask you several

18 time s about El Paso ?

19 A.        Yes .

20 Q.        And didn't     you tell her -- go ahead , sir .

21 A.        I'm say ing yes .

22 Q.        And didn't     you tell her that you knew somebody

23 who was going across the border           to ex change   bad drug s?

24 A.        Yes .

25 Q.        When I asked you whether        or not these people        had




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 1 suppliers    in Mexico and you hesitate d, you in fact              knew

 2 that that 's what you testifi ed to earlier ; right ?

 3 A.        They're     two different     people .

 4 Q.        Two different     people .

 5           But you have source s who have suppliers             in

 6 Mexico ; is that not correct ?

 7 A.        The person     I know of , I don't know       where their

 8 suppli er -- there were two different              people   that she

 9 was talk ing about .       One was Kelly and one was Steve n.

10 Q.        And you have friends         like Tony and Jeff and

11 Rodney.    Those    are your friends ; right ?

12 A.        Yes .

13 Q.        And some of those friends          actual ly drove with

14 you on your trip s from the Washington              metropolitan    area

15 down to Texas ; right ?

16 A.        Correct .

17 Q.        And Xavier     did that as well ; correct ?

18 A.        Correct .

19 Q.        And Caitlin     Demara   did that as well ; correct ?

20 A.        Correct .

21 Q.        By the way , Caitlin      Demara    is not on here , is

22 she ?

23 A.        No .

24           MR. MARTIN:      May I, Your Honor ?

25           THE COURT:      Yes .




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 1           BY MR. MARTIN:

 2 Q.        Would you recognize       Caitlin   Demara 's picture ?

 3 A.        Yes .

 4 Q.        I would ask the record       reflect   that I am show ing

 5 Government 's E xhibit        CH-1 to the witness .

 6           I would ask you to take a look and tell this

 7 jury whether       or not   you see Ms. De ma ra on this chart .

 8 A.        No .

 9 Q.        No .

10           Caitlin    Demara    was somebody   that , like Rayshard

11 Jones , had help ed you out ; correct ?

12 A.        No .    She was my girlfriend .

13 Q.        She was your girlfriend .

14           But she went with you on the trip s to Texas ;

15 right ?

16 A.        Yes .

17 Q.        You also said that you had several          address es to

18 ship the drug s to ; correct ?

19 A.        Yes .

20 Q.        One of the address es you use d was your mother 's

21 address ; isn't that correct ?

22 A.        No .

23 Q.        You're    testify ing that you did not use your

24 mother 's address ?

25 A.        I use d Delray C ourt .     That 's the house I was




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 1 living    at .

 2 Q.        Do you remember      testify ing last week , Fri day ,

 3 June 16 , 2006 ?

 4           I call the court 's attention         to Page 97 , if

 5 counsel    would like to follow .         I'm look ing specifically

 6 at Line 15 .

 7           Do you recall      testify ing last week in front of

 8 the ladies and gentlemen?

 9 A.        Yes .

10 Q.        Do you remember      a series     of question s that

11 Madam Trial Counsel        had asked you about where were the

12 different        address es you were send ing the drug s?

13           MS. JOHNSTON:       Objection .

14           That 's not what's     in the transcript     on this

15 page .    It refer s to an exhibit .

16           THE COURT:       Sustained .

17           Can you re phrase     it to conform     wit h what's    on

18 the page ?

19           BY MR. MARTIN:

20 Q.        Let me ask you this .          Did you use your mother 's

21 address    at any time to store or stash any of your

22 drug s?

23 A.        No .

24 Q.        You also had connection s to rent car s; is that

25 not a fact ?




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 1 A.       Yes .

 2 Q.       And you rent ed a car with the help of Julio

 3 from Budge t; right ?

 4 A.       Julio .

 5 Q.       Julio .

 6          And Julio was your best friend 's best friend .

 7 A.       Correct .

 8 Q.       And you also testifi ed , if I remember          correct ly ,

 9 that you knew where to buy these false bottom             can s;

10 correct ?

11 A.       Correct .

12 Q.       And I think you said that that was a place

13 call ed Starship's ; right ?

14 A.       Correct .

15 Q.       And you said that Steve Campbell          show ed you

16 where to buy these can s; is that not correct ?

17 A.       I didn't    say that .

18 Q.       What did you say ?

19 A.       I said I purchase d them from Starship's .

20 Q.       You never said it was Steve Campbell           that show ed

21 you where to buy the can s?

22          Counsel,    I'm on Page 57 now .

23          THE COURT:     Page 57 you said ?

24          MR. MARTIN:     Page 57 .    I'm at Line 20 look ing

25 down to Line 25 .      Giving   counsel   a chance   to loo k at




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 1 the record .

 2          BY MR. MARTIN:

 3 Q.       Do you recall     a series    of question s you were

 4 asked about Starship's       by trial counsel ?

 5 A.       Yes .

 6 Q.       Do you recall     her asking     you about Starship's ,

 7 specifically ?

 8          MS. JOHNSTON:      Objection .

 9          That 's not what's       in the record .

10          MR. MARTIN:      Your Honor , may we approach ?

11          THE COURT:     You may .

12                        (At the bar of the court .)

13          MR. MARTIN:      I'm on Page 57 , Your Honor .

14          THE COURT:     I see .

15          MR. MARTIN:      I'm at Line 22 to 25 .

16          THE COURT:     All right .

17          MR. MARTIN:      A store call ed Starship's .         How did

18 you learn about that store ?          By maki ng run s, going up

19 and down , Steve Campbell       and different       people .

20          MS. JOHNSTON:      The government       never mention ed

21 Starship's in     any question s.      Counsel   said , do you

22 recall   the government     asking    you about a store name d

23 Starship's .     That 's not what's     in here .     He 's taking

24 what was in there out of context .

25          MR. MARTIN:      How did you learn about that store ?




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 1            Read L ine 23 .

 2            THE COURT:         If the previous      question   is , where

 3 did you purchase        it , and he said a store call ed

 4 Starship's     --

 5            MR. MARTIN:         Your Honor , we're splitting           hair s

 6 here.

 7            MS. JOHNSTON:         No, we're not .

 8            MR. MARTIN:         Yes , we are .     What I'm get ting at

 9 is --

10            THE COURT:         All you have to ask is , do you

11 remember     being asked about where you bought               it .

12            MR. MARTIN:         Your Honor , I'm try ing to

13 establish     that Steve Campbell           was the source .

14            MR. MONTEMARANO :           Just re phrase   your question .

15            Court 's indulgence .          If I could , please .

16            THE COURT:         Sure .

17            I think that the problem             is a very min or one

18 with the form of your question .                She didn't    say , did

19 she , did you know           about Starship's .      She asked him

20 where , did you get them .              His answer   was , Star hips .

21            MS. JOHNSTON:         The inference       is that the

22 government     had knowledge           of Starship's    without      this

23 witness    providi ng the testimony .

24            THE COURT:         Just re phrase     your question       and I

25 think you're        okay .




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 1            MR. MARTIN:     I'm going to ask the question         that

 2 was asked .

 3            THE COURT:     The objection    is sustained .    You may

 4 re phrase    it .

 5                          (Back in open court .)

 6            BY MR. MARTIN:

 7 Q.         How did you learn about Starship's ?

 8 A.         Just by stopping    in .

 9 Q.         Didn't   you tell the ladies and gentlemen of the

10 jury that you learn ed about Starship's             from Steve

11 Campbell     and other people ?

12 A.         Yeah .   Like , stopping    in because    they sell

13 cigarette s, blunt wrapper s, and everything .

14 Q.         So you acknowledge     then that Steve Campbell        was

15 one of the people        who led you to Starship's .

16 A.         He could have been , w ith other friends .

17 Q.         You met with Special       Agent s Eveler   and Snyder      on

18 April 28 of 2005 at your mother 's house ; right ?

19 A.         Correct .

20 Q.         And you met with them after your mom had sent

21 notice    to them that you were ready to turn yourself              in ;

22 right ?

23 A.         Correct .

24 Q.         And you sat down and you talk ed with them again

25 on May 5th 2005 ; right ?




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 1 A.       Correct .

 2 Q.       In fact , you met with them several          time s right

 3 here in this build ing ; right ?

 4 A.       Correct .

 5 Q.       You met with them on May 16 as well .

 6 A.       I'm not sure of the date , but , yes .

 7 Q.       May 26 .

 8          Do recall     how many time s you met ?

 9 A.       I don't recall     how many time s.

10 Q.       You would agree that it was at least           three to

11 five time s; right ?

12 A.       Yeah , about that .

13 Q.       About that .

14          And I guess each time you met with them , you

15 de brief ed them for a couple      of hour s; right ?

16 A.       Correct .

17 Q.       During     those de brief ings , at no time were you

18 videotape d, were you ?

19 A.       Not to my knowledge .

20 Q.       As far as     you know , there were no tape

21 record ings either , were there ?

22 A.       Not to my knowledge .

23 Q.       At the end of those de brief ings , did anybody

24 show you note s or a typewritten        transcript     and ask you

25 to re view it ?




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 1 A.       No .

 2 Q.       Prior to your testimony         here in this court , you

 3 also met with the government , didn't          you ?

 4 A.       Say it again .

 5 Q.       Prior to your testimony , which begin last week ,

 6 you met with the government , didn't          you ?

 7 A.       Yes .

 8 Q.       You met with the government         to go over your

 9 expect ed testimony ; right ?

10 A.       Correct .

11 Q.       And you were told , more or less , what question s

12 would be asked of you ; right ?

13 A.       Some sort .

14 Q.       And the government      want ed to get a response          to

15 those question s; correct ?

16 A.       I can't recall .

17 Q.       You can't recall      whether    they want ed to hear

18 your response    to the question s?

19 A.       No , I can't recall .

20 Q.       You can't recall that,       but you recall      event s

21 that happened    back in 2004 .

22 A.       Yes .

23 Q.       But you can't recall       what happened      a week or two

24 ago ?

25 A.       I can't recall     if they asked me for a certain




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1 response .

2 Q.       Well , let me ask you this .        Did any of the

3 lawyer s sitting     here at this table or the table be hind

4 you , did any of them get a chance          to question    you ?

5 A.       No .

6 Q.       Would you have been willing         to talk to any of

7 them beforehand ?

8 A.       Yes .

9 Q.       Really ?     Did you tell the government        that ?

10 A.      It was n't a question        that was asked .

11 Q.      You were also told that you would be asked about

12 your plea agreement ; right ?

13 A.      Repeat     your question .

14 Q.      You were told by the government          that you would

15 be asked about your plea agreement ; correct ?

16 A.      Yes .

17 Q.      You were told that when you were asked about

18 your plea agreement      that you would say , what I have to

19 do is tell the truth , right ?

20 A.      You say I was told that ?

21 Q.      Yeah .     You were told that , weren't      you ?

22 A.      I was told to be honest .

23 Q.      Listen     to the question .     When you met with the

24 government , you went over your plea agreement ; right ?

25 A.      Right .




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 1 Q.        And you were told by the government            you would be

 2 asked what were your obligation s and responsibilities

 3 under the plea agreement ; right ?

 4 A.        Right .

 5 Q.        And you were told that when you were asked that

 6 to say that , I was told , or I'm obligate d to tell the

 7 truth ; right ?

 8 A.        Correct .

 9 Q.        And that was the -- that was n't the only time

10 you were told what to say , was it ?

11 A.        I don't understand        your question .

12 Q.        Well , the question       is this .   You were told that

13 certain     question s would be asked of you by the defense ;

14 correct ?

15 A.        Example     question s.

16 Q.        Example     question s?

17 A.        Example     question s.

18 Q.        And you were told how to respond            to those

19 question s; correct ?

20 A.        No .

21 Q.        No ?   Now , you also said with respect         to this

22 plea agreement      that you have certain       obligation s and

23 that the government        has certain    obligation s; right ?

24           You would agree     to that .

25 A.        Correct .




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 1 Q.        Isn't it a fact that while the state s of Texas

 2 and Louisiana       were search ing for you , you were not

 3 aware or you didn't          have any reason   to believe    that the

 4 federal   -- the United        States   Attorney 's office   in

 5 Louisiana    was look ing for you , did you ?

 6 A.        Are you say ing Louisiana ?

 7 Q.        Yeah .

 8 A.        Not to my knowledge .

 9 Q.        The United    States    Attorney 's office , as far as

10 you know , in Texas was not look ing for you ; right ?

11 A.        Not to my knowledge .

12 Q.        And the United       States   Attorney 's office   in the

13 District of       Columbia    was not look ing for you , were

14 they ?

15 A.        Not to my knowledge .

16 Q.        You don't expect       to be indict ed in any of those

17 jurisdiction s as a result         of your testimony    here , do

18 you ?

19 A.        I'm not sure .

20 Q.        You're    cooperat ing; right ?

21 A.        Yes .

22 Q.        Don't you think the government          is going to let

23 not only the judge know you cooperate d but any office s

24 that might inquire ?

25 A.        I can't speak for the government .




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1 Q.         Is it your expectation        that you won't be

2 indict ed in any further        jurisdiction ?

3 A.         The only thing I can do is hope .

4 Q.         I'm sorry , sir ?    I didn't    hear you .

5 A.         I can hope that I'm     not

6 Q.         You can hope that you're        not ?   But as government

7 trial counsel       point ed out , you're    faci ng ten year s to

8 life on the chargi ng document         that she has shown you

9 earlier ; right ?

10 A.        Yes .

11 Q.        If you were faci ng ten year s to life in Texas ,

12 ten year s to life in Louisiana , and ten year s to life

13 in the District       and ten year s to life here in Maryland ,

14 that would be a 40 -year minimum          term , would n't it ?

15 A.        Yes .

16 Q.        How old are you now , sir ?

17 A.        31 .

18 Q.        31 .    And you know that there is no parole         in the

19 federal     system ; right ?

20 A.        Yes .

21 Q.        So you have to do whatever        time you get ;

22 correct ?

23 A.        Correct .

24 Q.        Less credit    for good time ; right ?

25 A.        Yes .




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 1 Q.         Did you meet with the government        over the

 2 weekend     to discuss   your testimony    here this morn ing ?

 3 A.         No .

 4 Q.         You said that Mr. Goodwin      flew to Texas with

 5 you ; correct ?

 6 A.         Correct .

 7 Q.         Isn't it a fact that several       people   flew with

 8 you on your trips from Texas to Washington ?

 9 A.         Flew back ?

10 Q.         Flew back .

11 A.         When the car got wreck ed .

12 Q.         On the allege d trip that you took with Mr.

13 Goodwin     to Texas , no one else traveled      with you ;

14 correct ?

15 A.         Correct .

16 Q.         Get ting back to this plea agreement        for a

17 moment .     We know what your obligation s are .

18            Do you recall   discuss ing a possible      5(k) motion

19 with your lawyer ?       Without   tell ing me what he said , do

20 you remember      discuss ing that ?

21 A.         Not the name , no .

22 Q.         Not specifically .      But you know there 's a

23 mechanism     for reducing   your offense     level ; right ?

24 A.         Right .

25 Q.         And you know also that the government          can make a




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 1 motion   to get you underneath       that statutory     minimum   as

 2 well , that ten year s that we were talk ing about

 3 earlier ; right ?

 4 A.       Yes .

 5 Q.       That is specifically       mention ed in Paragraph       12

 6 of your plea agreement , isn't it ?

 7 A.       I don't have    it in front of me , so I'm not sure .

 8 Q.       Would you like to see it ?

 9 A.       If you want me to answer        the question .

10          MR. MARTIN:     May I Your Honor ?

11          THE COURT:     You may .

12          THE WITNESS:      What do you want me to do ?         What

13 was the question      again ?

14          BY MR. MARTIN:

15 Q.       I asked you about 5(k).         Now I'm asking     you

16 about the motion      to get you under neath the statutory

17 minimum .

18 A.       That 's the motion ?

19 Q.       Yes .    That 's the cite to it ?

20 A.       Yes , that 's in Paragraph      12 .

21 Q.       You're    hopi ng that by testify ing here today that

22 you in fact      will get less than ten year s; right ?

23 A.       Yes .

24 Q.       You don't like being in jail , do you ?

25 A.       No .




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 1 Q.        What 's the longest       you've   ever been in jail

 2 prior to this charge ?

 3 A.        About three year s.

 4 Q.        Do you have kids , Mr. Thurman ?

 5 A.        Yes .

 6 Q.        How old are your kids ?

 7 A.        They're 8, 3, and 1       .

 8 Q.        You 'd like to be able to spend time with them

 9 before    they grow into adult hood ; isn't that true ?

10 A.        Correct .

11 Q.        Your mom .    Mr. Thurman , is she worried       about

12 you ?

13 A.        I'm sure she is .

14 Q.        You 'd like to be able to settle          your mom 's mind ;

15 right ?

16 A.        I could n't hear the question.

17 Q.        I withdraw    the question .

18           The agreement    also provides       or require s that you

19 give substantial       assistance       to the government ; right ?

20 A.        Correct .

21 Q.        That substantial     assistance      come s in the form of

22 your testimony ; correct ?

23 A.        Yes .

24 Q.        We've already    establish ed that that mean s that

25 you have to be truthful .




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 1 A.        Correct .

 2 Q.        In determini ng your truthfulness , Mr. Goodwin

 3 isn't going to decide          if you're   truthful    is he ?

 4 A.        No .

 5 Q.        You're     not going to get any credit        if Mr.

 6 Goodwin    says you're       truthful , are you ?

 7 A.        I don't think so .

 8 Q.        No .    You're    not going to get any credit          if I

 9 tell the judge you're          truthful , are you ?

10 A.        I don't think so .

11 Q.        Suppose     Ms. Johnston    here were to tell the judge

12 that you were truthful ?          Do you think you're      going to

13 get credit ?

14 A.        Maybe .

15 Q.        You hope so ; right ?

16 A.        I hope so .

17 Q.        Out of all the lawyer s sitting           here , it 's only

18 the lawyer s sitting         on this side of the table who

19 determine    whether       you were truthful   and gave

20 substantial       assistance ; isn't that correct ?

21 A.        Yes .     I assume   so .

22 Q.        If they don't make the motion , and even if the

23 judge thought       you were truth ful , you don't get any

24 credit , do you ?

25 A.        I don't think so .




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1 Q.         Your deal does n't require         that you go down to

2 Texas and testify       against    your family     and friends , does

3 it ?

4            I withdraw   that question .        I withdraw   it .

5            Have you had occasion      to talk to Larry Lane

6 since being incarcerate d?

7 A.         No .

8 Q.         Have you had occasion      to write to Larry Lane

9 since being incarcerate d?

10 A.        No .

11 Q.        What about Raynard      Dorsey ?

12 A.        No .

13 Q.        You said that Mr. Goodwin          was upset about his

14 arrest    back in November     of 2003 ; correct ?

15 A.        Correct .

16 Q.        And you said that Mr. Goodwin          said that Raynard

17 Dorsey    had set him up ; right ?

18 A.        Correct .

19 Q.        You never heard Mr. Goodwin          say that the drug s

20 in the car were his though , did you ?

21 A.        That was n't the conversation .

22 Q.        Do you recall      Mr. Goodwin     say ing that it was

23 Raynard    Dorsey 's car ?

24 A.        I don't understand      the question .

25 Q.        You don't understand      whether     or not Mr. Goodwin




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1 was drivi ng his car or Raynard         Dorsey 's car ?

2          MS. JOHNSTON:      Objection .

3          Basis and knowledge .

4          BY MR. MARTIN:

5 Q.       Do you know what car Raynard          Dorsey   drove ?

6 A.       No .

7 Q.       You also said that you had gone to Mr. Goodwin 's

8 house where he live d with Tiffany           Vessels ; right ?

9 A.       Correct .

10 Q.      Where is that house locate d?

11 A.      Washington , D. C.

12 Q.      Where ?

13 A.      On Farragut .

14 Q.      How did you get there ?

15 A.      What do you mean ?        Drive .

16 Q.      You drove , or somebody       else drove ?

17 A.      I drove .

18 Q.      You also talk ed about the Anacostia           Road

19 apartment , I believe    1323 .     Do you remember      that ?

20 A.      Yes .

21 Q.      Isn't it a fact that you had actual ly live d

22 there for a while ?

23 A.      Yes .

24 Q.      While you were living        there , you were deal ing

25 drug s out of that apartment , weren't         you ?




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 1 A.         Excuse    me ?

 2 Q.         You were deal ing drug s out of your apartment            on

 3 Anacostia     Road , weren't     you ?

 4 A.         Yes .

 5 Q.         When Mr. Goodwin      found out about that , he told

 6 you that you had to leave ; isn't that correct ?

 7 A.         No .

 8 Q.         Didn't    you have a confrontation       with Ricardo

 9 Williams     -- do you know Ricardo         Williams ?   "Little

10 Rick ?"

11 A.         Yes .

12 Q.         Didn't    you have a confrontation       with Ricardo

13 Williams     over your sell ing drug s at 1323 Anacostia ?

14 A.         No .

15 Q.         You also testifi ed that you work ed at Lobo's ;

16 correct ?

17 A.         Correct .

18 Q.         As a result      of work ing at Lobo's , you had access

19 to various        vehicle s; right ?

20 A.         Correct .

21 Q.         You also had access         to the deal er tag s; right ?

22 A.         Correct .

23 Q.         And you were deal ing drug s out of Lobo's ?

24 A.         Correct .

25 Q.         Let me get this straight .         You had friends      and




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1 family     in Texas to supply     you with drug s; right ?

2            Right ?

3 A.         Yes .

4 Q.         You also had a connection      at UPS to mail the

5 drug s to Washington , D. C; correct ?

6 A.         Well , Steve n did .   I didn't .

7 Q.         But you use d that connection ; right ?

8 A.         Yes .

9 Q.         You also had access     to rental    car s; correct ?

10 A.        Correct .

11 Q.        You had friends   to help you drive from

12 Washington , D. C. to Texas and back ; correct ?

13 A.        Correct .

14 Q.        You had all of those contact s, and it 's your

15 testimony    that that network      is not your network     but

16 that that 's Learley     Reed Goodwin 's network ; correct ?

17 A.        Correct .

18 Q.        Including   Steve Ross and Steve Campbell ; right ?

19 A.        Correct .

20 Q.        That 's not your network .     That 's not the Michael

21 Thurman    organization .

22 A.        No .

23 Q.        You know that the government        is interest ed in

24 Learley    Reed Goodwin ; right ?

25 A.        Yes .




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 1 Q.         And you know that the best way to reduce           your

 2 sentence     is to give them what they want ; right ?

 3 A.         To be honest .

 4 Q.         Be honest .

 5 A.         Yeah .

 6 Q.         Does n't your agreement       require   that ?

 7 A.         Yes .

 8 Q.         That 's what they want ; right ?

 9 A.         Yes .

10 Q.         And you 're going to help them get what they

11 want ; right ?

12 A.         Yes .

13 Q.         Mr. Thurman , in all of those session s you had

14 with the government , in all of those de brief ings , tell

15 us :   At any time did you take a polygraph ?

16            MS. JOHNSTON:      Objection .

17            THE COURT:     Sustained .

18            MS. JOHNSTON:      Your Honor , we would ask the

19 court to instruct        the jury .

20            THE COURT:     I instruct     the jury to dis regard      the

21 question     and answer .

22            MR. MARTIN:      No further    question s, Your Honor .

23                           CROSS-EXAMINATION

24            BY MR. MONTEMARANO :

25 Q.         Good morn ing , Mr. Thurman .      How are you ?




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 1 A.         I'm okay .

 2 Q.         My name is Michael      Montemarano .     I represent

 3 Paulette     Martin .

 4            You and I have never spoken          before , have we ?

 5 A.         No .

 6 Q.         Would you mind if I ask you a few question s to

 7 add onto what Mr. Martin 's asked you ?

 8            You were just tell ing Mr. Martin         how important

 9 it was for you to        be honest ; correct , sir ?

10 A.         Correct .

11 Q.         You want to be honest       because    you believe    that

12 will help you with regard          to your sentence ; correct ?

13 A.         Correct .

14 Q.         And you also want to be hon est and tell the

15 truth , because       you're   under oath ; correct , sir ?

16 A.         Correct .

17 Q.         It 's important     that you're   under oath ; right ,

18 sir ?

19 A.         Yes .

20 Q.         Because     being under oath mean s you're      suppose d

21 to tell the truth ; right , sir ?

22 A.         Yes .

23 Q.         Do you remember      being in the Circuit      Court for

24 Montgomery        County back in 19 99 ?

25 A.         What court ?     Like , for what ?     What you mean ?       I




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 1 probably     went to court several        time s in '99.

 2 Q.         Do you remember      being in the Circuit        Court fort

 3 Montgomery     County in    19 99 ?

 4 A.         Yes .

 5 Q.         That 's where you took a plea for arm ed robbery ;

 6 correct , sir ?

 7 A.         Correct .

 8 Q.         Arm ed robbery .     That 's taking     the possession s of

 9 another     person   from person      -- from their body , from

10 their immediate        proximity , by violence      or threat    of

11 violence ; right , sir ?

12 A.         Correct .

13 Q.         What kind of violence        did you use in that

14 robbery ?

15 A.         Did who use ?

16 Q.         You .

17 A.         I use d none .

18 Q.         None ?

19 A.         None .

20 Q.         You pled guilty      to arm ed robbery .       So , you pled

21 guilty    for do ing something        you didn't   do ?

22 A.         I was with the person .

23 Q.         Oh , you were with the person ?

24 A.         Yes .

25 Q.         So you didn't      do it .   This other person      did it .




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 1 A.        Correct .

 2 Q.        You were just there .

 3 A.        Yes .

 4 Q.        What kind of violence        did that person    use ?

 5 A.        I didn't    see the actual     robbery .   I was there .

 6 Q.        You didn't    see it , but you pled guilty ; right ?

 7 A.        Right .

 8 Q.        You were put under oath in front of a judge in

 9 the Circuit       Court for Montgomery     County ; right ?

10 A.        Yes .

11 Q.        A judge wear ing a black robe just like Judge

12 Titus ?

13 A.        Yes .

14 Q.        You were put under oath and you were asked to

15 tell the truth , weren't      you ?

16 A.        Right .

17 Q.        And you pled guilty ; right ?

18 A.        Right .

19 Q.        One of the question s that that judge asked you

20 is , are you plead ing guilty         because   you are guilty ;

21 right , sir ?

22 A.        Correct .

23 Q.        So you were guilty     in 19 99 .

24 A.        Yes .

25 Q.        But just not today ?




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 1 A.       I can't understand      you .

 2 Q.       Well , you didn't     see the violence ; you didn't

 3 see the person ; you were just there .          So , you're   not

 4 guilty   of the robbery ?

 5 A.       I was drivi ng the car , so I was guilty          of the

 6 under lying -- of being a accessory .

 7 Q.       When you went out with your run ning mate that

 8 day , that was to commit      a robbery ; right ?

 9 A.       No .

10 Q.       No ?

11 A.       That 's my response .

12 Q.       No ?

13 A.       No .

14 Q.       If you didn't     do anything , why did you go trial ?

15          MS. JOHNSTON:      Objection .

16          He mis character ize s his testimony .

17          THE COURT:     Over ruled .

18          MR. MONTEMARANO :      You're    presumed   innocent ;

19 right , Mr. Thurman ?

20          MS. JOHNSTON:      Objection .

21          THE COURT:     Sustained .

22          You're   argui ng with the witness .

23          BY MR. MONTEMARANO :

24 Q.       Thank you , Your Honor .

25          And you serve d about three year s, you said , on




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 1 that sentence ?

 2 A.         Correct .

 3 Q.         And you got about , what , three year s probation ?

 4 A.         Two , I think .

 5 Q.         Two ?    You said you were re lease d in 2002 ; right ?

 6 A.         One .

 7 Q.         2001 ?

 8 A.         Yes .

 9 Q.         So you were still on probation          when you were

10 arrested     in 2004 in Texas ?

11 A.         No .

12 Q.         You weren't ?

13 A.         No .

14 Q.         But you certain ly had been convict ed of a

15 felony , and that 's arm ed robbery , and there 's no doubt

16 in your mind about that ; right , sir ?

17 A.         Correct .

18 Q.         When you were arrested     in Orange County , Texas

19 by Sergeant        Strause , you had about two pounds     of

20 marijuana     in your vehicle ?

21 A.         I was n't sure .    I'm not sure of the weight .

22 Q.         It was n't just a little     amount .

23            Was it a pound , maybe ?     Was it three pounds ?

24 A.         It could have been .

25 Q.         Could have been ?




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 1 A.         Yeah .

 2 Q.         You 've smoke d marijuana       before ; right , sir ?

 3 A.         Yes .

 4 Q.         So you have an understand ing , based upon

 5 knowledge     and experience , of how to use marijuana ;

 6 right , sir ?

 7 A.         Correct .

 8 Q.         You don't smoke a pound of marijuana            in an

 9 afternoon , do you , sir ?

10 A.         No .

11 Q.         So there 's no question        in your mind that that

12 pound or two pounds          of marijuana , that was

13 distribution ; right , sir ?

14            Possession      with intent    to distribute    just like

15 you pled guilty        to in this case ; right , sir ?

16 A.         Correct .

17 Q.         So there 's no question        that 's a distribution

18 amount .     That 's not personal        use .   That 's not like ,

19 let 's go party ; right , sir ?

20 A.         It could be .

21 Q.         It could ?      Okay .

22            Tell me something .      Are you going to take a

23 couple     of firearm s to that party ?

24 A.         Excuse   me ?

25 Q.         Are you going to take a couple           of firearm s to




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 1 that party you could be going to ?

 2 A.       No .

 3 Q.       No ?    In fact , those firearm s are to protect        your

 4 distribution      of marijuana ; right , sir ?

 5 A.       No.

 6 Q.       No ?

 7 A.       No .

 8 Q.       You just happen ed to have two load ed firearm s in

 9 your vehicle ?

10 A.       It would n't happen      to have , no .

11 Q.       You didn't     happen   to have them.     You knew they

12 were there .

13 A.       Yes .

14 Q.       You knew they were load ed .

15 A.       Yes .

16 Q.       And they were there if you need ed them ; right ,

17 sir ?

18 A.       Yes .

19 Q.       A firearm , it 's fair to say , could be use d for

20 the purpose      of violence ; would n't that be fair , sir ?

21 A.       Repeat    the question .

22 Q.       A firearm    would be use d for the purpose        of

23 violence ; would n't it , sir ?

24 A.       I guess so .

25 Q.       If somebody     pull s a gun on you , that 's a violent




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 1 act ; would n't you agree ?

 2 A.        Yes .

 3 Q.        And when you finally      end up speak ing to

 4 Detective    Eveler    and the other law enforcement        agent s

 5 in this case in 2005 , you had not yet been adjudicate d

 6 on that case in Texas ; correct , sir ?

 7 A.        I don't understand      your question .

 8 Q.        In 2005 you turn ed yourself       in ?

 9 A.        Correct .

10 Q.        Those Texas charges      were still pend ing ; correct ,

11 sir ?

12 A.        Correct .

13 Q.        State court charge s, also; correct , sir ?

14 A.        Correct .

15 Q.        Federal     charge s; right ?

16           You understood     you could have been charge d in

17 federal   court ; right ?

18 A.        Yes .

19 Q.        Felon in possession      of a firearm , two count s;

20 right , sir ?     You underst ood that .

21 A.        Yes .

22 Q.        You understood     -- when you took your plea , they

23 advise d you of the right s you gave up ; right,          sir ?

24 A.        Yes .

25 Q.        One of those is the right to own or be in




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 1 possession    of a firearm .

 2 A.        Correct .

 3 Q.        If you can't own or possess          one firearm , then

 4 you sure can't own and possess            two of them ; can you ,

 5 sir ?

 6 A.        Correct .

 7 Q.        But in January        of 2004 , in Orange , Texas , that

 8 was n't important      to you , because      you had two firearm s

 9 in your possession ; right ?

10 A.        I'm not sure of the date you're           talk ing about .

11 Q.        When you were arrested          in Orange , Texas , that 's

12 January   of ' 04, was it not ?

13 A.        Yes .   Yes , yes .

14           MR. MONTEMARANO :        Court 's indulgence , please .

15           I'm going to show you here , sir .

16           MS. JOHNSTON:         Counsel   want s to use a document ,

17 Your Honor , that 's not in evidence.            That 's why the

18 government    didn't     want him to put it on the screen .

19           THE COURT:      Okay .

20           BY MR. MONTEMARANO :

21 Q.        I will show it up here .

22           There is a date there .          What 's that date ?

23 A.        01/21 /04.

24 Q.        January     21 , 2004 , Orange , Texas , Orange County

25 Sheriff 's Department .         Does that sound familiar ?




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 1 A.         Right .

 2 Q.         So you would agree that was January         of '04;

 3 right , sir ?

 4 A.         Right .

 5 Q.         I'd like to take your mind to June of 2004 .

 6 That 's when you were in Louisiana ; right , sir ?

 7 A.         It sounds    about right , but I'm not sure of the

 8 exact date .

 9 Q.         Give me June of '04?

10 A.         Well , I'm listening .

11 Q.         June 16 , give or take ?      That 's when Troop er

12 Guillotte     of the Louisiana    State Police pull ed you

13 over ; correct , sir ?

14 A.         I was pull ed over .     I'm not sure of his name .

15 Q.         And that 's when his search      of your -- you were

16 drivi ng the Conversion       van ; correct , sir ?

17 A.         No .

18 Q.         The motor home .    I'm sorry , the motor home ?

19 A.         Correct .

20 Q.         In fact , let 's talk about -- excuse       me for a

21 moment .     I'm sorry to change     subject s on you .     I forgot

22 something .

23            That Conversion    van that you were drivi ng .

24 That 's the       one you were driving   in Texas in January ;

25 right , sir ?




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 1 A.        Yes .

 2 Q.        And that 's the one with how many different

 3 hidden    compartment s?

 4 A.        Three .

 5 Q.        Those hidden      com partments   were to facilitate    the

 6 conceal ment of your drug s and your gun s; right , sir ?

 7 A.        They were there to hide drug s and gun s.

 8 Q.        They just happened      to have drug s and gun s in

 9 them ?

10 A.        Excuse    me .

11 Q.        Did the compartment s just happen        to have drug s

12 and gun s in them ?

13 A.        No .

14 Q.        In fact , when you put the drug s and gun s in the

15 van , you put them in the compartments          on purpose ;

16 right ?

17           They didn't      just fall in the compartment s, did

18 they ?

19 A.        No .

20 Q.        One of them was up in the ceil ing ; right ?

21 A.        In the back , yeah .

22 Q.        Yes .

23           Now , let 's go back to Louisiana .       You're   bus te d

24 by Troop er Guillotte ; right ?

25 A.        Yes .




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 1 Q.       Right , sir ?    And he does a search      of your motor

 2 home ; c orrect , sir ?

 3 A.       Yes .

 4 Q.       And he finds in the motor home , beneath           the

 5 stove , a nine ounce package       of cocaine ; correct , sir ?

 6 A.       Correct .

 7 Q.       And not mea ning to     re tread the same ground , but

 8 you're   an experience d user of cocaine ; correct , sir ?

 9 A.       Correct .

10 Q.       You've    been using it for many year s; correct ?

11 A.       Correct .

12 Q.       Based upon your knowledge        and experience     of the

13 use of cocaine , you would agree that nine ounce s is a

14 distribution      amount ; correct , sir ?

15 A.       It could be .

16 Q.       Well , you're    not going to be taking       to that same

17 party nine ounce s of cocaine ; right , sir ?

18 A.       It could be .

19 Q.       It could be .     Well , you use d to buy cocaine , you

20 said , before     Mr. Goodwin , and you 'd buy eight ball s;

21 right , sir ?

22 A.       Right .

23 Q.       That 's three grams;     right , sir ?

24 A.       Correct .

25 Q.       And if you got nine ounce s, do you know how many




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 1 ounce s -- how many grams are in an ounce ?            Do you

 2 recall ?

 3 A.         Yes .

 4 Q.         How many ?

 5 A.         Around   28 .

 6 Q.         About 28 .      So it 's 9 x 28 , and that would be 252

 7 grams of cocaine ; right , sir ?

 8 A.         I'm not sure of the math .

 9 Q.         Okay .   Well , let the jury do their own math .            If

10 my math serve s, that 's 84 eight- ball s; right , sir ?

11 A.         I'm not sure of the math .

12 Q.         I'm not sure either .        Let the jury do the math

13 themselves .

14            You said you would buy one eight- ball and go out

15 and distribute        it , but you're   tell ing us now with 84

16 eight- ball s, you're       not sure that 's distribution

17 amount ; is that correct , sir ?

18 A.         I didn't     say I was n't sure , but I said it could

19 be .

20 Q.         Okay .   So you are sure , aren't     you , Mr. Thurman ?

21 A.         I a nswered     the question .

22 Q.         But you didn't      have the gun s that time , did you ?

23 A.         No .

24 Q.         Okay .   So now you've    got a cocaine    felony    in

25 Louisiana , and that 's never been adjudicated;           correct ,




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 1 sir ?

 2 A.        Correct .

 3 Q.        It 's still open and still pend ing .

 4 A.        Correct .

 5 Q.        Do you know you're      faci ng state charge s in

 6 Louisiana     for cocaine    distribution , which is a felony ;

 7 right ?

 8 A.        Correct .

 9 Q.        And you're   faci ng federal      charge s in Louisiana ;

10 correct , sir ?

11           MS. JOHNSTON:       Objection .

12           Unless   counsel    know s of some pend ing charge s the

13 government     is not aware of .

14           MR. MONTEMARANO :      I will re phrase    the question .

15           THE COURT:    Re phrase   the question .

16           The objection      is sustained .

17           BY MR. MONTEMARANO :

18 Q.        You could face federal      charge s in Louisiana .

19           My apologi es .     You could face federal       charge s in

20 Louisiana ?

21 A.        Yes .

22 Q.        You have not been charge d with        federal    charge s

23 in Louisiana ; correct , sir ?

24 A.        Correct .

25 Q.        Just like you haven't      been charge d with federal




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 1 charge s in T exas ; correct , sir ?

 2 A.        Correct .

 3 Q.        You were bus ted in January         of 2004 in Texas ;

 4 correct , sir ?

 5 A.        Correct .

 6 Q.        You didn't    say anything     about Learley    Goodwin ,

 7 did you , to the police ?

 8 A.        No .

 9 Q.        You didn't    say anything     about Paulette    Martin ;

10 correct , sir ?

11 A.        Correct .

12 Q.        You didn't    say anything     about anybody    in this

13 courtroom    except    for yourself ; right , sir ?

14 A.        Correct .

15 Q.        And then in Louisiana , in 2004 , again , that

16 would be June ; correct , sir ?

17 A.        Yes .

18 Q.        You didn't    say anything     about Learley    Good win .

19 A.        You were just talk ing about Louisiana .

20 Q.        No .    I thought    I was asking    about Texas .

21 A.        No .    You said Louisiana .

22 Q.        I s hould start pay ing attention        to what I'm

23 saying.     I apologize .      Thank you , Mr. Thurman .

24           If you didn't       say anything    about Mr. Goodwin     or

25 Ms. Martin       or anybody   else in Louisiana     in June of




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 1 2004, it 's also fair to say you didn't          say anything

 2 about anybody     else in January     of '04 in Texas.       Is that

 3 also a fair statement ?

 4 A.       Correct .

 5 Q.       And then you got out on bail in Louisiana             and

 6 you came back to the D. C. area ; correct , sir ?

 7 A.       Correct .

 8 Q.       And you were on the street        for about ten month s,

 9 until about April ; is that right ?

10 A.       Could be .

11 Q.       Give or take ?

12 A.       Yeah , give or take .

13 Q.       More than nine and less than 11 , something            like

14 that ?

15 A.       Yes .

16 Q.       You said when you got back to D. C. -- we're

17 going to say D. C.       You were    in this area .

18           When you got back to D. C. you learn ed that

19 people   you knew had been bus ted ; correct , sir ?

20 Ar rested ?   Like Mr. Goodwin .

21 A.       I knew before     I return ed to Washington .

22 Q.       You knew before     you return ed to Washington .

23 A.       Yeah .

24 Q.       Okay .   Even though    they had been arrested , you

25 kept going down to Anacostia .         So you didn't     need Mr.




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 1 Goodwin     to continue    do ing drug work down there , did

 2 you ?

 3 A.         There was n't no drug s.     They move d.

 4 Q.         None at all ?

 5 A.         Not after that .

 6 Q.         That 's what you're    tell ing us today ; right , sir ?

 7 A.         Yeah .

 8 Q.         And though    your pend ing two out -of -state charge s

 9 and you understand        Mr. Goodwin 's been arrested , at no

10 time during       June of 2004 did you contact      the

11 authoriti es to tell them about what you knew about drug

12 activity     in the D. C. area ; is that a fair statement ,

13 sir ?

14 A.         Correct .

15 Q.         In July of 2004 , pend ing these two out -of -state

16 charge s, you did not contact        the authoriti es in any

17 jurisdiction        concern ing what you knew about drug

18 activ ity in      the D. C. area ; is that a fair statement ,

19 sir ?

20 A.         I don't understand     the question .

21 Q.         Same question     as for June , but for July .      In

22 July you didn't        call the cop s; right ?

23 A.         No .

24 Q.         And in August ?

25 A.         I don't think so , no .




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 1 Q.         September ?

 2 A.         No .

 3 Q.         See where I'm going here ?

 4            It was n't until April ; right , sir ?

 5 A.         Right .

 6 Q.         April of 2005 ; right , sir ?

 7 A.         Right .

 8 Q.         When you saw the     police   comi ng around ; correct ,

 9 sir ?     Right ?    You saw them comi ng around    the area ;

10 right ?

11 A.         Yes .

12 Q.         And you were scare d; right ?

13 A.         Of some sort .

14 Q.         Of some sort ?

15 A.         Yes .

16 Q.         Did you like your three year s in jail in

17 Montgomery        County ?

18 A.         I don't think     anybody   like s being lock ed up .

19 Q.         So it would be reasonable       to say you were scare d

20 of going back to jail ; right ?

21 A.         Of some sort .

22 Q.         Some sort .

23            You sat down , you spoke to law enforcement ,

24 Detective     Eveler , the gentleman      down here in the

25 brown ish jacket       and the yellow    and dark red tie --




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 1 A.       Yes .

 2 Q.       -- on the end of the table ?

 3 A.       Yes .

 4 Q.       You told him what you knew ; is that a fair

 5 statement ?

 6 A.       Yes .

 7 Q.       At that point you were arrested          and taken into

 8 custody ; correct , sir ?

 9 A.       Correct .

10 Q.       And then an attorney         was appoint ed to represent

11 you ?

12 A.       Correct .

13 Q.       That would be Mr. White .          His name is on the

14 plea agreement     you were look ing at with Ms. Johnston ;

15 correct , sir ?

16 A.       That 's my second     attorney .

17 Q.       Your second     attorney ?

18 A.       Yes .

19 Q.       Who was your first attorney ?

20 A.       Karen C all .

21 Q.       Mr. White talk ed to you -- when was Mr. White

22 appoint ed to represent      you ?    Do you recall ?

23 A.       I'm not sure of the date .

24 Q.       How long after the April arrest ?          Would it be a

25 month late r or two month s later or three month s later ?




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 1 A.       Under a month .

 2 Q.       It had to be before       September    28 , because    that 's

 3 the date on the plea agreement ; isn't it , sir ?              Does

 4 that sound right ?

 5 A.       Yes .    It 's before .

 6 Q.       Certain ly in the time before         the plea agreement

 7 was offered      to you by the government , you and he

 8 discus sed what a plea would involve , did you not ?

 9 A.       Correct .

10 Q.       And he discuss ed the content s of the plea

11 agreement ; correct ?       He went through    it with you .

12 A.       Yes .

13 Q.       When you went to court to enter a plea of

14 guilty , the judge went through        it with you , did he not ?

15 A.       Yes .

16 Q.       Was it Judge Titus ?

17 A.       Yes .

18 Q.       Okay .    And he went through     in de tail all of the

19 right s you're     giving   up ; correct , sir ?

20 A.       Correct .

21 Q.       He went through      all of the charge s against        you ;

22 correct , sir ?

23 A.       Correct .

24 Q.       He went through      all of the potential      penalties ;

25 correct , sir ?




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 1 A.       Correct .

 2 Q.       Long before    that , Mr. White had done all the

 3 same thing s; right ?

 4 A.       Yes .

 5 Q.       Mr. White 's a smart guy , isn't he ?

 6          MS. JOHNSTON:      Objection .

 7          MR. MONTEMARANO :      Goes to the witness ' state of

 8 mind , Your Honor .

 9          THE COURT:     S ustained .

10          MR. MONTEMARANO :      Did you like Mr. White?

11          MS. JOHNSTON:      Objection .

12          THE COURT:     Sustained .

13          THE WITNESS:      I never thought     about it --

14          THE COURT:     No , no , no .    Don't .   I've sustain ed

15 the objection .

16          THE WITNESS:      Okay .

17          BY MR. MONTEMARANO :

18 Q.       Did you think Mr. White was doing a good job for

19 you ?

20 A.       There was no way , really , to know .

21 Q.       I'm sorry ?

22 A.       There was no way , really , of know ing if he was

23 do ing a good job .

24 Q.       No way to know ?

25          Did he tell you about some of the charges             that




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 1 hadn't    yet been brought       against    you and that weren't    in

 2 the plea agreement ?

 3 A.        Not to my knowledge .

 4 Q.        Not to your knowledge .          So in spite   of his vast

 5 experience , he didn't      tell you about the other charge s

 6 that you could be faci ng ; correct , sir ?

 7 A.        What , the charge      I had already    been arrested

 8 for ?

 9 Q.        Or any other charge s.

10 A.        Just the charge     I was charge d with now and the

11 charge s I had .

12 Q.        Did he explain    to you that there 's a mandatory

13 penalty    under Section    85 1 of the U. S. Code that could

14 have been file d against         you ?

15           MS. JOHNSTON:     Objection .

16           That 's a mis statement        of the law .

17           THE COURT:     Sustained .

18           MR. MONTEMARANO :       Your Honor , can we be heard at

19 the bench ?

20                        (At the bar of the Court.)

21           MS. JOHNSTON:     Your Honor , he has no prior drug

22 conviction    so he could not have gotten          an enhance d

23 penalty    under 851 .    The government       is quite upset with

24 now both defense       counsel    is maki ng totally

25 in appropriate     comments in     front of the jury .     Before




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 1 the court recesses      for its morn ing break , I'm going to

 2 ask the court for an instruction.            T his court has not

 3 determine d that they are re liable          indicia   as to whether

 4 a witness     is being truthful , so they should , in way ,

 5 shape or form , consider      that at all .      I'm going to ask

 6 the court to do that .

 7           What Mr. Montemarano      said is totally

 8 in appropriate .     This witness    does not have a prior

 9 con viction    for a drug felony .

10           THE COURT:    Is there something       that I don't know

11 about ?

12           MR. MONTEMARANO :     Is Ms. Johnston        done ?

13           I asked to approach , and she came up here and

14 start ed approach ing .     If I may , Your Honor .

15           THE COURT:    You have equal time .          You may

16 proceed .

17           MR. MONTEMARANO :     Thank you.

18           Initial ly , I would move to strike          Ms. Johnston 's

19 comment s before     the jury regard ing any mis statement             of

20 the law which my statement        was not , and I would request

21 the court to so instruct        the jury .     The government         made

22 a tremendous     issue about speak ing objections .             The

23 court ordered      there would be no speak ing objections .                 I

24 assume    that that ruling    appl ies to     Ms. Johnston       as

25 well , and I therefore      think I'm entire ly within           my




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 1 right s to request       this .

 2            It 's your 's call as to the 851 notice .          He has

 3 two prior felony        narcotic s arrest s yet to be

 4 adjudicate d.        If in this case he were to be adjudicate d

 5 on either     or both prior to the resolution         of this case ,

 6 he would have one , lead ing him to a mandatory           minimum

 7 of 20 year s or , two , lead ing him to a mandatory           minimum

 8 of life .

 9            THE COURT:     Neither    one of those thing s have

10 happened .

11            MR. MONTEMARANO :       It could have happened      had he

12 not enter ed the       plea agreement .

13            THE COURT:     I don't think     it 's a fair question

14 to ask that .

15            MR. MONTEMARANO :       I think it 's a fair question

16 to discuss     with him any competent        lawyer , and I will

17 proffer     myself    as perhaps    an example   of that with the

18 kind of experience        that Andy W hite has .     He was a

19 federal     prosecutor    for many year s before     he was a

20 defense     attorney , and he was a very , very talent ed

21 attorney     and a very personable        guy , which is why I was

22 try ing to    establish    the relationship , and Your Honor

23 object ed to my question s to that .          I think it 's

24 entire ly appropriate       to ask him , was he inform ed of

25 this , and did he understand .          If he says no , well ,




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 1 perhaps    I am --

 2            THE COURT:    I don't think    it 's proper    to get

 3 into a question      of an 851 notification       when there is no

 4 present    bas is to give an 851 notification .

 5            MR. MONTEMARANO :      There would be .    That could

 6 been filed before       trial .   Therefore , it 's going to be

 7 speculative     until after the trial begin s.

 8            THE COURT:    His trial is over .      He 's plead ed

 9 guilty .

10            MR. MONTEMARANO :      At the time he was negotiati ng

11 the plea it was not speculate d.

12            THE COURT:    It certain ly would be speculative ,

13 because    he had no under lying conviction         upon which he

14 could give an 851 notice .         I have sustai ned the

15 objection .     I'm going to deny your motion         to strike .      I

16 think what she said was appropriate , and I'm not going

17 to give any further       instruction s to the jury .       I've

18 sustained     the objection .

19            MR. MONTEMARANO :      Is the motion   to strike

20 regard ing Ms. Johnston 's comment        --

21            THE COURT:    All she said was there was no legal

22 basis for the question .

23            MR. MONTEMARANO :      She said it was a mis statement

24 of the law .     That 's rather    inflammatory .

25            THE COURT:    There have been plenty       of objections




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 1 that I have sustained         that the jury has heard some

 2 min or explanation       of it .    I don't think    that that 's

 3 anything     that require s a curative        instruction .

 4            MS. JOHNSTON:      I would ask the court to consider

 5 the government 's request          for an instruction     --

 6            THE COURT:      How much more do you have to go , Mr.

 7 Montemarano ?

 8            MR. MONTEMARANO :       Five or ten    minute s.

 9            THE COURT:      I thought   we would     take a break .

10 I'm not going to go back to re direct             until after the

11 break , and I'll       deal with the objection       to the

12 polygraph .

13            MS. JOHNSTON:      If I understand       the court , you're

14 going to allow Mr. Montemarano           --

15            THE COURT:      Let 's stop the "O cean City " and go

16 back to your cross-examination           and take a break .

17                           (Back in open court .)

18            BY MR .     MONTEMARANO :

19            At the time you and Mr. White were discuss ing

20 your plea agreement , you had two un adjudicate d felony

21 narcotic s charge s; correct , sir ?

22 A.         Correct .

23 Q.         Did , at any time , Mr. White discuss         the

24 possibility     of you being adjudicate          -- those being

25 adjudicate d before        this case could resolve ?




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 1 A.       I don't understand      what you mean .

 2 Q.       Did he ever talk to you about the possibility

 3 that you would be extradite d to Texas and /or Louisiana

 4 to face an d resolve     those charge s before      the federal

 5 charge s in this court were resolve d?

 6 A.       Possibility .

 7 Q.       Possibility .

 8          Did he explain     to you what that would mean to

 9 you in term s of your possible         sentence ?

10 A.       We didn't    get that far .

11 Q.       You didn't    get that far ?

12 A.       No .

13 Q.       So you were never told about the possibility              of

14 a sentence      on one of those --

15          MS. JOHNSTON:      Objection , Your Honor .

16          MR. MONTEMARANO :      -- and how it would affect

17 this sentence ?

18          MS. JOHNSTON:      Objection .

19          THE COURT:      Sustained .

20          MR. MONTEMARANO :      Thank you , Your Honor .

21          Court 's indulgence , please .

22          THE COURT:      You may .

23          BY MR. MONTEMARANO :

24 Q.       Your nickname     is C adillac   Mike ; correct , sir ?

25 A.       Correct .




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 1 Q.         Where does that come from ?

 2 A.         What do you mean , where it come from ?

 3 Q.         Why Cadillac      Mike ?     Did you drive a Cadillac ?

 4 A.         Yes .

 5 Q.         How many did you own ?

 6 A.         Say again .

 7 Q.         How many did you own ?

 8 A.         One .

 9 Q.         Was that prior to maki ng the acquaintance           of

10 Learley     Reed Goodwin ?

11 A.         You say ing before         or after ?

12 Q.         Before .

13 A.         No , after .

14 Q.         After .     So you weren't      known as Cadillac   Mike

15 before ?

16 A.         No .

17 Q.         You told us about how you kept a motor cycle in

18 Texas ; is that correct , sir ?

19 A.         Correct .

20 Q.         Where did you keep it ?

21 A.         Steve n Campbell 's house .

22 Q.         Did you have any property          that you own ed in

23 Texas ?

24 A.         That I own ed ?

25 Q.         Yes .




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 1 A.       No .

 2 Q.       That would be the same Steve Campbell            who 's

 3 involve d in these drug deal s that you told us about ;

 4 correct , sir ?

 5 A.       Correct .

 6 Q.       That would be the same drug deal s that went bad ;

 7 correct , sir ?

 8 A.       Some of them .

 9 Q.       Two of them ; r ight ?

10 A.       Yes .

11 Q.       The first one that went bad , that 's when the

12 money was ship ped by UPS down to Houston ; correct , sir ?

13 A.       Correct .

14 Q.       You were suppose d to get drug s ship ped back ;

15 correct , sir ?

16 A.       Correct .

17 Q.       When you ship thing s, you've         got to have

18 address es on them ; is that correct , sir ?

19 A.       Right .

20 Q.       Addresses     to and from ; right , sir ?

21 A.       Depends     what you're   saying    "from ."

22 Q.       It 's got to have an address ; right ?

23 A.       Yes .

24 Q.       It 's got to have a return         address ; right ?

25 A.       Yes .




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 1 Q.         And those address es and those ship ment s.          Did

 2 any of those address es involve            your home or your

 3 residence ?

 4 A.         Yes .

 5 Q.         What address    would that have been , if you

 6 recall ?

 7 A.         The Delray C ourt .

 8 Q.         Who live s there ?

 9 A.         I use d to live -- no one lives there now .

10 Q.         Okay .   When you were us ing that      address , who

11 live d there ?

12 A.         My girlfriend    and me .

13 Q.         Your girlfriend      and you ?

14 A.         Yes .

15 Q.         That would be Ms. De ma ra ?

16 A.         No .

17 Q.         Different   girlfriend ?

18 A.         Yes .

19 Q.         So you entrusted      $90,000    to UPS more than one

20 time ; correct , sir ?

21 A.         Correct .

22 Q.         And you en trusted , or somebody       in Texas , excuse

23 me , en trusted     about five kilogram s of cocaine      -- about

24 11 pounds     of cocaine   to UPS on several       occasion s; is

25 that correct , sir ?




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 1 A.        Correct .

 2 Q.        That would be until      the last occasion      when the

 3 cocaine   did not arrive ; correct , sir ?

 4 A.        Correct .

 5 Q.        And then the one deal went bad ; correct , sir ?

 6           You never got the coke ; right ?

 7 A.        Right .     That 's the one you were talk ing about .

 8 Q.        An d you went down to Texas to talk to the

 9 people ; correct , sir ?

10 A.        Correct .

11 Q.        And you could n't get a hold of Mr. Campbell , or

12 it 's Mr. Ross ?

13 A.        I don't recall     say ing I could n't get a contact

14 on any of them .

15 Q.        You got in contact      with them , and basically      you

16 never got your cocaine ; correct ?

17 A.        Correct .

18 Q.        $90,000 ; correct , sir ?

19 A.        Correct .

20 Q.        Based upon your vast experience         in the drug

21 trade -- you understand        the drug trade is a rather

22 violent   enterprise ; is that a fair statement , sir ?

23 A.        Correct .

24 Q.        That 's why people     tend to carry load ed firearm s

25 in their Conversion        van s; right , sir ?




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 1 A.        Maybe .

 2 Q.        When you mess up the money in a drug deal , you

 3 don't tend to get sue d, do you ?

 4 A.        No .

 5 Q.        People    tend -- what 's the phrase ? -- to " bust a

 6 cap " in you ; right , sir ?

 7 A.        Some people .

 8 Q.        Some people .

 9           And I guess sometimes         you need a reason      to do

10 that ; right , sir ?

11 A.        Some people     would .

12 Q.        Would $90,000     be a reason     for that , sir ?

13 A.        It could be to some people .

14 Q.        It could be to some people .

15           Would it be to you ?

16 A.        No .

17 Q.        How much did you take from the victim           in that

18 robbery    in Montgomery     County ?    What was the total loss

19 to that person ?

20 A.        I can't recall .

21 Q.        Was it $90,000 ?

22 A.        I can't recall .

23 Q.        Was it a lot less than $90,000 ?

24 A.        I'm sure it was less .

25 Q.        A lot less ; correct ?




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 1 A.       I can't recall     the amount , but I'm sure it was

 2 less than $90 ,000.

 3 Q.       Okay .    And to begin in this business        enterprise

 4 with Mr. Goodwin      you told us about , you were a

 5 purchaser   of eight ball s; correct , sir ?

 6 A.       Correct .

 7 Q.       $150 a pop , give or take ?

 8 A.       Yes .

 9 Q.       Maybe as low as $125 ?       Th at 's what we would call

10 in the business , " nickel      and dime " drug deal ing ; right ,

11 sir ?

12 A.       Could be , yes .

13 Q.       And that would make you , of course , the person

14 of first re sort for Mr. Goodwin        to go to when he want s

15 to start buy ing cocaine      by the kilogram ; is that right ,

16 sir ?

17          That 's what you told us .        Isn't that a fair

18 statement , sir ?

19 A.       Repeat    the question .

20          MS. JOHNSTON:      Objection .

21          BY MR. MONTEMARANO :

22 Q.       You're    buy ing eight ball s.     That 's eighth    of an

23 ounce ; right , sir ?

24 A.       Right .

25 Q.       You told us Mr. Goodwin        want ed to get large




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 1 amount s; right , sir ?

 2 A.        Right .

 3 Q.        And your first deal was five kilogram s; correct ,

 4 sir ?

 5 A.        Yes .

 6 Q.        Without   intend ing to    bore anyone   with the math ,

 7 you would agree that five kilogram s would be about 17 5

 8 ounce s of cocaine ; right , sir ?

 9 A.        I'm not sure of the math .

10 Q.        Let 's assume    it 's 175 -- we'll l et the jury do

11 their own math again .       We should     give you calculat or

12 and not pads next time .

13           There 's 8 eight- ball s in a gram -- in an ounce ;

14 right , give or take ?

15 A.        Yeah , give or take .

16 Q.        In fact , an eight -ball come s from an eighth           of

17 an ounce ; right ?

18 A.        I'm not sure where it came from .

19 Q.        Your understand ing is it 's around        an eighth     of

20 an ounce ; right ?

21 A.        Yes .

22 Q.        Give or take .     Eight time s 175 -- I'm lost now .

23 1,300 -some eight ball s; r ight ?       If you've   got 175

24 ounce s of cocaine , that's,        like , 1,30 0 eight- ball s;

25 right ?




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 1            MS. JOHNSTON:      Objection      on relevance .

 2            THE COURT:      How is this relevant ?

 3            MR. MONTEMARANO :        Pardon   me ?

 4            THE COURT:      How is    this relevant ?

 5            MR. MONTEMARANO :        If the court will permit       me a

 6 lit tle bit of leeway .        One more question ?

 7            THE COURT:      One more .

 8            BY MR. MONTEMARANO :

 9 Q.         Two more , excuse    me.

10            How often are you buy ing these eight ball s from

11 Mr. Goodwin ?

12 A.         Once every week or two .

13 Q.         Once every week or two .

14 A.         Yes .

15 Q.         Let 's assume    it was once every week .          It would

16 take you , if my math serve s, something            over 26 year s to

17 buy that much cocaine         from Mr. Goodwin ; right , sir ?

18 A.         I'm not sure of the math .

19 Q.         Well , 52 week s in a      year , 1,30 0 eight     ball s -- a

20 ballpark     26 year s.

21            He come s to you to       get five kilogram s of

22 cocaine ; right sir ?

23 A.         He didn't    come to me to get five kilogram s of

24 cocaine .

25 Q.         Court 's indulgence       just for moment , please .




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 1          Was Xavier Moore      in the Conversion      van when you

 2 were bus ted in Texas ?

 3 A.       Yes .

 4 Q.       At this time , did Mr. Moor e know Mr. Goodwin           --

 5 A.       Yes .

 6 Q.       -- and some of the other people          from Anacostia ?

 7 A.       Yes .

 8 Q.       He didn't    say anything    about those people       to the

 9 police   when he was busted      with you in Texas , did he ?

10 A.       No .

11 Q.       You told us at one point that you discus sed it

12 with Larry Lane ; right ?

13          Larry Lane is a drug deal er , too , is he not ?

14 A.       Correct .

15 Q.       He 's the one that told you there was drug s in

16 tool box es at Mr. Goodwin 's ; right ?

17 A.       Repeat    the question .

18 Q.       He told you there were drug s hidden          in tool box es

19 at Mr. Goodwin 's home , did he not ?

20 A.       No .    I observe d that .

21 Q.       You observe d that?

22 A.       Yes .

23 Q.       Was Mr. Lane there ?

24 A.       Yes .

25 Q.       You told us that you have no expectation            of how




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 1 low a sentence      you're   going to get in this case ;

 2 correct , sir ?

 3 A.         Correct .

 4 Q.         Except   that it 's going to be on a motion         made by

 5 the government ; correct , sir ?

 6 A.         Correct .

 7 Q.         You have at least     one expectation , do you not ,

 8 sir ?

 9 A.         Of get ting a low er sentence ?

10 Q.         The plea agreement      says you will get a ten -year

11 mandatory     minimum   sentence ; correct , sir ?

12 A.         Yes .

13 Q.         Mr. White , your defense     attorney , told you the

14 only way you can get under the mandatory             minimum   is if

15 a motion     is made by these folk s, the      government

16 attorney s; right , sir ?

17 A.         Yes , it was discuss ed .

18 Q.         That was discuss ed .

19            Judge Titus can't do it , even if he want s to ,

20 can he ?

21 A.         I don't think     he can .

22 Q.         None of these attorney s, no matter        how quiet or

23 talkative     they are , can do it for you either , can they ,

24 sir ?

25 A.         Not to my knowledge .




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 1 Q.        You don't expect     to get a mandatory      minimum     of

 2 ten year s in this case , do you ?

 3 A.        I don't know     what I'll get .

 4 Q.        You don't expect     to get much more than ten year s

 5 either , do you , sir ?

 6 A.        I hope not .

 7 Q.        In fact , you expect     less than ten year s at the

 8 very least , and you don't know how much           less .     So , you

 9 do have an expectation , don't you , sir ?

10 A.        I would hope so .

11           MR. MONTEMARANO :     No further    question s, Your

12 Honor .    Thank you .

13           THE COURT:      Ladies and gentlemen    , we will take a

14 recess    until five minute s after 12 .

15                          (Jury excused at 11:45 a.m.)

16                          (Off the record    at 11 :45 a.m. )

17                          (On the record    at 12 :05 p.m. )

18           THE COURT:      We have a juror who is get ting cold ,

19 so I asked if    we can turn the meat lock er air

20 conditioning    down for a short while .

21           MS. JOHNSTON:      Your Honor , I don't know        when the

22 court wanted    to address     the government 's request        for an

23 instruction .    We would ask for an instruction             at the

24 end of cross- examination .       There was a reference         to a

25 polygraph    exam and, under the law , polygraph            exam s are




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 1 -- the willingness        to take one is not admissible ,

 2 because    the court s have determine d that polygraph s are

 3 not re liable .       I think that instruction         is important

 4 because    of the mention     that was made .

 5            MR. MARTIN:     Your Honor , I am familiar           with the

 6 Fourth Circuit 's ruling       in the case of --

 7            THE CLERK:     Are you ready ?

 8            THE COURT:     Wait one second .

 9            THE COURT:     Okay .   What ?

10            MR. MARTIN:     I am familiar      with the Fourth

11 Circuit 's holding       in United States      versus    Ru e, and my

12 understand ing of that hold ing is that evidence                that a

13 witness    has taken or agreed to take a polygraph               test or

14 the test result s are not admissible .

15            I didn't    ask him if he took one .         I'm sorry .       I

16 didn't    ask that the test result s be admitted .              I didn't

17 ask him whether        or not he had taken or agreed to take a

18 polygraph .     What I asked him was :         And at no time did

19 the government        give you a polygraph .         I didn't   ask him

20 if he had taken it or -- strike             that .    I did ask him if

21 he took it -- whether        or not he agreed         to take one .

22            It seem s to me that the question           itself    is not

23 contrary    to Rue that it is consistent             or at least    an

24 exception     -- a narrow    one in that the polygraph           test

25 itself    is not being sought      to , you know , impeach         his




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 1 credibility    as much as    it is to show that the

 2 government    had no in dependent       way of corroborati ng the

 3 story that he was tell ing .

 4          THE COURT:     Well , your question      is elevati ng the

 5 status   of polygraph s way above the legal status               in the

 6 Fourth Circuit , and it was not a proper              question    and I

 7 sustained    the objection .     The Fourth Circuit        has made

 8 it very plain that whether         a witness    has agreed to take

 9 or has taken and pass ed a polygraph           test is simply

10 in admissible .    Fo r example,      U . S. versus    Her rera sai d

11 that the fact a witness        has agreed to take a polygraph

12 test is the    im proper   bolstering     which should     be kept

13 from the jury .

14          MR. MARTIN:       I didn't    ask if he had agreed to

15 take one .    I asked -- I understand , Your Honor .

16          THE COURT:     I don't think       that it was a proper

17 question .    I sustain ed the     objection , and I will advise

18 the jury that they should        dis regard    any consideration

19 of polygraph s.

20          MS. JOHNSTON:       I want the court to tell them

21 that polygraph     result s are or the      willingness     to take a

22 polygraph    is not ad missible       evidence , because    the

23 court s have determine d that they are not re liable ,

24 which is set forth in any number           of case s.     While they

25 can dis regard    the question , this notion          that it should




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 1 be apprise d of why -- it was n't a technical               reason    why

 2 the court struck        it , but the   court should       specifically

 3 tell them that that is not admissible              evidence    in

 4 court .    The reason     it 's not admissible      is because       it 's

 5 not been determined        to be re liable      by the court , and

 6 there are any number        of Fourth C ircuit      case s that I can

 7 cite to the court from the Criminal              Hand book .

 8            THE COURT:     I have the handbook        in front of me .

 9            MS. JOHNSTON:      Your Honor , on Page 449 it is

10 replete    with case s.     The Fourth Circuit       has

11 consistent ly dis approve d polygraph           evidence , including

12 evidence      that a witness    has taken or agreed to take a

13 polygraph      test .   It cite s the --

14            THE COURT:     The absence    of consensus       says it 's

15 re liable .

16            MS. JOHNSTON:      United   States    versus    Shepherd    --

17 and counsel      knew that this kind of information            was not

18 appropriate      --

19            THE COURT:     Look , I've already      ruled on it .       I

20 will be glad to give a cautionary            instruction .      I want

21 them to understand        why the   court has sustained        the

22 objection      with respect    to polygraph      exam s, and that is

23 because    such testimony      or evidence      is in admissible , and

24 the court s have conclude d that there is an absence                  of

25 consensus      that polygraph    test s are re liable .




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 1           MR. MARTIN:       I need to respond     to the last

 2 point .    On the break , I went into the library .           I

 3 didn't know     that -- I knew the test         result s were not

 4 admissible , but I never thought           there was any

 5 prescription     against    asking   somebody    whether   or not

 6 there was in dependent       corroboration .     U ntil this break ,

 7 I didn't know     that , and I just read this .

 8           THE COURT:       I understand .    I'm not slap ping you

 9 around ; I'm just say ing that I sustained           the objection .

10           MR. MONTEMARANO :      I would object , Your Honor , on

11 behalf    of Ms. Martin , to the nature         of the cautionary

12 instruction .     We ex tend ed the cautionary       instruction

13 Your Honor gave .       Even if that 's the F ourth Circuit

14 law , that 's something      for lawyer s.      I do not believe         it

15 is appropriate     to be address ing question s of

16 reliability     or lack thereof      to the jury , anymore        than

17 why certain     evidence    is excluded     is given to the jury .

18           Would it be appropriate , when Detective           Eveler

19 take s the stand , for me to suggest          that he tri ed to get

20 a statement     out of my client      and it was suppress ed by

21 Your Honor ?

22           THE COURT:       I don't think    I'm going to go into

23 the whole theory       of why they are not admissible ,

24 because I    don't think     the jury needs to know that , but

25 I will tell the jury that it is not -- court s have




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 1 conclude d that polygraph          examination s -- the     result s of

 2 them and whether        somebody    took one or whether      somebody

 3 did not take one is not admissible             in a federal

 4 criminal      trial under any circumstance s and they should

 5 dis regard     any discussion      of it , period .

 6            MR. MONTEMARANO :       That 's as far as     Your Honor is

 7 going to go ?

 8            THE COURT:      That 's as far as    I'm going to go .

 9 We're going to get the jury back in here and get

10 roll ing .

11            MR. SUSSMAN :     May I suggest     you might soften           it ?

12 You might say to the jury that the fact they may have

13 heard the use of pol ygraphs          by law enforcement , but

14 they're      not permitted    in court --

15            THE COURT:      I'm going to give what I said I

16 would give .

17            All right , bring them in .

18                    (Jury return s at 12 :13 p.m. )

19            THE COURT:      Ladies and gentlemen       , before   we

20 begin with re direct       examination     of this witness , I

21 want ed to just mention         to you that I had made a ruling

22 during    the cross-examination        of this witness      where a

23 question      was asked about a polygraph        examination .        I

24 want to re mind you and instruct           you again that in

25 federal      court , evidence    that a person    has taken or has




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 1 not taken , or the result s of a polygraph           examination ,

 2 are absolute ly in admissible       and may not and must not be

 3 considered    by you in any way , shape or manner .            Thank

 4 you .

 5           You may proceed .

 6           MR. HALL:      Your Honor , actual ly , before       we get

 7 to that , a couple     of us had some additional         question s

 8 on cross .

 9           THE COURT:      Oh , okay .   Sure .   I'm sorry .

10           MR. HALL:      Thank you , Y our Honor .     If I may .

11                           CROSS-EXAMINATION

12           BY MR. HALL:

13 Q.        Sir , earlier    this morn ing the government         show ed

14 you a chart .     Do you recall     that ?

15 A.        Yes .

16 Q.        It 's Exhibit    CH -1 , or Chart 1; correct ?

17 A.        I guess .    Yes .

18 Q.        It has a series      of photograph s of people        who

19 were involve d in this case ; is that correct ?

20 A.        Yes .

21 Q.        You identifi ed those individuals          you know ;

22 right ?

23 A.        Yes .

24 Q.        And I assume     that at some point in your

25 de brief ings by the law enforcement          officer s you 've also




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 1 been shown photograph s of people         involve d in this case ?

 2 A.       yes .

 3 Q.       You don't know this gentleman          who I just put my

 4 hand on his shoulder , do you ?

 5 A.       No .

 6          MR. HALL:     Thank you , Your Honor .

 7          THE COURT:        Any other cross-examination     ?

 8          MR. MITCHELL:        Yes , Your Honor .

 9                            CROSS-EXAMINATION

10          BY MR. MITCHELL:

11 Q.       Good afternoon .       My name is Tim othy Mitchell          and

12 I represent      Derrick   Bynum .

13          I don't want to repeat        the question s that my

14 co-counsel      asked you , but referring      to the chart that

15 you look ed at .     Did you recognize     my client     who I'm

16 put ting my hand on here , Derrick        Bynum ?

17 A.       No .

18 Q.       You were also asked , I beli eve it was on Friday ,

19 question s about being at Mr. Goodwin 's house and see ing

20 people   comi ng in and out and referring           to people   who

21 are user s and seller s.

22          Did you ever see Mr. Bynum come in and out Mr.

23 Goodwin 's house ?

24 A.       No .

25 Q.       The prosecutor 's also show ed you picture s, I




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 1 assume , in these session s that they had with you to

 2 find out what you did and didn't          know and what they

 3 need ed to know .

 4          Did you ever see a picture        of Mr . Bynum or

 5 recognize     him from before ?

 6 A.       Did I recognize     him ?

 7 Q.       Yeah .   Did you recognize      Mr. Bynum 's picture s in

 8 any of the picture s they gave to you ?

 9 A.       No .

10 Q.       Has the government       asked you to come here to

11 give testimony      about Mr. Bynum ?

12 A.       No .

13 Q.       Is it your understand ing that you won't get any

14 extra cooperation , as you were asked by your

15 co-counsel , about whether        or not if you gave

16 information     about Mr. Bynum that you would         get more

17 cooperation , credit s, or get some time off your

18 sen tence ?

19 A.       You asked me , did they tell me that ?

20 Q.       Is it your understand ing that you're          here to

21 give information      about Mr. Bynum and therefore         get some

22 time , perhaps , off your sentence ?

23 A.       No .

24          MR. MITCHELL:      No further    question s.

25          THE COURT:      Mr. Ward .




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1                          CROSS-EXAMINATION

2           BY MR. WARD:

3 Q.        I have a couple,      Your Honor.    Thank you.

4           Afternoon,    Mr. Bynum .

5 A.        Good afternoon.

6 Q.        Mr. Bynum --

7 A.        Thurman.

8 Q.        Thurman.     I'm sorry.    My mistake.

9           Mr. Thurman, you were asked by           Mr. Montemarano ,

10 sitting here, if at the time you were busted in              Texas

11 if you were still on probation or parole from the state

12 armed robbery conviction; is that right?

13 A.       Correct.

14 Q.       You said that you were not?

15 A.       Right.

16 Q.       That was not the first trip you took down the

17 roads go Texas, was it?

18 A.       No.

19 Q.       When you first started going down the back roads

20 to Texas,   you were still on probation or parole for the

21 armed robbery conviction, weren't you?

22 A.       Yes.

23 Q.       Now, you have testified to your long drug use

24 over a period of years, and that included powder

25 cocaine; is that correct, sir?




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 1 A.         Correct.

 2 Q.         And you talked about how you would buy an

 3 eighth, which      I understand is an eighth of an ounce or

 4 three grams; is that correct?

 5 A.         Correct.

 6 Q.         And you would buy that for resell; is that

 7 correct?

 8 A.         And personal use.   Correct.

 9 Q.         And personal use.

10            An 8-ball is not -- the purchase of an 8-ball is

11 not inconsistent with personal use, is it?

12 A.         I can't hear you.

13 Q.         I said the purchase of an 8-ball is not

14 inconsistent with simply buying for personal use.

15 A.         Correct.

16 Q.         In fact, you did that many times yourself.

17 A.         Correct.

18 Q.         Okay.   Now, you talked about a trip that you

19 took with    John Irby down to     Louisiana to buy drugs.       Do

20 you remember that?

21            The deal didn't go through for some reason;           I

22 don't recall what it was.

23 A.         Correct.

24 Q.         Do you recall that trip?

25 A.         Yes.




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 1 Q.       All right, sir.

 2          How much money did you take down on that

 3 occasion?

 4 A.       About $90,000.

 5 Q.       About $100,000?

 6 A.       About $90,000.

 7 Q.       Oh, $90,000?     I'm sorry.

 8          Was that the occasion when the money was hidden

 9 inside the spare tire?

10 A.       Correct.

11 Q.       All right, sir.

12          And the deal in      Louisiana didn't go through, and

13 I understood you to say that you then called             Houston

14 and talked to some of your family or buddies there, and

15 they said something to the effect of, come on down and

16 we'll be able to take care of you; is that right?

17 A.       Correct.

18 Q.       And you did go down to        Houston, and you got,       I

19 think you said -- testified five-and-a-half or six

20 keys?

21 A.       Correct.

22 Q.       Okay.   And a key,     I think we can agree, is about

23 2.2 pounds approximately; is that right?

24 A.       I don't know the math but, yes.

25 Q.       Okay.   So you get five-and-a-half or six of




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1 those and you put those inside -- back inside the spare

2 tire?

3 A.       Correct.

4 Q.       And brought them back to        Maryland?

5 A.       Correct.

6 Q.       I think you were telling us that on the way back

7 Mr. Irby was driving and he was pulled over for

8 speeding but the police never found the drugs because

9 they were inside the spare tire; is that right, sir?

10 A.      Correct.

11 Q.      And when you got back to        Maryland,    I think you

12 said at some point that the tire was cut open in order

13 to get the five-and-a-half to six keys out; is that

14 right, sir?

15 A.      Correct.

16 Q.      And Mr. Goodwin, or whoever it was, then had to

17 go buy a new tire; is that right, sir?

18 A.      Correct.

19 Q.      Let me ask you this.      You said that after you

20 picked up the dope in      Houston, the five-and-a-half to

21 six kilograms, that, as       I understood it, you were

22 putting them -- the dope inside the tire, but you had

23 to take the tire to Sears to get it remounted; is that

24 right, sir?

25 A.      To get air put into it.




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 1 Q.       To get air put into it?

 2 A.       Yes.

 3 Q.       Okay.   And did you say anything to the --            I

 4 thought you said to be remounted.

 5 A.       No, to get air put into it.

 6 Q.       Okay.   And did you say anything, or did the

 7 person who remounted it -- who put air into it say

 8 anything to you about, there's something inside this

 9 tire that doesn't feel right because it's, you know,

10 five-and-a-half or six times, .2 pounds?

11 A.       Well, actually,      I wasn't the one that talked to

12 the guy that put air in it, so          I don't know what he

13 said.

14 Q.       Okay.   All right, sir.

15          In any event, you also talked about the -- about

16 Lobo's; is that right, sir?

17 A.       Correct.

18 Q.       And Lobo's did do some legitimate business; is

19 that correct, sir?

20 A.       Yes, of some sort.

21 Q.       They had mechanics on the -- on duty there; is

22 that right, sir?

23 A.       Yes.

24 Q.       And if people had a problem with their car, they

25 could bring it in and have it repaired; is that




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1 correct, sir?

2 A.          Correct.

3 Q.          So it wasn't only dopers who hung out there as

4 you testified; is that right, sir?

5 A.          Correct.

6 Q.          Now, you testified that Katherine        Demara , your

7 girlfriend, went down to        Texas with you on one or more

8 of these -- shall we call them buying trips; is that

9 correct, sir?

10 A.         Correct.

11 Q.         And are you telling us -- did you tell us, or

12 did you mean to imply that Katherine          Demara had no idea

13 what she was doing?

14 A.         Correct.

15 Q.         That she didn't know that this was a dope run?

16 A.         Correct.

17 Q.         Okay.   And she has not been charged in

18 connection with those dope runs; is that correct, sir?

19 A.         Correct.

20 Q.         Did you, when you talked to the government,

21 bring up the issue of whether or not she would be

22 charged?

23 A.         No.

24 Q.         Did you expect that she would be charged?

25 A.         I didn't know what to expect.




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 1 Q.         Huh?

 2 A.         I didn't know what to expect.

 3 Q.         Did you discuss that with your attorney, Andy

 4 White, a former Assistant        United   States Attorney

 5 himself, the fact you didn't want Katherine to get

 6 busted too?

 7 A.         No.

 8 Q.         Is it part of the deal, or is it part of your

 9 deal, according to your understanding of the deal --

10 whether it's in writing or not, is it your

11 understanding that if you do what the government thinks

12 is the   "right t hing" that she won't, in fact, be

13 charged?

14 A.         That wasn't discussed or in the deal.

15 Q.         That's certainly your expectation; is that

16 correct, sir?

17 A.         I hope so.

18 Q.         You hope so.

19            And you did tell the government that she went

20 down there with you on several trips.

21 A.         Correct.

22 Q.         What did you tell the government about          Lavon

23 Dobie?

24 A.         Excuse me?

25 Q.         What did you tell the government about          Lavon




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 1 Dobie, also known as "          Becky"   Dobie?

 2 A.         I don't know who you're talking about.

 3 Q.         You never heard the name         Lavon Dobie or " Becky"

 4 Dobie before?

 5 A.         No.

 6 Q.         No?

 7            Let me ask the lady on the end to stand there.

 8                           (Ms. Dobie stands.)

 9            BY MR. WARD:

10 Q.         Take a look at that lady.            (Defendant Dobie

11 stands.)     You ever see her before?

12 A.         No.

13            MR. WARD:      Let the record reflect that        I asked

14 Lavon Dobie to stand.

15            I don't think I have any further questions.

16 Thank you,       Mr. Thurman.

17            THE COURT:      Any additional       cross-examination   ?

18            MR. SUSSMAN :     No .   I have nothing .

19                                 CROSS-EXAMINATION

20            BY MR. MCKNETT :

21 Q.         If I may,    Your Honor.

22            Good afternoon,       Mr. Thurman.

23 A.         Good afternoon.

24 Q.         Mr. Thurman,     I want to ask you some questions

25 about your early involvement with drugs.




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1             You started using drugs when you were 16;

2 correct?

3 A.          Yeah.   Around that time.

4 Q.          And you're 31 now; right?

5 A.          Correct.

6 Q.          So that would be around 1991?

7 A.          Yes.

8 Q.          When did you stop using drugs?

9 A.          '04.

10 Q.         When in '04?

11 A.         I'm not sure of the date, but       I stopped on and

12 off when    I was locked up the first time.      So, on and

13 off.   It wasn't just straight until '04.

14 Q.         So you stopped when you were in jail?

15 A.         And when    I was on the street, too, on and off.

16 Q.         You just stopped using drugs completely --

17 A.         Yes.

18 Q.         -- sometime in '04.

19 A.         That's the last time, yes.

20 Q.         Excuse me?

21 A.         That's the last time, yes.

22 Q.         But you don't recall when in '04?

23 A.         Not the exact month and time, no.

24 Q.         You don't know if it was January or        December.

25 A.         Mid-year.




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1 Q.       Mid-year?

2 A.       Yeah.

3 Q.       Summertime?

4 A.       Yeah, around the summer.

5 Q.       When you started using drugs, you were using

6 cocaine powder; is that correct?

7 A.       No.    When   I started using drugs,       I was using

8 marijuana.

9 Q.       Okay.   After you started using marijuana, did

10 you start using cocaine powder?

11 A.      Yes, sometime later.

12 Q.      When was that?

13 A.      A year or so later.

14 Q.      Around '92?    '93?

15 A.      Yes.

16 Q.      How much were you buying when you first started

17 using cocaine powder?     How much were you buying at a

18 time?

19 A.      $30-40 worth.

20 Q.      What was that in a quantity?

21 A.      I don't know.

22 Q.      Weight?

23 A.      I don't know the weight -- exact weight.         It was

24 like just, like, a $30-40 bag.

25 Q.      How many times were you buying those $30 or $40




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1 bags?

2 A.       Maybe once every weekend.

3 Q.       So you were just using it on weekends?

4 A.       Yes.

5 Q.       Did you start using crack cocaine?

6 A.       No.

7 Q.       Never?

8 A.       No.

9 Q.       Never used crack cocaine?

10 A.      No.

11 Q.      Were you buying the powder cocaine from this

12 gentleman named "    Tony" of   P. G. County for your own

13 personal use?

14 A.      Yes.

15 Q.      When you were buying it, you found if you bought

16 a little more that you'd get a better price; correct?

17 A.      Not really.

18 Q.      Not really?

19 A.      No.

20 Q.      Didn't you say earlier on         Thursday that there

21 came a time when you realized that if you had more

22 money available you could buy more and get a better

23 deal?

24 A.      That was for weight, not for small amounts.

25 Q.      What do you consider "weight?"




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 1 A.       Keys.

 2 Q.       When you first started buying from           Tony of   P. G.

 3 County, were you buying keys?

 4 A.       No.

 5 Q.       What were you buying?

 6 A.       We were buying maybe 16 -- basically, we were

 7 just chilling and getting high together.

 8 Q.       Well, you started buying to sell; right?

 9 A.       Afterwards, yes.

10 Q.       And you were still buying from          Tony; right?

11 A.       Yes.

12 Q.       How much were you buying from          Tony when you

13 started to resell crack -- powder cocaine, excuse me?

14 A.       An 8-ball.

15 Q.       An 8-?

16 A.       Yes.

17 Q.       You were buying one 8-ball to use; correct?

18 A.       To use and sell.

19 Q.       Maybe I'm confusing you and myself with my

20 question.    Let me rephrase it.

21          When you bought an 8-ball from          Tony -- strike

22 that.

23          Did you start buying 8-balls from           Tony for your

24 own personal use first?

25 A.       No.




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1 Q.         An 8-ball would be roughly 3 ounces -- 3 grams;

2 correct?

3 A.         Give or take, yes.

4 Q.         When did you start buying 8-balls from            Tony?

5 A.         I don't remember the exact date or time.

6 Q.         Do you remember what decade it was?

7 A.         Probably '01.

8 Q.         So you never sold drugs until '01.

9 A.         Well, maybe a bag of weed or something.

10 Q.        Before '01.

11 A.        Yes.

12 Q.        And you started selling powder cocaine in '01.

13 A.        Correct.

14 Q.        Do you remember what month in '01?

15 A.        No.

16 Q.        Again, was it      January?

17 A.        Towards the end of the year.

18 Q.        End of the year.       December of 01?

19 A.        No.     I'm saying the end of the year.    From

20 October to       December.

21 Q.        October to     December?

22 A.        Yeah.    Anywhere in that time frame.

23 Q.        The first time you bought cocaine from            Tony to

24 sell, how much did you buy?

25 A.        An 8-ball.




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1 Q.          And you used some of that 8-ball?

2 A.          Yes.

3 Q.          And you sold some of the 8-ball?

4 A.          Yes.

5 Q.          The part that you sold.    Strike that.

6             How much did you pay      Tony for an 8-ball?

7 A.          I'm not sure of the exact price.     Anywhere from

8 $125 to $150.

9 Q.          When you stop buying eight balls from         Tony?

10 A.         A couple weeks after      I started buying from him.

11 Q.         You only bought 8-balls from      Tony for a couple

12 of weeks?

13 A.         Yeah.   Maybe two to three weeks.

14 Q.         The portion of the 8-ball that you didn't use

15 yourself, how did you repackage it?

16 A.         In bags.

17 Q.         What size bags?

18 A.         I don't know the size.

19 Q.         Well, how much of the 8-ball did you use?

20 A.         Maybe a gram.

21 Q.         So you would have about 2 grams left; correct?

22 A.         Yes.

23 Q.         And then you would repackage that into bags;

24 correct?

25 A.         Correct.




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1 Q.       How many bags would you repackage that 2 grams

2 into?

3 A.       Ten or more.

4 Q.       How much would you sell each of those bags for?

5 A.       $10 or more.

6 Q.       $10 bags?

7 A.       Or more.

8 Q.       How much more?

9 A.       Give or take.     Depends on the person where he

10 is.

11 Q.      I'm sorry,     I couldn't understand the last part.

12 Give or take?

13 A.      Give or take the person and where are you.

14 Q.      So it was whatever you could convince somebody

15 to pay you for it?

16 A.      Correct.

17 Q.      $20?

18 A.      I mean, $10 or $20.

19 Q.      So if you had 2 grams, give or take, and you

20 divided that into 10 bags, each bag would have about

21 2/10 of a gram; correct?

22 A.      I'm not sure on the math, but yes.

23 Q.      It sounds about right, doesn't it?

24 A.      I'm going by you doing the math.

25 Q.      Divide two by ten.




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 1 A.       That's what I'm saying.         I'm agreeing.

 2 Q.       Who did you sell to?        I don't mean the names,

 3 but who did you sell to?

 4 A.       Different people      I came in contact with.

 5 Q.       How did they know you were selling cocaine?

 6 A.       People you hung around or party with or

 7 anything, you know, you come in contact with.

 8 Q.       People on the street people, at parties; people

 9 at clubs?

10 A.       People you hang out with in your neighborhood,

11 at the club.     You know, there's many places.

12 Q.       So you would just put the word out?

13 A.       Around people that I know.       If you got high,

14 they got high.

15 Q.       Did you have a constant supply of cocaine?

16 A.       No.

17 Q.       How did people know when you had cocaine?

18 A.       When they seen me.

19 Q.       Let's talk about when you're buying from             Tony.

20          You bought from      Tony for two to three weeks you

21 said.

22 A.       Correct.

23 Q.       How many times did you buy from          Tony?

24 A.       Anywhere from one to three.

25 Q.       I'm sorry?




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 1 A.       Anywhere from one to three times.

 2 Q.       One to three times?

 3 A.       Yes.

 4 Q.       Over a two- to three-week period?

 5 A.       Correct.

 6 Q.       When you were selling those little baggies, it

 7 didn't take long to sell out, did it?

 8 A.       Sometimes.

 9 Q.       Take a couple of days at most; right?

10 A.       Sometimes.

11 Q.       Did it ever take more than a couple of days?

12 A.       Yes.

13 Q.       How much longer than a couple of days would it

14 take you to sell $10 to $20 doses of cocaine?

15 A.       A few days.

16 Q.       A few days.

17          So if you bought from       Tony for two to three

18 weeks, and you bought from him one to three times, and

19 it took three days on average to sell all those drugs,

20 that means more than half of the time you were selling

21 -- more than half the time you were buying drugs from

22 Tony you didn't have any drugs; right?

23 A.       Well, half the times       I was in the house.        I

24 didn't come around or move around because             I didn't have

25 a vehicle.




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 1 Q.        You needed a vehicle to sell drugs?

 2 A.        I needed to move around to go get them.

 3 Q.        When you were selling them, you didn't need a

 4 vehicle did you?

 5 A.        I walked around.

 6 Q.        You sold them out of your pocket -- out of a

 7 stash somewhere?

 8 A.        I still have to move around.

 9 Q.        I'm sorry?

10 A.        I still have to move around.

11 Q.        When you were selling, did you go to your

12 customers?

13 A.        Somewhat, because we meet up in these spots

14 where everybody be at in a club, parties, different

15 places.

16 Q.        Excuse me.     I didn't mean to interrupt.

17           You would go a place where you thought you'd

18 find customers; right?

19 A.        Correct.

20 Q.        Then they'd come to you; right?

21 A.        Correct.

22 Q.        I want to come back to the numbers again.             I

23 apologize if     I'm confusing you a little bit;          I'm

24 confusing myself a little by sometimes.

25           You bought from Tony one to three times.




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1 A.        Correct.

2 Q.        You bought from     Tony for about three weeks.

3 A.        Correct.

4 Q.        So you bought from      Tony, at the most, on

5 average, once a week.

6 A.        Correct.

7 Q.        You would use part of it, right?

8 A.        Yes.

9 Q.        You would sell part of it; right?

10 A.       Correct.

11 Q.       It would take you three days, on average, to

12 sell out the part you didn't use yourself; right?

13 A.       Correct.

14 Q.       There's seven days in a week; right?

15 A.       Correct.

16 Q.       So more than half of the time you were selling

17 drugs that you bought from        Tony, you didn't have any

18 drugs.

19 A.       Correct.

20 Q.       Then you would go to a place when you did have

21 drugs, where you knew there would be customers; right?

22 A.       Correct.

23 Q.       The customers would come to you.

24 A.       We would see each other, yes.      Correct.

25 Q.       Your customers weren't reselling, were they?




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 1 A.       No.

 2 Q.       They were using; right?

 3 A.       Correct.

 4 Q.       Because the quantities they were buying from you

 5 was too small for resell; right?

 6 A.       Correct.

 7 Q.       Mr. Thurman,     I want to change the topic just a

 8 little bit.     You talked -- you testified last week

 9 about being present when powder was cooked into crack.

10          Do you remember that?

11 A.       Yes.

12 Q.       It's a simple process; isn't it?

13 A.       Of some sort.

14 Q.       Excuse me?

15 A.       Of some sort.

16 Q.       You're familiar with the process; right?

17 A.       Yes.     I've seen it done.

18 Q.       And you could do it yourself if you wanted to,

19 couldn't you?

20 A.       Possibly.

21 Q.       Did you ever do it yourself?

22 A.       No.

23 Q.       You watched people do it?

24 A.       Right.

25 Q.       It's fairly simple; right?




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1 A.       Yes.

2 Q.       It calls for powder cocaine; right?

3 A.       Yes.

4 Q.       And baking powder; right?

5 A.       Yes.

6 Q.       And a liquid of some sort; correct?

7 A.       Correct.

8 Q.       What liquid?

9 A.       Water.     Alcohol.   Depends who's cooking it.

10 Q.      Then you put it in containers; right?         A Pyrex

11 jar or something like that; right?

12 A.      Correct.

13 Q.      You heat it up; right?

14 A.      Correct.     And what happen -- does it crack?

15 Like, drop out of the liquid into the bottom of the

16 container?

17 A.      No, no, no, no.

18 Q.      How does the crack form?

19 A.      From cooking it.

20 Q.      You just cook away all the liquid?

21 A.      It forms of some sort.

22 Q.      But when you're finished cooking it, there's no

23 liquid left; correct?

24 A.      Yeah.    It's liquid and then drugs.

25 Q.      And the crack is a little -- they call it a




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1 rock; right?

2 A.       Yes.

3 Q.       Because it looks kind of like a little rock;

4 right?

5 A.       Yes.   Correct.

6 Q.       It's a fairly simple process; right?

7 A.       Correct.

8 Q.       It doesn't take all much time, does it?

9 A.       No.

10 Q.      It doesn't take a whole lot of equipment, does

11 it?

12 A.      No.

13 Q.      And crack is consumed by smoking; correct?

14 A.      That's one way.

15 Q.      It's the most common way, isn't it?

16 A.      Correct.

17 Q.      Have you ever seen crack smoked?

18 A.      Who, me?     Yes.

19 Q.      It's a fairly simple process, too, isn't it?

20 A.      I would figure so.

21 Q.      Excuse me?

22 A.      I would figure so.

23 Q.      I'm sorry,     Mr. Thurman,    I couldn't understand

24 you.

25 A.      Yes.




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 1 Q.       It takes a crack pipe; correct?

 2 A.       That's one of the items, yes.

 3 Q.       Can you describe a crack pipe for us?

 4 A.       Like a pipe.     It's different tubes.     Different

 5 people --    I'm not a crack smoker.

 6 Q.       You've seen it smoked; right?

 7          You take a piece of the rock and you put it in

 8 the pipe; right?

 9 A.       I never watched the whole process.            I seen

10 somebody smoke, but       I didn't sit there just taking heed

11 to everything they were doing.

12 Q.       I'm not asking for you to give a seminar.              I

13 want to follow the process.

14          People have a pipe; right?

15 A.       Correct.

16 Q.       They put the crack in the pipe; right?

17 A.       Correct.

18 Q.       They put a match or some flame under the pipe;

19 right?

20 A.       Correct.

21 Q.       And the crack dissipates and evaporates, and

22 they inhale the fumes.

23 A.       Correct.

24 Q.       That's not a very difficult thing to do, is it?

25 A.       Not to my knowledge.




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1 Q.       Mr. Thurman, just one more short area, if               I may.

2          I want to follow up on a question that            Mr.

3 Montemarano     asked you.   How much -- you've testified to

4 all your activities involved in drug trafficking.

5          How much total quantity did you actually move?

6 A.       I'm not sure of the total numbers.

7 Q.       Can you estimate?     25 kilograms?

8 A.       25 or more.

9 Q.       30?

10 A.      25 or more.

11 Q.      30?    Would that be too much?

12 A.      No.

13 Q.      35?

14 A.      Could be.

15 Q.      Could it be 40?

16 A.      35 or more.

17 Q.      Well, could it be 40?

18 A.      I'm not sure of the exact numbers.

19 Q.      35 or more?    Maybe 40?    Maybe more?

20 A.      Yes.

21 Q.      Your sentence is controlled in large part by the

22 amount of drugs you're responsible for; right?

23 A.      Yes.

24 Q.      And the more drugs you're responsible for, the

25 longer your potential sentence; correct?




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1 A.          Yes.   To my knowledge, yes.

2 Q.          So if you took responsibility in your plea

3 agreement for 40 or more kilograms, you'd have a fairly

4 lengthy sentence, wouldn't you?

5 A.          I'm not sure.

6 Q.          Well, it would be a lot longer than a potential

7 sentence for taking responsibility for 15 kilograms,

8 wouldn't i t?

9 A.          I'm not sure.    I never looked at the guidelines.

10 Q.         Excuse me?

11 A.         I never looked at the guidelines, so         I'm not

12 sure which one makes it higher or lower.

13 Q.         You never looked at the guidelines?

14 A.         Not to see if it makes a 40 or difference from

15 five to 40.

16 Q.         You entered go into a plea agreement; right?

17 A.         Yes.

18 Q.         It requires you, without the assistance of the

19 government, to serve a sentence of at least 10 years;

20 correct?

21 A.         Correct.

22 Q.         And you had an attorney for that; right?

23 A.         Correct.

24 Q.         And you're telling us that you and your lawyer

25 never discussed the sentencing guidelines?




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 1 A.         We discussed it for that amount, not for the

 2 amount you're saying.      You're saying how would          I know

 3 the difference of 40 or five what           I'm being charged

 4 with.

 5 Q.         So you knew that you were responsible for 40 or

 6 more kilograms; right?

 7 A.         Yes.

 8 Q.         But you and your lawyer managed to reach an

 9 agreement with the government for you to take

10 responsibility for only 15 kilograms; correct?

11 A.         Yes.

12 Q.         Yes?

13 A.         Yes.

14 Q.         15 is a whole lot less than 40, isn't it?

15 A.         Yes.

16 Q.         Thank you,    Mr. Thurman.

17            MR. MARTIN:     Your Honor, may    I approach briefly

18 just to make a record?         I don't want to make an

19 argument in front of the jury.

20            THE COURT:    All right

21                    (At the bar of the Court.)

22            MR. MARTIN:     I didn't want to object during         Mr.

23 McKnett's    cross-examination but, on behalf of           Mr.

24 Goodwin,    I feel compelled to, because the quantity is

25 going to be something that the jury has to consider.




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 1 If the jury finds that        Michael   Thurman was involved in

 2 this organization with        Learley   Goodwin, then it has a

 3 spillover effect here, and the quantity, obviously, is

 4 going to be something that is attributed to             Mr.

 5 Goodwin.     So,   I wanted to note for the record that          I

 6 objected to that line of questioning.        There it is.

 7            I didn't want to do it during his

 8 cross-examination.

 9            MS. JOHNSTON:     Your Honor, quite frankly, what

10 the jury is going to be asked to find is whether or not

11 there was 5 kilograms or more.           Mr. Thurman has

12 repeatedly testified there has been 5 kilograms on each

13 one of these trips.

14            THE COURT:    I think your objection is too late.

15 I'm going to overrule it in any event, but you can make

16 a record.    You've made a record.

17                         (Back in open court.)

18            THE COURT:   Is there any further

19 cross-examination?

20            All right, you may proceed.

21                         REDIRECT EXAMINATION

22            BY MS. JOHNSTON:

23 Q.         Just a few questions.

24            Mr. Thurman, the 8-balls that you got.       How much

25 money did you make by selling some of the 8-ball and




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1 using some of it, generally speaking?

2 A.       Anywhere from maybe $100-175.

3 Q.       Above and beyond what you paid for it.

4 A.       Yes.

5 Q.       That allows you still to keep some to smoke

6 yourself?

7 A.       Yes.

8 Q.       Or to consume yourself,        I mean.

9 A.       Yes.

10 Q.      In addition to that, the people that you sold it

11 to, where would you meet those people?

12 A.      Associates' house, clubs, and different -- just

13 hangouts.

14 Q.      These were -- you said "hangouts?"

15 A.      Yes.

16 Q.      And these -- were some of these people people

17 that you knew?

18 A.      Yes.     Or associate with.

19 Q.      Socialized with?

20 A.      Yes.

21 Q.      Hung out at the clubs with?

22 A.      Yes.

23 Q.      Were you able to do that on a regular basis with

24 these 8-balls that you received from either            Tony or

25 other people?




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 1 A.       Yes, the majority of the time.

 2 Q.       In terms of     Tony.   Once you purchased some

 3 8-balls from     Tony, what did you and       Tony do from that

 4 point forward?

 5 A.       I don't understand the question.

 6 Q.       Well, you -- in response to         Mr. McKnett's

 7 questions, you said that you had purchased some 8-balls

 8 from Tony; is that correct?

 9 A.       Yes.

10 Q.       Did there come a time when         Tony introduced you

11 to someone else whom you started getting the drugs

12 from?

13 A.       Yes.

14 Q.       Who was that?

15 A.       Mr. Goodwin.

16 Q.       Counsel also asked -- one of defense counsel

17 asked you about      Ms. Demara .

18          When you first met with Detective           Eveler in your

19 mother's home, did you tell them that            Ms. Demara was on

20 trips?

21 A.       Yes.

22 Q.       Did you provide information about where she

23 could be located?

24 A.       Yes.

25 Q.       Did you make any effort to hide her identity?




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1 A.          No.

2 Q.          In addition to that, did you disclose         Steve

3 Campbell and        Steve Ross?

4 A.          Yes.

5 Q.          In terms of the trips involving -- there was

6 some question about the trips involving            Mr. Campbell.

7             You indicated there were two deals that had

8 problems; is that correct?

9 A.          Correct.

10 Q.         Okay.   What was the first deal that had

11 problems?

12 A.         The drugs that got lost in the mail.

13 Q.         Was that before or after you started driving

14 back and forth?

15 A.         That was before.

16 Q.         And the second deal with      Mr. Campbell that had a

17 problem.     What was the nature of that problem?

18 A.         The quality.

19 Q.         Is that the problem that you were trying to

20 address when you were stopped in         Texas in the

21 Conversion van?

22 A.         Yes.

23 Q.         Who provided the guns you took with you then?

24 A.         Mr. Goodwin.

25 Q.         In addition to     Stephen Campbell and those two




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 1 problems, was there problems with another source of

 2 supply in    Texas?

 3 A.       In El Paso.

 4 Q.       Who was that source of supply?

 5 A.       Kelly.

 6 Q.       Had you made any trips for         Mr. Goodwin taking

 7 drugs from Kelly to       Maryland?

 8 A.       No.

 9 Q.       What was your involvement?

10 A.       To return the drugs.

11 Q.       Had you had any knowledge or contact with             Mr.

12 Kelly before      Mr. Goodwin sent you down there to return

13 the drugs?

14 A.       I had knowledge of him.

15 Q.       From whom?

16 A.       Mr. Goodwin.

17 Q.       Had you known him -- did you know him yourself

18 before   Mr. Goodwin mentioned Kelly to you?

19 A.       No.

20 Q.       In addition to that, were you ware of other

21 sources of supply that       Mr.   Goodwin had?

22 A.       Can you rephrase the question?

23 Q.       Let me rephrase the question.

24          You also discussed going to         Louisiana with     Mr.

25 John D. or John Irby .       Do you recall those discussions?




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1 A.        Correct.

2 Q.        Who sent you with     Mr. Irby to go to Louisiana to

3 pick up drugs?

4 A.        Mr. Goodwin.

5 Q.        Did you know who the source was in          Louisiana for

6 those drugs?

7 A.        No.

8 Q.        Similarly, in 2004, during the time with the bad

9 drugs in El Paso and the earlier trip to             Texas, did you

10 have any conversations with         Mr.   Goodwin about an

11 individual named "    Cuba?"

12 A.       Yes.

13 Q.       Okay.   Who was    Cuba?

14 A.       Another player.

15 Q.       Is he, in fact, the voice you recognized in some

16 of the calls     Friday?

17 A.       Yes.

18 Q.       Had you known -- had you had any contact or

19 knowledge of     Cuba before   Mr. Goodwin told you about

20 him?

21 A.       No.

22 Q.       There was a discussion during cross-examination

23 about Raynard     Dorsey, and in response to one of,           I

24 think,   Mr. Martin's questions, you said that           Mr.

25 Goodwin had said     Raynard   Dorsey set them up.




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1          What did you mean by that phrase?

2          What did you understand        Mr. Goodwin to be

3 telling you when he said        Dorsey had set him up?

4 A.       That the police know about the deal going down.

5 Q.       There was also questions about someone named

6 Ricardo Willis      or "Little Rick?"

7 A.       Yes.

8 Q.       Who is Little Rick?

9 A.       He lived in an apartment in         Anacostia    building.

10 Q.      In the apartment that you identified from the

11 pictures last     Friday, or a different apartment?

12 A.      At "Ponderosa."

13 Q.      In the same apartment that you identified?

14 A.      Yes.

15 Q.      How did you meet Little Rick?

16 A.      Through    Mr. Goodwin.

17 Q.      What was -- how did       Mr. Willis or Little       Rick

18 make his living?

19 A.      Working for     Mr. Goodwin.

20 Q.      Do you know what he did for         Mr. Goodwin?

21 A.      Worked down at the shop, and drugs.

22 Q.      Now, you mentioned the Lobo's, and you had an

23 identification saying you were a salesman at Lobo's.

24 Do you recall that?

25 A.      Yes.




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1 Q.       You actually do work at Lobo's?

2 A.       Me, personally?     No.

3 Q.       Why did you have a salesman's card from Lobo's?

4 A.       To get the dealer's tag.

5 Q.       Excuse me?

6 A.       To be able to use the dealer's plate.

7 Q.       Who gave you the dealer plates to use?

8 A.       Mr. Goodwin.

9 Q.       While you -- how often did you go to Lobo's?

10 A.      Sometimes every day and sometimes, you know,

11 once a month.

12 Q.      Ever see any drugs at Lobo's?

13 A.      Yes.

14 Q.      Who did you see with drugs at Lobo's?

15 A.      Mr. Goodwin.

16 Q.      Anyone else?

17 A.      Myself.

18 Q.      Any other people that you recall?

19 A.      Ms. Vessels.     Rick.

20 Q.      Little Rick we just talked about?

21 A.      Yes.

22 Q.      Anybody else?

23 A.      And Mr. Irby.

24 Q.      Excuse me?

25 A.      Mr. Irby.




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1 Q.       And the drugs that you had.       Was that powder

2 cocaine, or crack, or both?

3 A.       Both.

4 Q.       And the drugs you saw       Mr. Goodwin with?

5 A.       Both.

6 Q.       And there was some discussion about the

7 toolboxes at      Larry Lane's house.     Do you recall those

8 questions?

9 A.       Yes.

10 Q.      Who unlocked the toolboxes at          Larry Lane's house

11 while you were there?

12 A.      Mr. Goodwin.

13 Q.      What was inside those toolboxes that            Mr. Goodwin

14 unlocked at     Larry Lane's house?

15 A.      Drugs.

16 Q.      What kind of drugs?

17 A.      Crack and powder.

18 Q.      Would crack cocaine -- did you also sell that

19 from time-to-time?

20 A.      Yes.

21 Q.      Was that before or after you met           Mr. Goodwin?

22 A.      After.

23 Q.      What quantity of crack did you get from             Mr.

24 Goodwin that you sold?

25 A.      Various amounts from small to big.




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1 Q.       Can you give us an idea of the small amount?

2 A.       From 8-ball to a ounce.

3 Q.       Those would generally be the quantities you

4 would get from      Mr. Goodwin?

5 A.       Correct.

6 Q.       Now, with the 8-ball of crack that you got, what

7 did you do with that?

8 A.       Resell it.

9 Q.       How would you resell an 8-ball of crack?

10 A.      The same way.       I got it for a low price and sell

11 it for a high price.

12 Q.      Would you break it down before you sold it?

13 A.      No.

14 Q.      You would sell the whole thing as one piece?

15 A.      Yes.

16 Q.      Who would you sell it to?

17 A.      Different clientele that came around to the shop

18 or over to the building.

19 Q.      Did you sell that differently than the way you

20 sold the powder?

21 A.      At the time it was the same.

22 Q.      The same way?

23 A.      Yes.

24 Q.      Did you also go to clubs and sell the crack?

25 A.      No.




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 1 Q.        Just the powder at the clubs?

 2 A.        Right.   That was at the beginning.

 3 Q.        Court's indulgence.

 4           When you say, "at the shop," in terms of dealing

 5 the crack, what "shop" was that?

 6 A.        Lobo's Discount.

 7 Q.        Again, where did you get the drugs to sell at

 8 Lobo's?

 9 A.        From Mr. Goodwin.

10 Q.        When you first went to -- strike that.

11           When you first started getting kilos from            Mr.

12 Campbell, were they always paid for in advance?

13 A.        Yes.

14 Q.        And you mentioned the quantity of $90,000.

15 A.        Yes.

16 Q.        Did you have that kind of cash?

17 A.        No, ma'am.

18 Q.        Who provided the cash?

19 A.        Mr. Goodwin.

20 Q.        Prior to the meeting between        Mr. Goodwin and        Mr.

21 Campbell in      Texas, had you ever had $90,000, or even

22 $20,000 of your own money to go out and buy a kilo or 5

23 kilos of cocaine?

24 A.        No, ma'am.

25 Q.        Court's indulgence.




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 1          I have nothing further.

 2          THE COURT:      Any recross?

 3          MR. MONTEMARANO :          None on behalf of      Ms. Martin,

 4 Your Honor.

 5          MR. MARTIN:      None from      Mr. Goodwin.

 6          MR. HALL:      No,     Your Honor.

 7          MR. MITCHELL:        No,    Your Honor.

 8          MR. WARD:      No.     Thank you, sir.

 9          THE COURT:      All right.     Ladies and gentlemen,

10 we'll take a luncheon recess at this time.              Please

11 return at five minutes after two.

12                         (Jury excused at 12         :55 p.m.)

13                         (Off the record at 12:55 p.m.)

14                         (On the record        at 2:09 p.m.)

15          THE COURT:      Please      be seat ed .     Counsel , while

16 you were having      a nice , luxurious       lunch hour , I was

17 do ing a temporary      re strain ing order hear ing , so I had a

18 re strain ed lunch hour .

19          Ready for the jury ?

20          MS. GREENBERG:          Mr. Montemarano       is not here .

21          THE COURT:      Oh ?

22          MR. HALL:      He left his jacket           downstairs .

23          THE COURT:      There 's a jacket          wait ing on him on

24 the second    floor .    There he is now .

25          They said you left without            your jacket .




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 1           MR. MONTEMARANO :     No .     I was in the lavatory .

 2           THE COURT:     Mr. Montemarano , I had a love ly

 3 lunch hou r handl ing a temporary          re strain ing order .

 4           I also want you to know that I            have a sentenci ng

 5 that 's scheduled      for 4:00, but I've told it to trail

 6 this case .    So , when adjourn       for the day , clear out ,

 7 because   I have   to do a sentenci ng .       Don't dally ,

 8 because   I have to go right into a sentenci ng .

 9           All right .    Anything      further ?    We'll call the

10 next witness .

11           MR. MONTEMARANO :     One very brief matter , Your

12 Honor .   The defense     spoke concern ing the ten

13 outstanding    jury instruction s that were not resolve d

14 one way or the other , and I will get a letter                to Mr.

15 Krinsky   in the next day or two let ting him know which

16 one s we agree to and which ones we don't .              It broke

17 about half and half .

18           THE COURT:     I'm going through         what the

19 government    gave me , which includes        both object ed to and

20 un- object ed to instruction s, and I'm going to start

21 do ing my own re pair s to it and make some preliminary

22 judgment s, and perhaps      in a week or ten day s from now I

23 will give everybody       a mark ed up version       of where I

24 think I am so we can start reflect ing on it .

25           MR. MONTEMARANO :     I know I'm speak ing for the




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 1 defense    in suggest ing to the court that with regard                 to

 2 the ones we are object ing to , the defense             would like to

 3 be heard on the record .

 4            THE COURT:   I will     have a charge       conference      and

 5 we will    he go through      them one page at a time .

 6            All right , ready for the jury ?           Bring them in .

 7            MS. GREENBERG:       Your Honor , to save time , may

 8 the witness     approach     the witness    stand ?

 9            THE COURT:      I could n't hear you .

10            MS. GREENBERG:       May the witness       approach   the

11 witness    stand while the jury is comi ng in ?

12            THE COURT:      Oh , yes .

13                         (Jury returns      at 2:13 p.m. )

14            THE COURT:      You may proceed , Ms. G reen berg .

15            MS. GREENBERG:       Your Honor , the government         call s

16 Special    Agent Kevin Ashby to the witness            stand .

17            MR. WARD:    Who is the      witness ?

18            MS. GREENBERG:       Kevin Ashby .

19 Thereupon,

20                               KEVIN ASHBY ,

21 having been called as a witness on behalf of the

22 Plaintiff , and having been first duly sworn by the

23 Courtroom Deputy, was examined and testified as

24 follows:

25            THE CLERK:      I need you to    state your name       for




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 1 the record .

 2          THE WITNESS:      My name is Kevin Ashby .

 3          My last name is spell ed A S H B Y.

 4                              DIRECT EXAMINATION

 5          BY MS. GREENBERG:

 6 Q.       Sir , where are you employ ed ?

 7 A.       I'm employ ed with     the FBI in Washington , D. C.

 8 out of the Washington        field office .

 9 Q.       What is your position         with the Federal      Bureau of

10 Investigation ?

11 A.       I'm a special     agent .

12 Q.       Could you give this jury some idea about your

13 background , train ing and experience , please ?

14 A.       I've been an agent for approximately            17 and a

15 half year s.     My entire    career   has been work ing criminal

16 work -- bank robberi es , fugitive s, and primarily

17 narcotic s and narcotic s-related        offense s.    I'm

18 current ly as sign ed on a Safe Street s Task Force which

19 investigate s violent      street    gang s or organization s,

20 crew s, operati ng in Washington , D. C. , p rimarily

21 narcotic s-related     offense s. and the attendant          violence

22 that goes along with that .

23 Q.       Was that your employ ment on October          17 , 2002 ?

24 A.       Yes , it was .

25 Q.       During the course      of your employ ment as a




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 1 special     agent with the Federal         Bureau of Investigation

 2 do ing narcotic s work , have you executed           search

 3 warrant s?

 4 A.         Yes .

 5 Q.         Numerous   search    warrant s?

 6 A.         Hundred s of search     warrant s.

 7 Q.         Did you conduct      a search     at a place known as

 8 Lobo's     Dis count Car Center , 1124 Florida        Avenue ,

 9 Northeast, in Washington,          D. C. ?

10 A.         Yes , I did .

11 Q.         Could you give      the jury some idea about what

12 time you start ed on that date ?

13 A.         We actual ly made entry , or conduct ed a knock and

14 announce     and made entry , right around        12 :30 -- right

15 around     lunchtime .

16 Q.         What time did you complete          your search    of that

17 location ?

18 A.         A little   before 3:00 p.m.

19 Q.         Did you have any particular          authority    for

20 conduct ing a search       warrant   at Lobo's    Dis count C ar

21 Center ?

22 A.         Yes .   We had a search    warrant     from Superior

23 Court for that location .

24 Q.         When you say "S uperior      Court ," could you tell

25 the jury who 's the person         that authorize d the search          of




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 1 that location ?

 2 A.         A S uperior    Court judge in the District of

 3 Columbia .     You also have district        court in there , but

 4 this one was through        Superior   Court .

 5 Q.         So you had court authority        to execute   the search

 6 warrant ?

 7 A.         That 's correct .

 8 Q.         Could you de scribe    -- let me show you up on the

 9 screen     P-90 A.    Could you de scribe    what 's depict ed in

10 P- 90 A?

11 A.         That is the     front of the Lobo's     Car Center .     The

12 black gray door , kind of there in the middle             of the

13 screen , that 's kind of --

14 Q.         Where my pen is right there ?

15 A.         Yes .     That would have been the front door ,

16 although     that 's not how we made entry .       We made entry

17 over here to the right -- on the            far right of the

18 screen , there 's like a black --

19 Q.         Is this where my pen is , over here ?

20 A.         Exact ly .

21 Q.         Reflecting     the far right side of P-90 A?

22 A.         Correct .

23 Q.         What did you do before      you gain ed entry to the

24 Lobo's     Discount C ar Center , if anything ?

25 A.         Well , we stack ed up further      west of the




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 1 location , which would be to the far left of the photo ,

 2 and approach ed on foot , myself        and my team , which

 3 consisted     of approximately     eight other agent s and /or

 4 MPD detective s we work with , and we walk ed right along

 5 the face of that build ing .        I do remember     -- my

 6 recollection     -- this was almost      four year s ago , but my

 7 recollection     is there was a security       camera   or what

 8 look ed like a security      camera    somewhere    in the vicinity

 9 of the front door , which is right in the middle               of the

10 screen .

11 Q.         Where my pen is    in the middle     of the picture ?

12 A.         Correct .   It was either    right above it or right

13 to the side , I don't remember .         I do remember     one of

14 the agent s in our group was about 6'6" -- he was a big

15 guy .     He had a hal ogen light, and      he knock ed that

16 camera     down to make sure the residents         or anyone    who

17 was in side would n't see us comi ng .

18            We approach ed all the way across the front of

19 the build ing to the right -- far right of the screen

20 where there was like a gate -- a chain link gate /fence

21 kind of thing which was open .          When we got there , the

22 lead agent basically       announced    the police    presence    and

23 that we were there with a search          warrant , and we made

24 entry .

25 Q.         Show ing you what's    depict ed in P-90B.




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 1          Can you de scribe      what is that to the jury ?

 2 A.       That 's the   back -- that 's , like , the back view

 3 of the build ing , the Lobo's       build ing .   You're   kind of

 4 where this camera      -- the camera     angle , you're    stand ing ,

 5 like , in the middle      of the back lot there look ing at

 6 the back of the build ing .        To the left is -- if you

 7 look at the left of this photo , that 's kind of the

 8 gate we came through .

 9 Q.       Where my pen is ?       Where this blue --

10 A.       Correct .

11 Q.       -- top is on this white ?

12 A.       General ly , yes .     To the left there .

13 Q.       If I put P-90 A back on the screen , how does

14 P-90 A relate    to P-90 B?

15          Starting    with P-90 A.    Did you walk through       this

16 area where it says , "N o Park ing ?"

17 A.       Yes .

18 Q.       How does that relate       to P-90 B?

19 A.       It 's jus t a mirror     image .   This is -- it 's now

20 on the far left side versus         being on the far right on

21 the other photo .

22 Q.       You entered , is it your testimony , right where

23 this door is -- where         this back door is ?

24 A.       Yes .   After we came through       the gate there , we

25 walk ed around .     There were some people       mill ing around




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1 out here back where these car s were some agent s went to

2 deal with them and other s went in through            door which is

3 now in the center       of your photograph     that 's open and

4 secured    that as well .

5 Q.         You mention ed knock ing down the surveillance

6 camera .     Why was that a concern      to you ?   W ere you the

7 team leader ?

8 A.         I was , yes .

9 Q.         Why was it a concern      to you that you might have

10 been observe d?

11 A.        We didn't   want anyone    to know we were comi ng ,

12 for safety    for us , as well as --

13 Q.        What kind of warrant      were you executing ?

14 A.        Narcotic s Unit .

15 Q.        Show ing you P-91 .     Do you recognize    what's

16 depict ed in that picture ?

17 A.        Yes .

18 Q.        What is that ?

19 A.        That 's just the interior     shot of the main office

20 area, I   guess , in side the little     structure    where I

21 show ed you before .

22 Q.        Was this area part of your search ?

23 A.        Yes .

24 Q.        Did you search      these file cabinet s, the black

25 one and the , I guess,     gray ?    Would you de scribe    that as




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 1 a gray one depict ed on the picture ?

 2 A.         Gray or white , yes .      I personally   didn't   search

 3 them all , but I was there when my team did .

 4 Q.         Were you the seizi ng agent ?

 5 A.         Yes .

 6 Q.         Can you explain    to the jury what your role was

 7 as a seizi ng agent on that date ?

 8 A.         What the seizi ng agent does , at least        as far as

 9 the FBI is concerned , is once we gain entry to a

10 place , we will      label all the room s with letter

11 designation s so we will know where -- you know , in the

12 future    we can go back and remember        what room is what ,

13 rather    than just say ing , for example , "bedroom ."

14 Because    many house s have bedroom s, you label one A, B,

15 C, and D.      I t's a lot more special .      Then the agent s

16 will photograph       the resident s or , in this case , the

17 business     prior to any searching .

18            Once all the photograph s are complete d, we'll

19 start the search ing .       Agents   will fan out and search

20 everything .       When they find thing s, if it 's of value

21 for contraband , like drug s, a gun , you know , money ,

22 anything     of value , I, as the seizi ng agent , will go and

23 view that and place -- I'll see it right where the

24 agent who is locati ng it finds it , a photograph             will be

25 taken of it, and it will be given to me and I will




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 1 actual ly take custody        of it and log it into our

 2 evidence    vault .

 3 Q.         Is that your role as a seizi ng agent ?

 4 A.         That 's correct .

 5 Q.         Someone     else finds it and then you seize it ?

 6 A.         Correct .

 7 Q.         Have you understood         that that is the procedure

 8 working    with the local agent s in this jurisdiction ,

 9 also ?

10 A.         I don't know     what the jurisdiction       -- what they

11 do in this jurisdiction .

12 Q.         That 's how you operate ?

13 A.         That 's how we do it in D. C.

14            MS. GREENBERG:      If I may approach      the witness ,

15 Your Honor .

16            THE COURT:      You may .

17            MS. GREENBERG:      Show ing you what 's been mark ed

18 as Good win 32 and Drug s 44 .

19            Do you recognize      these two exhibit s?

20            MR. WARD:      I'm sorry.      That 's Good win 32 ?

21            MS. GREENBERG:      Good win 32 and Drug s 4 4.

22            THE WITNESS:      Yes , I recognize     both of them .

23            BY MS. GREENBERG:

24 Q.         Could you de scribe       for the jury what is in the

25 bag mark ed as Goodwin        32 ?




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 1 A.        Goodwin   is a Gunk ca n, I guess,      and the brand

 2 name of a puncture      seal can that has a false bottom             on

 3 it .

 4 Q.        And Drug s 44 ?

 5 A.        Drug s 44 are what was in side Goodwin          32 .

 6 Q.        How did you know that Drug s 44 was in side

 7 Goodwin   32 ?

 8 A.        Because   my name is on it and I was the seizing

 9 agent .

10 Q.        Was it obvious , look ing at Goodwin          32 --

11           MR. MONTEMARANO :       Object   to lead ing , Your Honor .

12           THE COURT:     Sustained .

13           Ask it another     way .

14           BY MS. GREENBERG:

15 Q.        When you look ed at Goodwin        32 , what could you

16 see ?

17 A.        At the time of the search         warrant ?

18 Q.        Yes .

19 A.        You could n't see anything .        It was just a can .

20 Q.        What did you have to do to re cover Drug s 44 ?

21 A.        You had to un screw the bottom        of the can .

22 Q.        Could you    describe      to the jury where on the

23 picture   before    them , which has been pre- mark ed as P-91 ,

24 you locate d Goodwin      32 , which contain ed Drug s 44 ?

25 A.        You want to raise that picture         up a little       bit ,




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 1 but that white or gray cabinet .          The bottom    -- yeah ,

 2 right there .     See where the fire extinguish er is ?

 3 Right there where you have your pen .            That bottom

 4 draw er of the low er cabinet       there .   In side there .     It

 5 was just lay ing in there .

 6 Q.       Show ing you what's      been mark ed as P-92 .

 7          Can you tell the jury what is depict ed in that

 8 picture ?

 9 A.       That 's the drawer     open with , presum ably, the

10 can .   I don't think     it was a very good photo , but it

11 was lay ing right in there .

12 Q.       Is that where my pen is right there , to the far

13 right side of the picture ?

14 A.       Again , as best as I can tell .         It 's not a very

15 good photograph , but , yes .

16 Q.       Subsequent     to re covering   this can with the

17 drug s, did you cause picture s to be taken of it ?

18 A.       Yes .

19 Q.       Show ing you what's      been mark ed as P-96 .

20          Can you tell the jury what's         depict ed in that ?

21 A.       That 's the can , obvious ly , with the bottom

22 removed .

23          That 's the detective      who actual ly locate d it

24 with the baggy pull ed out -- a baggy pull ed out that

25 contain s -- you can see it in there , and they're              either




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1 dark green or gray .         Based on my experience , at the

2 time , I believe d that to be crack cocaine .

3 Q.         What is depict ed in P- 96 A?

4 A.         Again , it 's just another     photo with the bottom

5 screw ed off , and you 're look ing down into the can and

6 another    -- it      look s like one baggy is already     out and

7 there 's still another        baggy in the -- actual ly still in

8 the can .

9 Q.         And P-96 B?

10 A.        There you have the can lay ing there with the top

11 -- excuse    me , the bottom    screw ed off and lay ing there

12 as well with all the crack cocaine          laid out in its

13 various    baggi es pull ed out of the can .

14 Q.        Before     I seek to publish   this to the jury ,

15 Special    Agent Ashby , how does Drug s 44 differ        from

16 appearance        from what is depict ed in P-96 B?

17 A.        The Drug s 44 there are all pulverize d.          That 's

18 how they come back from the lab after analysis .              The

19 one s in the photograph       are obvious ly chunk ed up , still

20 in that form .

21 Q.        Did you make a record      of the number     of bag s and

22 the type s of bag s that were re covered        original ly from

23 Goodwin    32 ?

24 A.        Yes .

25 Q.        How are the number      of bag s different    than what




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 1 is depict ed in D rug s 44 ?

 2 A.        I think the number        is off by two .   I'm not 100

 3 percent    sure .

 4 Q.        Could you tell the jury what was re covered           from

 5 in side Goodwin     32 at the scene ; the type s and number         of

 6 bag s?

 7 A.        You can see there are several         -- I think there

 8 was six of these dark green or gray little             Ziploc s.

 9 You had four , I think , clear bag s there .          Then I think

10 you had the two -- you can see these light blue or

11 light green bag s as well .

12 Q.        So a total of 12 bag s of crack cocaine           re covered

13 from in side this Gun k can ?

14 A.        I believe    so , yes .

15           MS. GREENBERG:      Your Honor , with that , may I

16 pu blish Goodwin      32 and Drug s 44 to the jury ?

17           THE COURT:     Yes , you may .

18           BY MS. GREENBERG:

19 Q.        Did you notice     anything    about the shape of those

20 little    baggi es when you first re covered       them ?

21 A.        The shape of the baggi es ?       Which baggi es are you

22 referring    to ?

23 Q.        The shape of what was in side the baggi es .

24 A.        Yeah .    Well , I can give my opinion      on what it

25 is .   It look s like crack cocaine .        I would say it 's




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 1 crack versus       powder .   Even though   powder   can be

 2 compress ed , this look s like crack .        It look s like --

 3 you can still see the one at the top there is curved

 4 and look s like it was peel ed right out of the bottom                of

 5 -- probably       out of a Pyrex measuring     cup , where it 's

 6 cook ed -- common ly cook ed into crack .

 7 Q.       So this pie shape here .       How do you explain         that

 8 on the one to the far right ?

 9 A.       Well , I mean , I was actual ly referring        to the

10 one on the top .       That one , to me , is more clear .       The

11 other one in the clear bag .         That one .

12 Q.       In the blue bag ?

13 A.       No , the clear bag next to it .          To the right .

14 That one .    You can see that 's clear ly my opinion          comi ng

15 from the bottom       of some kind of Pyrex cup or something ,

16 but this other small er chunk beneath          it , you can't

17 really   tell .     That could just be chunk ed off -- flake d

18 off .

19 Q.       The one you were talk ing about that would come

20 from the Pyrex.        Just for the record , is the clear

21 baggy closest       to the top of the Gunk can on P-96 B?

22 A.       Correct .

23 Q.       After you re covered      this -- could you tell the

24 jury approximately       how much , with the packaging        -- with

25 the plastic       baggi es , how much did this suspect ed crack




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 1 cocaine     weigh out to be ?

 2 A.         With the baggi es and the heat seal , which we

 3 place d it in , I think it weigh ed at about 80 grams .

 4 Q.         After it was net ted out , without        the pack aging ?

 5 A.         Without     the packaging    and weigh ed out by the DEA

 6 lab , it came out to 56 -- I think 56 grams .

 7 Q.         Next I want to ask you if you recognize            -- I

 8 know it 's a bad picture , but what is depict ed in P-93 ?

 9 A.         That 's going to be a little gray , again , or dark

10 green Ziploc        bag in side a clear Ziploc      bag , with an

11 apple on it .        It 's got a little    chunk of crack on it as

12 well , but the pho to is pretty          blurry .   It was taken too

13 close .

14 Q.         The apple is right here ?

15 A.         Correct .

16 Q.         So approximately      mid way --

17 A.         Back a    little   bit up from the picture .       It 's

18 red .     It 's the only red in the photograph .

19 Q.         Show ing you what's     been mark ed as Drug s 45 .

20            How does that compare        to what the jury sees up

21 on the screen ?

22 A.         Okay .    Again , it 's been pulverized       for analysis ,

23 so it does n't look anything           like that now .

24 Q.         What is depict ed in the picture         on the screen ?

25 Does it relate        at all to this ?




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 1 A.       Yes .    The packaging         you have , the apple -- the

 2 Ziploc   bag with the red apple on it and the little                     dark

 3 gray or dark green Ziploc , that contain ed the                    drug s.

 4          MS. GREENBERG:         Your Honor , may I publish            Drugs

 5 45 to the jury ?

 6          THE COURT:        Y es , you may .

 7          BY MS. GREENBERG:

 8 Q.       Show ing you P-91 .

 9          Can you show the jury where Drugs 45                  was

10 re covered , the exhibit       going around        to the jury now ?

11 A.       That was re covered           out of the top drawer         out of

12 the tall er gray or black cabinet , just to the left of

13 the small er white one where the Gunk can                  was .

14 Q.       Where my pen is here ?

15 A.       Correct .

16 Q.       This , again , is the office          in side Lobo's ?

17 A.       Correct .

18 Q.       If I may approach        again .

19          What's    been mark ed as Goodwin          33 .    Does this

20 relate   at all to your search           warrant    at that location ?

21 A.       Yes .

22 Q.       What is Goodwin        33 ?

23 A.       This is a can -- L iquid Wrench lubricant                   can ,

24 also with a false bottom , which was re covered                    in that

25 same office      there .




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 1 Q.         Was there anything        re covered    from in side this

 2 can ?

 3 A.         No .    It was empty .

 4 Q.         Did you continue        to search    the rest of the shop ?

 5 A.         Yes .

 6 Q.         I'm going to ask you what is depict ed in P-94 .

 7 A.         That 's a box that contain ed some loose and

 8 miscellaneous        ammunition    that was re covered         in kind of

 9 the storage        area just to the right of that main

10 building     we were previous ly in .

11 Q.         And P-95 , which I'm put ting up on the screen

12 now ?

13 A.         That 's a digital       scale -- a small digital         scale

14 that was also re covered          in that same little          storage

15 area there to the right of the office               build ing .     It was

16 re covered    right next to all the ammunition .

17            MS. GREENBERG:        I f I could approach      one more

18 time , Your Honor .

19            THE COURT:     You may .

20            BY MS. GREENBERG:

21 Q.         Goodwin    34 and Goodwin     35 .     How did they relate

22 to what the jury 's see ing on the screen              now ?

23 A.         This is them .        This is the box .     Goodwin     34 is

24 all the loose am munition          -- box of ammunition .

25 Q.         And Goodwin    35 ?




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 1 A.         Goodwin   35 is that digital      scale .

 2 Q.         When the search     warrant    was conduct ed , how were

 3 Goodwin     34 , the ammunition , in relation       -- and Goodwin

 4 35 .     How close were they ?

 5 A.         They were just on a shelf in that little             storage

 6 area .

 7            MS. GREENBERG:      Your Honor , I'm going to publish

 8 Goodwin     33 , 34 and 35 , and I have no further          question s

 9 for this witness .

10            THE COURT:    You may .

11            Any cross-examin ation ?

12            MR. MARTIN:      Yes , Your Honor .    With the court 's

13 permission , if I could do my cross from here ?

14            THE COURT:    You may .

15                                CROSS-EXAMINATION

16            BY MR. MARTIN:

17 Q.         Agent Ashby , good afternoon       to you .      Tony Martin

18 on behalf     of Mr. Goodwin .

19            Call ing your attention       back to the execution        of

20 the search     warrant   back on October      17 , 2002 .    If I

21 understood     correct ly , you were the seizi ng agent ;

22 correct ?

23 A.         That 's correct .

24 Q.         In that capacity , you had a certain          role , and

25 that role was almost        like in a supervisory        capacity




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 1 with respect     to the other agent s on the scene ; right ?

 2 A.       For the most part , that 's correct .

 3 Q.       There 's a salesperson     protocol    that take s place

 4 when there is a seiz ure of item s from the premises ; is

 5 that correct ?

 6 A.       You might need to be a little         more specific     on

 7 that .

 8 Q.       Would it be accurate      to say that the officer s

 9 would be expected      to wear latex glove s before       they

10 touch ed any of the     item s that were just shown to you ?

11 A.       Yes , that is correct .

12 Q.       That was done in this particular          instance ;

13 correct ?

14 A.       Yes .

15 Q.       They did that because      some of these item s would

16 be expect ed to be sent to the lab for forensic

17 analysis ; correct ?

18 A.       That would be the call of the         lead case agent .

19 But , yes .

20 Q.       They would also do that so some of the item s

21 pick ed up would not be contaminate d; correct ?

22 A.       Yes .   Correct .

23 Q.       To keep   their DNA off item s where other DNA

24 might be there ?

25 A.       That could be a reason       as well , yes .




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 1 Q.        When you went in there on October               17 , 2002 , you

 2 didn't    see Learley    Reed Goodwin        there , did you ?

 3 A.        I didn't    see him then .        I s till don't know what

 4 he look s like to this day .

 5 Q.        There was a gentleman           there by the name of

 6 Michael     Jackson ; right ?

 7 A.        I remember    that name , yes .

 8 Q.        You had an opportunity           to speak with Mr.

 9 Jackson ?

10 A.        I believe    I did .     That 's correct .

11 Q.        You spoke to some of the               other individuals    who

12 were at Lobo's       on that day ; right ?

13 A.        I might have .     There was , like , 12 people            there .

14 I don't remember       everyone        I spoke to .

15 Q.        Do you remember        speak ing to       a Hispanic   male ?

16 A.        There were several           there .     You need to be more

17 specific .

18 Q.        Do you remember        speak ing to       someone   by the name

19 of "Lobo?"

20 A.        Mr. Lo bo was there , yes .             I think he was the

21 owner .     Yes , I did speak to him .

22 Q.        With respect     to the various           item s that you were

23 shown , specifically      some of these can s with the false

24 bottom s, like Exhibit       Goodwin       33 .    You didn't    actual ly

25 designate     that Goodwin      33 .     You jus t de scribe d it as an




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 1 item that was seize d on your return ; correct ?

 2 A.        Correct .     Goodwin   33 is a label .      The U. S.

 3 Attorney     labeled    it for a court exhibit .

 4 Q.        In other words , the government           labeled   that as

 5 Goodwin     33 ?

 6 A.        Correct .

 7 Q.        That 's what they call ed it .

 8 A.        That is correct .

 9 Q.        You didn't     call it Goodwin     33 .

10 A.        No .

11 Q.        You didn't     call it Lobo 33 .

12 A.        No .     I believe   it was referred      to as Item 2 on

13 my inventory       sheet .

14 Q.        The drug s were sent , I presume , to Quantico           for

15 testing ?

16 A.        No .     They were sent to the DEA Mid -Atlantic

17 laboratory .

18 Q.        And I take it that the baggi es were also sent to

19 the forensic       lab with the drug s that they were found

20 in .

21 A.        All the drug s were sent , just as they were

22 seize d, to the DEA lab .

23 Q.        And the can s as well ; correct ?

24 A.        The can s were not sent to the DEA lab .

25           No .     T hey would have been sent -- they were sent




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 1 to the -- I take that back.           I'm not sure if the can s

 2 went to the DEA lab .       I know the can s ultimate ly end ed

 3 up at the FBI Fingerprint          Lab , but the    drug s were

 4 analyze d at the Mid- Atlantic        laboratory.

 5 Q.        With respect to the       fingerprint     lab .     Do you

 6 know if the result s ever came back ?

 7 A.        I don't know    what the results were,            no .

 8 Q.        If the result s had come back , they would have

 9 gone to the U. S. Attorney ?

10 A.        I would hope so .

11 Q.        Would it have been your responsibility                   to send

12 it to the U. S. Attorney ?

13 A.        No .    That would have been the case agent's

14 responsibility .

15 Q.        As far as    you know today , Mr. Learley           Reed

16 Goodwin 's fingerprint s never came back on any of those

17 item s seize d on October      17 , 2002; is that correct?

18 A.        I have no idea what the result s of the print s

19 were .

20 Q.        Just to make sure I've got your testimony

21 crystal    clear .    You testifi ed you believe d that Lobo

22 was the owner,       or at least    the operator     of that

23 particular       shop on that day ?

24 A.        On that day he was , yes .

25           MR. MARTIN:     Nothing     further , Your Honor .




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 1          Well , just a second , Your Honor .           N othing

 2 further , Your Honor .      Thank you .

 3          THE COURT:       Further    cross-examination    ?

 4          MR. HALL:     No , Your Honor .

 5          MR . MITCHELL:      No , Your Honor .

 6          MR. WARD:     No question s, Your Honor .            Thank you .

 7          THE COURT:       Mr. Sussman .

 8                          CROSS-EXAMINATION

 9          BY MR. SUSSMAN :

10 Q.       Good afternoon , agent .

11          Prior to the October         17 , 2002 search , is it fair

12 to say that you had no involve ment in this particular

13 case ?

14 A.       None whatsoever .

15 Q.       And would I be accurate             to say that sometimes

16 extra man pow er is need ed , and you kind of get call ed

17 into service      with connection     to a search ?

18 A.       That's correct .

19 Q.       So it was on October         17 ?

20 A.       That 's correct .

21 Q.       The reason    you can do that is because             you're

22 experience d in executing       these kinds of warrant s.

23 A.       That's    it, part ly .

24 Q.       And part ly because        narcotic s warrant s tend --

25 the execution      of them tend to be fair ly standard .




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 1 Would that be accurate ?

 2           MS. GREENBERG:      Objection .

 3           THE WITNESS:     They're   fair ly standard .

 4           BY MR. SUSSMAN :

 5 Q.        Well , executing    one warrant     is somewhat       standard

 6 to the next.

 7 A.        I don't know    if I would agree with that .

 8 Q.        Okay .   In terms -- the kinds of thing s you look

 9 for when you're      execut ing a narcotic s warrant .          They

10 tend to be fair ly standard , would you agree to that ?

11 A.        What you're    look ing for ?     Yes .

12 Q.        The first thing you're       look ing for is drug s;

13 right ?

14 A.        It 's a narcotic s warrant , yes .

15 Q.        That involve s large quantity        and small

16 quantiti es ; correct ?      Paraphernalia A.          Drug ,

17 paraphernalia , yes .

18 Q.        Trace element s of drug s?

19 A.        Yes .

20 Q.        You mention ed paraphernalia .            That can consist

21 of a wide variety       of item s; correct ?

22 A.        That 's correct .

23 Q.        You're   look ing for firearm s?

24 A.        If it 's a gun warrant .        But, yes .

25 Q.        Well , even on a narcotic s warrant ?




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1 A.       If you find it , sure .

2 Q.       That includes     ammunition ?

3 A.       Yes .

4 Q.       Tool s related    to weapon s?

5 A.       Yes .

6 Q.       Manual s related     to weapon s?

7 A.       Yes .

8 Q.       Case s related    to weapon s?

9 A.       Yes .

10 Q.      Document s relate d to weapon s?

11 A.      Yes .

12 Q.      You mention ed the      drug paraphernalia .      That also

13 would include    a wide variety     of item s; correct ?

14 A.      Yes .

15 Q.      Packaging    of drug s?

16 A.      Yes .

17 Q.      Scale s?

18 A.      Yes .

19 Q.      Measuring    spoon s?

20 A.      Yes .

21 Q.      Sometimes    strain er s?

22 A.      Yes .

23 Q.      Some people     use mix er s, coffee    grind er s, thing s

24 of that nature ?

25 A.      Yes .




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1 Q.       And your search      would also include      thing s that

2 would perhaps      involve   personal   use of drug s.     Would

3 that be accurate , as well ?

4 A.       It could .

5 Q.       Roll ing paper ?     Pipe s?   Thing s of that nature ?

6 A.       Yes .

7 Q.       Another     thing that you would be look ing for in a

8 narcotic s warrant     would be sign s of wealth ; would that

9 be accurate ?

10 A.      Yes .

11 Q.      Money , obvious ly .

12 A.      Yes .

13 Q.      Jewelry ?

14 A.      Yes .

15 Q.      Electron ic equipment      like big screen      TVs, thing s

16 of that nature ?

17 A.      Possibly , yes .

18 Q.      Okay .    Document s related    to expensive     car s?

19 A.      Correct .

20 Q.      Additional ly , you look for particular          evidence

21 in the form of paper ; is that right ?

22 A.      Yes .

23 Q.      Some of the records       now are kept on computer s;

24 is that accurate ?

25 A.      Somewhat , yes .




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 1 Q.        If you see a computer , would you be like ly to

 2 seize a computer ?

 3 A.        More than like ly , yes .

 4 Q.        The FBI has the ability       to down load the computer

 5 and even perhaps       scrape   the hard drive to retrieve         data

 6 from it ; is that correct ?

 7 A.        That 's correct .

 8 Q.        With regard    to paper .    Is it fair to say it 's a

 9 little    difficult    to read through       everything   on the

10 scene ?

11 A.        That 's correct .

12 Q.        The procedure    would be to seize document s that

13 look like they might have evidentiary             significance ; is

14 that right ?

15 A.        That 's correct .

16 Q.        Then you can kind of go over them later on to

17 see what they really       yield .

18 A.        Correct .

19 Q.        That would include       address    book s.

20 A.        Yes .

21 Q.        That would show --

22           MS. GREENBERG:        Your Honor , I'm going to object .

23 We've gone on quite sometime , but this is well outside

24 the scope of direct .

25           THE COURT:     How far are you going to go with




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 1 this , Mr. Sussman ?

 2            MR. SUSSMAN :     About one and a half more minute s.

 3            THE COURT:      Stay within     that .

 4            BY MR. SUSSMAN :

 5 Q.         Document s related    to financial        records ?

 6 A.         Absolute ly .

 7 Q.         Thing s that might list name s of suppliers ;

 8 correct ?

 9 A.         That could be .

10 Q.         Customers ?

11 A.         Sure .

12 Q.         Thing s having    to do with financial        resource s;

13 correct ?

14 A.         Yes .

15 Q.         It would be fair to say that it 's a rare warrant

16 that you find all of these thing s; is that correct ?

17 A.         That would be correct .

18 Q.         It would also be fair to say that it 's the rare

19 execution     of a warrant    where you find none of these

20 thing s.

21 A.         I would say -- well , more often than not , the

22 less of those item s than more .           Yeah , un fortunate ly.

23            MR. SUSSMAN :     Thank you .

24            THE COURT:      Any further     cross ?

25            Any re direct ?




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 1          MS. GREENBERG:       Brief ly , Your Honor .

 2                        REDIRECT EXAMINATION

 3          BY MS. GREENBERG:

 4 Q.       Special    Agent , in your experience , have you ever

 5 done these type s of warrants        that counsel     is asking     you

 6 about and come up empty ?

 7 A.       Sure we have .

 8 Q.       Do you use other mean s to proceed          in try ing to

 9 build evidence     to present    to a jury ?

10 A.       Absolute ly .

11 Q.       Have those prosecution s resulted in --

12          MR. MONTEMARANO :      Objection , Your Honor .

13          THE COURT:      Sustained .

14          BY MS. GREENBERG:

15 Q.       You have been able to , absent         the search    warrant

16 evidence , present     substantial     evidence   to a jury --

17          MR. MONTEMARANO :      Objection , Your Honor .

18          MS. GREENBERG:       -- utilizing     other investigative

19 method s.

20          THE COURT:      Sustained .

21          BY MS. GREENBERG:

22 Q.       In connection     with a search     warrant .    Is that

23 your only mean s of get ting evidence?

24 A.       Absolute ly not .

25 Q.       How do you pursue      other mean s -- have you




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 1 pursue d other mean s when these warrant s come up empty ?

 2 A.        Absolute ly .

 3 Q.        Evidence    that can be present ed in court ?

 4           MR. MONTEMARANO :         Objection .

 5           THE COURT:      Sustained .

 6           MS. GREENBERG:          Your Honor , may we approach ?

 7           THE COURT:      Yes .

 8                      (At the bar of the Court.)

 9           MS. GREENBERG:          Your Honor , Mr. Suss man went

10 through   a litany     of thing s that the witness        can get

11 from -- th at this      witness     could get from a warrant .      He

12 went well beyond       the scope of direct , and I am brief ly

13 try ing to bring back that there is evidence              that can be

14 use d in court .

15           THE COURT:      I think you've       already   got the fact

16 that evidence      is devised      through   a variety   of other

17 mean s.

18           The question     that I think is raise d lead ing to

19 objection s is the status          of that other evidence and

20 whether   it 's ad missible       or not .   I don't think   we need

21 to go into that .

22           MS. GREENBERG:          Evidence   that can be present ed

23 but --

24           THE COURT:      You may ask him about other

25 investigative techniques           and other mean s they use to




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 1 develop     evidence , but whether       it get s admitted     or not

 2 is not something        I think we should      not go into .

 3           MS. GREENBERG:      May I at least , Your Honor , have

 4 permission     to go into things     such as record ings ?

 5           THE COURT:      Certain ly .

 6           MR. SUSSMAN :     I'm going to object       to that .

 7           THE COURT:      Mr. Sussman , you went into this

 8 great , long list of thing s they look for when they go

 9 in .   That 's fine .     I granted you      some latitude , and I

10 think she can have latitude         to ask what other thing s

11 they do .     What I've got to     cut you off from doing is

12 whether     they get admitted     or not .     I certain ly think ,

13 in light of your cross-examination            , that she can be

14 allow ed to develop       what other evidence      they look for in

15 drug case s.

16           MR. SUSSMAN :     I confine d all of my question s to

17 the procedure s in a narcotic s warrant .

18           THE COURT:      I understand .

19           MR. SUSSMAN :     I think she make s him an ex pert

20 within    witness   with regard    to general     investigative

21 technique s.

22           THE COURT:      We're not get ting ex pert testimony .

23 He 's talk ing about what he does in his experience .

24 That 's my ruling , all right ?

25                          (Back in open court.)




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 1           BY MS. GREENBERG:

 2 Q.        Special     Agent Ashby,    giv en your testimony       that

 3 you have en counter ed with search          warrant s no evidence

 4 that that was not a success ful investigative              technique ,

 5 could you tell this jury some of the investigative

 6 technique s you've      use d in connection       with your work

 7 when a search       warrant   does n't work out ?

 8 A.        There are a variety        of thing s we can do .       We can

 9 try to send in a cooperating           witness    or witness

10 undercover ; we can conduct          surveillance ; we can try to

11 get court -ordered      wiretap s of any electron ic de vice s

12 they have .

13 Q.        Court -authorize d wire taps .       Could you explain         to

14 the jury what the common         terminology      for that is ?

15 A.        Wiretap .     That 's what I refer to it as s.          Title

16 3 wiretap .

17           We can continue      to develop    cooperating

18 witness es , or informant s continue         feed ing us

19 intelligence     so we can do pro active         enforcement .    Those

20 are some of the main ones right off the top of my head .

21           MS. GREENBERG:       No further    question s, Your

22 Honor .

23           THE COURT:      Any re cross ?

24           MR. MARTIN:      No re cross for Mr. Goodwin .

25           MR. HALL:      No , Your Honor .




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 1           THE COURT:      All right , you may step down .           Thank

 2 you very much , agent .

 3                          (Witness    excused   at 2: 46 p.m. )

 4           MS. JOHNSTON:      Your Honor , the government           would

 5 recall    Sergeant    Christopher     Sakala   at this time .

 6           MR. MCKNETT :     Your Honor , there is a procedural

 7 matter    I'd like to discuss        at the bench in regard         to

 8 Detective    Sakala .

 9           THE COURT:      All right , come up to the bench .

10                      (At the bar of the Court.)

11           MR. MCKNETT :     Your Honor , prior to trial I filed

12 a motion    requesting    the scope and content          of Detective

13 -- I keep call ing him "Agent"          -- Detective      Sakala 's

14 potential    testimony    having     to do with whether         or not

15 he 's testify ing as an ex pert or a fact witness                or both

16 at any particular       time .   I'm not sure if this is the

17 appropriate    time to address        that , because     I don't know

18 what the government       intends     to call him for at this

19 point .

20           MS. JOHNSTON:      I apologize .       I thought      I made it

21 clear to counsel .       We will     be call ing him to start

22 playing    the wiretap    call s.     I expect   that during       those

23 wiretap    call s he will be testify ing concern ing his

24 opinion    of those conversation s and of -- he will also

25 testify    to a surveillance        th at -- I'm going     to




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 1 introduce    camera    evidence   through    him , some of the pole

 2 evidence .

 3           I have advi sed counsel      we will interrupt       his

 4 testimony, given the       fact we have three volumes         of

 5 call s and I think 700 page s.        So as not to -- we will

 6 call surveillance       agent s to testify     as to the

 7 appropriate     surveillance s during       the testimony .    So , we

 8 will be recess ing his testimony .

 9           In term s of him being an actual        fact witness .

10 There is a surveillance        in early March that he made an

11 observation .     He will be testify ing about that , and he

12 will be testify ing in term s of some of the pole camera s

13 and that those were pole cam eras made on a given day at

14 a given time ; and he may identify           people    or vehicle s in

15 those pole camera s.       That would be the ex tent of his

16 factual   testimony .

17           His ex pert testimony     will be based on the call s

18 and who the voice s are and what they're              say ing and what

19 term s are being use d for drug s, much as he did in the

20 first trial , only with different           -- mostly    different

21 call s in this trial .

22           THE COURT:     If my recollection      is correct , you

23 have not , thus far with him on the stand , gone into the

24 specific s of the      drug language .

25           MS. JOHNSTON:      That is correct .




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 1            THE COURT:      Do you intend     to do that ?

 2            MS. JOHNSTON:      I intend     to qualify   him .

 3            THE COURT:      Do you want the qualification          to be

 4 that ?

 5            MR. MONTEMARANO :     We requested     voir dire     outside

 6 of the presence      of the jury on Friday .

 7            THE COURT:      Why do you need to voir dire         him

 8 outside    of the jury ?

 9            MS. JOHNSTON:      I don't think     they need to voir

10 dire him at all.

11            MR. MCKNETT :     Your Honor , with all due respect ,

12 this is a different        trial .

13            THE COURT:      I understand .     Tell me what legal

14 authority    you have -- the proposition          that you are

15 entitle d to voir dire       him on qualification s outside            the

16 presence    of the jury .

17            MR. MCKNETT :     Your Honor , I think it 's Mr.

18 Montemarano     who raise d the question s about his

19 qualification s as an ex pert .          I don't necessarily

20 intend    to challenge     his credentials      as an ex pert .       The

21 essence    of my challenge      is the content     of his testimony

22 as it goes to interpretation         of codes and conversation s

23 and whether     or not that is appropriate         "ex pert

24 testimony " on behalf       of Sergeant?      Detective ?

25            MS. JOHNSTON:      Sergeant .




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 1           THE COURT:      Sergeant .   They kick ed him upstairs .

 2           MR. MCKNETT :     The last time I was in court with

 3 him , he had a different         rank , and I'm having    trouble

 4 adjusting .

 5           My concern   is that that portion       of the argument

 6 should    be done outside     of the presence     of the jury ,

 7 because    these are   matter s that should      not be before      the

 8 jury .

 9           MR. MONTEMARANO :       My view , Your Honor , if I

10 might , is that the good detective          -- there I go again .

11 The good sergeant      will be testify ing as to opinion s.

12 If these opinion s are based upon his knowledge             and

13 expertise     and train ing and experience , that 's one

14 thing .    If , however , as at the last trial , these

15 opinion s are based upon conversation s with cooperat or s,

16 codefendant s who have pled out , etcetera , it is

17 information     comi ng from within     this conspiracy .      If he

18 is testify ing that way , then he        is breach ing these

19 defendant s' right s under Crawford         to confrontation      of

20 the ultimate     witness , which is the cooperat or or the

21 codefendant     or whom ever .

22           For that reason , we believe       that it is

23 appropriate     to clarify    out of the presence       of the jury

24 whether    this information       come s to Detective    Sakala

25 prior to the initiation          of his investigation , upon




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 1 which we believe      he can testify      as an ex pert witness ,

 2 whether    or not we like it , or after or during          the

 3 inception    of this investigation , or during         the course

 4 of this investigation , which we submit           is not

 5 admissible     and should    never be in front of the        jury .

 6 We , therefore , have request ed that it be done outside

 7 of the presence     --

 8            MS. JOHNSTON:     They're    not entitle d to have his

 9 direct    examination    put before     the court outside     the

10 presence    of the jury so they can decide         whether    or not

11 there should     certain    question s because    they think he 's

12 rely ing upon information       cooperat or s have provided         him .

13 His testimony     is going to be base d upon his knowledge

14 and experience , not C ooperat or X told him this or

15 Cooperator     Y told him this .

16            Your Honor has heard from five cooperat or s who

17 have testifi ed .     Agent Sakala      has n't been present     for

18 their testimony , but certain ly he could rely upon what

19 they have said in term s of the information            they have

20 provided    in the past .     Counsel    has already   cross -

21 examine d those witness es .       Clear ly , he is allow ed to

22 rely on all of his experience , including            information       he

23 got from cooperat or s in other case s.          Part of his

24 train ing and experience       is inter view ing people      engaged

25 in drug trafficking , and that 's the base s upon which he




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 1 is giving     his opinion .

 2            MR. MONTEMARANO :     Ms. Johnston         is con flating      two

 3 distinct     proposition s --

 4            THE COURT:    Mr. Montemarano , I understand             your

 5 position .     This is the proffer            area , including

 6 yesterday 's ruling      from the Supreme          Court , that has it

 7 all fresh in our minds .         I don't believe         that she

 8 intends    to elicit    testimony      from this witness         about

 9 what some other defendant         in this case told him , but

10 let 's see if that bridge        get s cross ed .       If it does ,

11 I'll stop it .     That's     what will I do , except        to the

12 ex tent that it may come in under a co conspirator

13 exception .     I don't believe        that you're      entitle d to

14 have him qualifi ed outside           the presence      of the jury .

15            MR. MONTEMARANO :     Just so the record         is clear .

16 Anything     he says that came from anybody             involve d in

17 this case , by definition , cannot              be co conspirator

18 because    it 's not in furtherance .            By the time he's

19 talk ing to them --

20            THE COURT:    It depends       on when it took place and

21 how it took place .         I mean , you know , whether it's

22 within    furtherance    of the con spiracy         is something     I

23 can't make a blanket         ruling    on .

24            MR. MONTEMARANO :     Absolute ly , Your Honor .

25            By talk ing to    Chris Sakala , the conspiracy           is




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 1 done , isn't it ?      People    are in custody .

 2          THE COURT:         I don't know    that until I know what

 3 you're   talk ing about .

 4          MR. MCKNETT :        Your Honor , if I can give an

 5 example .     The essence      of my motion      is based on the

 6 distinction       between    evidence   -- between      testimony ,

 7 based on information          that the sergeant        will proffer ,

 8 based on his ex per tise, his train ing , and his

 9 experience     outside      of this case -- prior to this case .

10          What I'm     concerned    about is that while the

11 government , I'm sure , would not ask him , did so and so

12 tell you --

13          THE COURT:         I don't want to have you up here all

14 afternoon .       I will permit    her to qualify        him consistent

15 with what Mr. Montemarano          has said.      If    he start s to

16 give opinion       that goes outside       the scope of that and to

17 what ex tent , if any , we will pro perly address                it when

18 we get there .       I don't think      you're    entitle d to have

19 him proffered       outside    of the presence of the jury.

20          I will p ermit her to qualify            him in   the presence

21 of the   jury .     When we get to a specific           effort    on his

22 part to interpret        some record ing, if there is something

23 that you think raise s a Crawford            issue , we will add ress

24 that issue when we get to it .             He 's fully qualifi ed --

25 I can't say -- I won't say he 's "fully qualifi ed ."                   He




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 1 may be fully qualifi ed .         He was fully qualifi ed once

 2 before   as having      the competence , based upon his

 3 knowledge , train ing and experience , to be able to tell

 4 me what somebody        mean s when they talk about "ticket s"

 5 or , you know , meet you at 8th street and thing s like

 6 that , and he 's perfect ly capable         of do ing that .    If we

 7 get into something        where we're crossing       the line , we'll

 8 cross that bridge        when we get to it .

 9            MR. SUSSMAN :      Sir , if I could .    To the e xtent

10 that his opinion        is based on what was told to him --

11            THE COURT:       Push Mr. McKnett   out of the way .

12            MR. MCKNETT :      I take up more room than I should ,

13 Your Honor .

14            MR . SUSSMAN :     It's not just Crawford .     Under 705

15 of the rule s, they talk about the background             the ex pert

16 is rely ing upon and what other people             have told him in

17 form ing his opinion .        We are entitle d to that kind of

18 information .     That 's the     rule .   That 's not just a

19 Crawford     issue .

20            THE COURT:       I can't make a blanket     ruling until

21 I know what his opinion          is going to be .

22            MR. SUSSMAN :      It's not so much the opinion

23 itself ; it 's the      basis for the opinion .       That sort of

24 tie s into the request        that I   had made earlier    on for a

25 16 (g) dis closure .




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 1            THE COURT:      At some point if he tender ed a basis

 2 that he cross es the line of Crawford          -- I can't address

 3 that question     until I've heard the question s.

 4            MR. SUSSMAN :     I would just point out the kind of

 5 disclosure     I requested    under Rule 56, the nature         of his

 6 opinion    and the basis for his opinion , and that would

 7 have obviate d do ing this on the fly , and that was my

 8 hope .

 9            MR. WARD:    Your Honor , if I may just add .         The

10 problem    I see with not admitting       examination s with the

11 juror s present    is because     he is an ex pert , his

12 testimony     has impact    far great er than that of any

13 "witness ."     If he begin s to stray , one says -- Your

14 Honor says if he begin s to stray you'll           cut him off at

15 that point .     The p roblem    is that once that bell 's rung ,

16 it 's in the jury 's mind and it cannot          be un rung .

17            THE COURT:      We're talk ing about two different

18 thing s.    She will be permitted       to qualify    him as an

19 ex pert about any opinion s being given whatsoever ,

20 subject    to your cross-examination      , before    I determine

21 that he 's capable      of giving   opinion s about what these

22 record ings mean .

23            MR. WARD:    All right , sir .

24            THE COURT:      If we get to the point where there

25 is a concern     and we have a Crawford       problem   or




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 1 something , I'll address       it when we get there , but I

 2 don't think    there 's a blanket     problem    with him giving

 3 general   opinion     testimony   about the mean ing of various

 4 term s use d by those who may or may not be use d in drug

 5 trafficking , and that 's what I'll         hear her

 6 qualification s on .

 7           MS. JOHNSTON:      Your Honor , he will also be

 8 giv ing opinion s based on the calls and surveillance

 9 that a drug tran saction       occurred .    A gain , that would be

10 the same thing .       It 's based on the content       of the   call s

11 --

12           THE COURT:      I will permit     you to qualify    him at

13 that time , all right ?

14                         (Back in open court .)

15           MR. MONTEMARANO :       Your Honor , will you note my

16 objection , just so the record        is pre serve d?

17           THE COURT:      Yes , you have one .

18           (Witness    resume s the stand at 2:59 p.m. )

19           THE COURT:      Detective   Sakala , you're    already

20 under oath .

21                      FURTHER DIRECT EXAMINATION

22           BY MS. JOHNSTON:

23 Q.        Sergeant    Sakala , I'm going to ask you to give

24 the ladies and gentlemen of the jury            a summary    of your

25 narcotic s background      and train ing in de tail at this




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 1 time .

 2 A.         My first assignment s to narcotic s -- I had three

 3 temporary     assignment s from    19 81 to 19 87 with what was

 4 then the Narcotic s Section        of the Montgomery        County

 5 Police Department .         In 19 87 I was transferred       to the

 6 Narcotic s Section       in the Montgomery     County Police

 7 Department     and was there until 19 89 .       Those two year s I

 8 did what would I guess would be call ed more basic

 9 narcotic s investigation s:        Hand -to -hand purchase s,

10 controlled     pu rchases    working   with informant s, search

11 warrant s, that type of thing .

12            In 19 89 --

13 Q.         Let me interrupt     you there .    You 've used a

14 couple     of term s there .    You said you did hand -to -hand

15 trans action s.

16            What does it mean to engage        in a hand -to -hand

17 transaction ?

18 A.         That 's actual ly purchasi ng narcotic s direct ly

19 from a drug deal er yourself .

20 Q.         What kinds of drug s were you work ing with in '87

21 to '89 ?

22 A.         In ' 87 , when I first came in , PCP was pretty

23 big , powder    cocaine , and marijuana       to a certain     ex tent ,

24 though     we didn't   do a lot of marijuana      case s.     Then in

25 late '87 or early '88 , crack became           probably     the drug




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1 of preference      re placi ng PCP.

2 Q.       "Crack " mean ing cocaine       base ?

3 A.       Cocaine    base , yes .

4 Q.       You also mention ed controlled           purchase s during

5 your first assignment        to narcotic s cases.        Can   you

6 de scribe    "controlled    purchase s?"

7 A.       That 's a purchase        of drug s us ing a cooper ator or

8 informant , where you provide          the money -- " you " being

9 the police     department    provides    the money to an

10 informant, and the informant is           search ed to make sure

11 he or she does n't have any thing on them.            When they

12 come back , they don't have the money you gave them and

13 they have    drug s that they purchase d from the

14 individual , and you search        them again to make sure that

15 they don't have money .       Essentially , the money goes in

16 and the drug s come back in a controlled            environment .

17 Q.      You also mention ed search         warrant s?

18 A.      Yes .

19 Q.      Were you involve d in the execution             of search

20 warrant s and to the obtain ing of search           warrant s from a

21 court officer ?

22 A.      Yes .    For my entire      career , search     warrant s --

23 I've probably     done -- maybe written       -- probably      written

24 over 1,000,     and certain ly probably      even more

25 participate d in that .




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 1 Q.       After you add that to your stint , what did you

 2 do after 19 89 ?

 3 A.       '89 I was transferred         to the Major Narcotic

 4 Offender    Section , which was a relative ly new ly form ed

 5 unit for the police       department    that was de sign ed to

 6 target   entire    organization s -- high er level drug

 7 deal er s that the other narcotic s officer s didn't           have

 8 the time or resource s to investigate .

 9 Q.       How did those investigation s differ          from the

10 ones you were initial ly involve d in ?

11 A.       They're    much more complex      and usually    long er

12 term .   You're    not -- a lot of time s you're       not deal ing

13 -- you have no way into your target .            You have someone

14 who is believe d to be a major trafficker , and you need

15 to develop     the investigation     from scratch .      You're   not

16 hand ed an informant      who says , this person      is a

17 trafficker .

18          There 's no time limit s.        If it take s two year s

19 to investigate , that 's what it take s.          We had a lot

20 more freedom , a lot more resource s, and we weren't

21 under the pressure      that a lot of the regular         narcotic s

22 investigator s have to do case s week in and week out .

23 Q.       How long were you assigned         to that unit ?

24 A.       All the way until 2004 -- 2005 .           Last year .

25 Q.       Did you work exclusive ly narcotic s case s then




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 1 from rough ly 19 88 to 2005 ?

 2 A.         From 19 87 to 2005 , yes .

 3 Q.         The first time , when you were do ing more

 4 hand -to-hand s and small er case s.         Does the use -- are

 5 you able to do -- strike        that .

 6            Are you able to use hand -to -hands as frequently

 7 when you were doing the larger            investigation s?

 8 A.         I'm sorry ?

 9 Q.         Were you able to use hand -to -hand transactions

10 as frequent ly to resolve       a case when you were doing

11 larger     organization s than the small er ones ?

12 A.         Normally   in the small er case s, you utilize         buy s

13 either     yourself   or informant s more frequently .         When

14 you get up to larger        organization s and larger        deal er s,

15 buy s are often an in effective          tool to get to those

16 people .

17 Q.         Why is that ?

18 A.         There 's several   reason s, but the     main reason       is

19 money .     One of the    main reason s is money .     I can buy

20 two or three grams from a small deal er and the police

21 department     has money to fund that .        If I go to someone

22 who 's deal ing kilo s, the police         does n't have the money

23 to fund let ting $25,000       walk , so to speak , at a time .

24 Q.         What do you mean about by let ting $25,000            walk ?

25 A.         Give $25,000    to an individual     for a kilo , and




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 1 you take your kilo and they take the money .                 That 's

 2 just not a practical         way to do investigation s.

 3 Q.        Why would n't you just        arrest    someone    if you were

 4 sell ing them a kilo ?

 5 A.        If someone       is deal ing that kind of weight          or

 6 that large , to arrest        that person     would bring an end to

 7 the investigation      .    It really    does n't go after the

 8 organization , which is what you want .              You want to know

 9 who their distributor s are and you want to know who the

10 people    they're   receiving     it from .      Investigati ng a

11 large deal er it 's much more beneficial             to go after the

12 entire    organization      instead    of just one person .

13 Q.        Are there any difference s in the difficulty                   with

14 locati ng cooperating        witness es or informant s in term s

15 of a larger    investigation       than investigati ng a small er

16 level deal er ?

17 A.        Sure .

18 Q.        Could you de scribe      those ?

19 A.        Someone   deal ing on the street -- someone              deal ing

20 small amount s is probably         more frequent ly or more

21 like ly to come in contact         with someone      who might

22 provide    information      to the police .       A larger   deal er is

23 going to have a small er circle           of individuals      or

24 friends    that they deal with .         Those person s -- that

25 person 's circle     of friends       -- there may not be any




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1 cooperat or s in that group .           So what you end up do ing is

2 going down the food chain , so to speak .                Maybe in the

3 circle     of friends , you may , you know , come across

4 someone     who is a cooperator .         Frequent ly , you might

5 have a cooperator        inform ed that they may not be next to

6 your target        but may be insulated      or one or two step s

7 away from that , and you work up from there .

8 Q.         You indicated      that you 've done over 1,000 search

9 warrant s?

10 A.        Probably    close to that or more , yeah .

11 Q.        Can you give us an idea of how many hand -to -hand

12 transactions       you 've actual ly engaged      in over the time

13 of your career ?

14 A.        Yeah .    Either   myself    or through    an informant ,

15 certain ly in the hundreds,           if not over 1, 000 .

16 Q.        In addition     to that , after -- with cooperating

17 informant s, as well as people           you've   arrested , did you

18 have occasion       to inter view those folk s?

19 A.        Yes .    As a matter of fact     , that 's where you get

20 some of your best information            is after you arrest     them

21 or everyone       with cooperating      individuals , you inter view

22 them as to what 's going on .           For instance,     what are the

23 current    price s?    What are the current         drug s being sold ?

24 What's    going on on the street .         Those are the     people

25 who are actual ly down in the business es you're




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 1 investigati ng .      They're   quite often the best source s of

 2 information .       Through   talk ing to   hundred s and hundreds

 3 of people , either      witness es, informant s, defendant s

 4 through    the year s, that 's quite often where you get

 5 your best education .

 6 Q.        In addition    to that , what other investigative

 7 technique s have you had occasion           to use in your 26

 8 year s of experience      -- 28 year s of experience ?

 9 A.        About 17 or 18 .

10 Q.        I'm sorry .    My math is not good .

11 A.        Pretty    much anything    that 's available .     We've

12 certain ly use d a lot of wiretap s over the year s -- what

13 we call "wiretap s" or electron ic surveillance .

14           We've use d close d-circuit       television s, what

15 people    know as a room "bug " -- micro phone s in room s --

16 and GPS track ing de vice s, aerial         surveillance , cell

17 phone track ing .      As technology    move s on , other avenue s

18 open for us .       But anything    that 's available , you use at

19 your disposal.        Sometimes    thing s work and sometimes

20 they don't .

21 Q.        You testifi ed previous ly about using thing s such

22 as Title 3 wiretaps .

23 A.        That would be the rare exception          to the rule .

24 Q.        Have you had occasion        to participate    prior to

25 this wiretap       investigation    in other wiretap




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1 investigation s?

2 A.         Yes .

3 Q.         Can you give us an idea of how many of those

4 you've     participate d in ?

5 A.         I would say investigation s -- probably             around     a

6 dozen while I was in narcotic s.                 Actual ly obtain ing

7 affidavit s?        Prob ably around      two dozen .     Probably

8 around     a dozen case s involving         electron ic surveillance s

9 over the year s.

10 Q.        In terms of those .          Have you had occasion        in

11 those prior case s to listen            to the conversation s as

12 they were going on in realtime ?

13 A.        Yes .

14 Q.        Okay .    And to analyze       them then and afterwards ?

15 A.        Yes .

16 Q.        What kinds of thing s do you look for in term s of

17 analyzing    the conversation s and determini ng whether

18 they're    pertinent     conversation s or non- pertinent

19 conversation s?

20 A.        It 's not real difficult         after listening      for a

21 while , and I don't even know that it               require s any

22 special    train ing .      Almost    anybody    know s what a normal

23 conversation       sounds    like .    We have them every day .

24 When you start hear ing conversation s that don't sound

25 normal , then you know that they 're probably               talk ing




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1 about something       other than what the conversation            is

2 about .

3           You might have some indication s that the person

4 drop s their voice and says thing s like , do you

5 understand     me ?   In general , it 's the conversation          that

6 does n't make sense , and they start talk ing and then you

7 start see ing that pattern          of call after call after call

8 after call .      It could be a different          word use d on , you

9 know , different      wiretap s.     But once you know what

10 you're   look ing for , it become s fair ly obvious .           It 's

11 not all that hard .       We like to think it 's rocket

12 science , but it 's really        not .

13 Q.       Well , at least     not based on your experience ?

14 A.       No , not at all .

15 Q.       Based on your experience , have you had occasion

16 to testify    in court concern ing -- as an ex pert

17 concern ing the way drug transactions             are conduct ed and

18 the way drug traffickers          speak to each other ?

19 A.       Yes .

20 Q.       In what court s have       you been qualifi ed as an

21 ex pert in those areas ?

22 A.       Federal     court in Maryland ; Circuit        Court in

23 Montgomery    County ; I believe          Florida , California , and

24 D. C.    I have been -- and possibly            the E astern   District

25 of Virginia , but I'm not sure about that .




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 1            MS. JOHNSTON:      Y our Honor , the government     would

 2 present     Detective    Sakala    as an ex pert in the area of

 3 drug trafficking        business    and the use of code language

 4 by drug traffickers .

 5            THE COURT:      All right .   Cross-examination     on

 6 qualification s?

 7            MR. MONTEMARANO :       Court 's indulgence , please .

 8                            CROSS-EXAMINATION

 9            BY MR. MONTEMARANO :

10 Q.         Good afternoon , Detective      Sakala   -- Sergeant

11 Sakala .     How are you ?

12 A.         Fine , thank you .

13 Q.         You listen    to a conversation .     It does n't sound

14 "normal ;" correct ?

15 A.         Yes .   Some conversation s don't sound normal .

16 Q.         Based upon conversation s that don't sound

17 normal , you determine        that there is something

18 under lying the plain mean ing of the words in the

19 conversation ; correct ?

20 A.         Yes .   It can happen     that way , yes .

21 Q.         It seem s like it 's rocket     science , but it 's

22 really     not ?   Your words .

23 A.         That 's correct .

24 Q.         Conversation s that jus t don't make sense ;

25 correct ?




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 1 A.         I said that 's one of the indicators , and then

 2 you continue     on from there .

 3            MR. MONTEMARANO :       Can we be heard at the bench ,

 4 Your Honor ?

 5            THE COURT:     Excuse    me ?

 6            MR. MONTEMARANO :       May we be heard at the bench ?

 7            THE COURT:     You may .

 8                    (At the bar of the Court.)

 9            MR. MONTEMARANO :       If I understand       the sergeant 's

10 testimony , he has provided          us two thing s.      He has

11 provided    us with the fact that thing s don't make sense

12 and don't sound normal        without       de fini ng for us what

13 "normal " is and what "sense " is .            On top of that , he

14 has said that it 's really         not rocket     science    and not a

15 matter    of expertise .     So , we need an ex pert why ?

16            THE COURT:     Isn't it sort of like when a brain

17 surgeon    says that -- a head surgeon           says,   after a while

18 it 's just , you know , cut ting bone and put ting screw s in

19 and put ting it back together .             It 's not rocket   science

20 anymore , because       he 's been doing it so long that it 's

21 easy .

22            It seem s to me that -- I don't want to let his ,

23 perhaps , in art ful description           of it as " not being

24 rocket    science " that it involve s no application            of

25 experience     and expertise .       I can listen     to one of these




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 1 nonsensical     recordings      and not have a clue what the

 2 people    are talk ing about , and I think he has more than

 3 a clue because     of his experience .          While he may say

 4 it 's not rocket      science , he 's apply ing the long amount

 5 of experience     -- he may not have gotten          a Ph .D. in drug

 6 trafficking     ,but he 's had enough      experience    wit h

 7 know ing when it make s no sense to look at it and say ,I

 8 can make sense out of this because              I've dealt with this

 9 kind of conversation       before .

10           MR. MONTEMARANO :        Your Honor 's point is well

11 taken .    Do we not then require        further    qualification

12 from the government ?        Because    what he 's given us isn't

13 enough    for this court to rule , in my humble          opinion .

14           THE COURT:     I hear your objection .

15           MS. JOHNSTON:         I didn't know    they were

16 object ing .    If they're      object ing , I'll ask him some

17 more question s.       I will    be glad to accommodate      counsel

18 with more questions .

19           THE COURT:     Ask some more question s.

20           MR. WARD:     Before we go , let me put my two cents

21 worth in .     I don't think , with all due respect , that

22 Your Honor 's analogy      to brain surgery is        apt in this

23 case .

24           THE COURT:     I could have said hip surgery .

25           MR. WARD:     The ordinary     person    does n't have




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 1 experience     with respect    to , you know , even if it 's

 2 orthopedic     surgery    or whatever    it is .   The ordinary

 3 person    does have a lifetime       of experience       listening     to

 4 conversation s and tell ing whether           or not it sounds       out

 5 of the ordinary      or un usual .    De spite -- well , I'll put

 6 that aside .     It seem s to me we have a pretty           bright

 7 jury here and a pretty        able jury , and why they can't

 8 tell whether     or not a conversation         sounds    out of the

 9 ordinary     or un usual escape s me .

10            THE COURT:     Mr. Ward , the bottom      line with any

11 ex pert testimony       is whether   or not    the person    bring s

12 special     knowledge .    That 's the   subject   of their

13 testimony     is that it can be of assistance            to the jury .

14 It certain ly seems to       me what I've      seen in this case

15 already     and what I've seen in an earlier            case that it

16 would be of assistance        to the jury to have someone            who

17 is understand ing of this type of conversation               to

18 explain     what is meant by term s that don't make any

19 sense otherwise .

20            If they start ed speak ing Spanish        term s in the

21 middle    of it , it would certain ly be nice to have

22 somebody     who may speak Spanish to         say what it    mea ns to

23 be a grin go or whatever       it may be .

24            MR. MONTEMARANO :     Your Honor , with all due

25 respect .     Going bo back to the pre trial motion           -- our




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1 pre trial motion s.

2             THE COURT:      Counsel , let me let Ms. Johnston

3 finish     qualify ing him.        Do you wan t further

4 qualification s?         She will give further       qualification .

5                           (Back in open court .)

6                       FURTHER DIRECT EXAMINATION

7             BY MS. JOHNSTON:

8 Q.          Sergeant , during      those dozen or so wiretap s

9 before     this one , did you have occasion          to listen    to

10 conversation s?

11 A.         Yes .    I've listened    to thousands    or tens of

12 thousands     of call s, I'm sure .

13 Q.         When you listen ed to those call s, were you

14 required     or were you able to form an opinion           as to

15 whether    or not the call s were drug -related ?

16 A.         Yes .

17 Q.         Were your opinion s concern ing those

18 conversation s accept ed in court in regards             to the fact

19 that the conversations         were drug -related ?

20 A.         Yes .

21 Q.         During    the course    of your listening     to those

22 hundreds     of hour s or tens o f thousands        of

23 conversation s, were there thing s that you look ed for in

24 order to form an opinion           as to whether    or not a

25 conversation        is drug -related ?




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 1 A.         Yes .

 2 Q.         What are the thing s that you look for in term s

 3 of listening        to the conversation ?

 4 A.         There 's lin go that you can use .         One of the

 5 thing s that you need when you're            ordering    drug s for the

 6 most part is you need a number             to identify    what

 7 quantity     or price and number s are a good indication ,

 8 but they're        simple    thing s.   If someone   order s two and a

 9 half tire s -- no one buy s half a tire .             That 's probably

10 a good indication           that that has nothing     to do with

11 actual ly buy ing a tire .

12 Q.         Other term s such as an eight h of this .             Is that

13 something     that you would use in your understanding              and

14 experience ?

15 A.         You're    going to look for common        drug term s.

16 They're    not going to use cocaine          or marijuana , but

17 you're    going to look at thing s that are common ly

18 refer ring to drug s.          For example , I want to go down to

19 8th S treet ; I'll meet you on 16th S treet ; or, I'll meet

20 you on 32nd S treet .

21 Q.         And those opinion s that you reach are that those

22 phrase s refer to drug quantiti es ?

23 A.         Quantiti es and price s.

24 Q.         Is that based upon your train ing and experience

25 in the previous        wiretap s that you've     done and your




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 1 previous     inter view s of cooperating           witness es and your

 2 own involve ment in drug transactions ?

 3 A.         Sure .     Yes .

 4 Q.         Are those the kinds of opinion s that you've

 5 offered     in court before       as an ex pert witness ?

 6 A.         Yes .

 7 Q.         Now , in term s of -- you use d the phrase           that

 8 it 's "not rocket          science ."     How would an ordinary

 9 citizen     know that 8th S treet does n't refer to 8th

10 Street ?

11 A.         They probably       would n't in that particular         case .

12 But if they heard reference to               three and a half tire s,

13 the average        citizen    would go , I don't think      they're

14 ordering     tire .

15 Q.         In term s, however , of the over all -- all of the

16 conversation s that you've              listened   to in this

17 particular        case , do they always       use term s like "two and

18 a half tire s?"

19 A.         No .     No .   They can use any number       of item s to

20 get their message           across .

21 Q.         Have you use d your -- do you use your own

22 experience        of 17 year s and the other case s -- drug

23 case s that you 've work ed to interpret              the wiretap

24 conversation s and the surveillance s that were observe d

25 in this case ?




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 1 A.        Sure .

 2           THE COURT:        Any further    cross-examination      on

 3 qualification s?

 4           MR. MONTEMARANO :       Court 's indulgence , please .

 5                             CROSS-EXAMINATION

 6           BY MR . SUSSMAN :

 7 Q.        In no particular       order , Your Honor ?

 8           Good afternoon , sergeant .

 9 A.        Good afternoon .

10 Q.        Sergeant .    I don't know       which is high er , and

11 that 's why I had an un success ful military           career .

12           Detective ?

13 A.        That 's fine .      It does n't matter    to me .

14 Q.        In terms of the bas is of your opinion              in this

15 case .    You talk ed about your experience         talk ing to

16 cooperator s and informant s; correct ?

17 A.        Correct .

18 Q.        And you have to make subject ive judgment s

19 whether    those guy s or women are tell ing you the truth ;

20 right ?

21 A.        Sure .   Sure .

22 Q.        If any of your opinion          -- you listened      to all of

23 the wiretap s in this case , correct , at some point ?

24 A.        I listened    to them as they were intercept ed .

25 The next day I probably          listened   to them ten , 12 time s,




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1 yes .

2 Q.         You mention ed your opinion , and part of it will

3 be based on what you heard in those wiretap s; right ?

4 A.         Yes .

5 Q.         Did you also -- is your opinion            at all based on

6 what cooperat or s in this case have told you ?

7 A.         I would say , no .      I would say the more

8 appropriate        would be the opinion         was confirm ed by the

9 cooperator s, but it was not based on it,                 no .

10 Q.        So whatever       cooperator s told you in connection

11 with this case does n't figure          in your opinion ?

12 A.        No .

13 Q.        That would include       non- witness es who might have

14 talk ed to you about this case ?

15 A.        Sure .    If that 's what you're        referring      to .

16 Q.        I was talk ing about either           people   who have

17 testifi ed , will testify , or will not testify .

18 A.        Okay .

19 Q.        Is your opinion       in any way a function           of the

20 event s that occurred        in this case ?

21 A.        Sure .    If you know particular         event s going on ,

22 whether    it 's surveillance , a buy , you know , whatever ,

23 that would , you know , certain ly help explain                 the

24 conversation       you're   listening   to .

25 Q.        Okay .    And it 's fair to say that many of the




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 1 events    in this case you didn't       personally    witness .

 2 A.        That 's correct .

 3 Q.        So your information       come s from potential ly a

 4 police    report ?

 5 A.        No .     I would n't say that .    I'd probably     say a

 6 telephone     conversation    involving     other officer .

 7 Q.        You're     talk ing to an officer    who was on the

 8 scene ; correct ?

 9 A.        Correct .

10 Q.        That officer     may be relating     information     that

11 was eventually        told him by another     officer ; is that

12 right ?

13 A.        Yeah .     I could say potential ly , unless      I know .

14 Specific ally, I could n't tell you whether           he saw it

15 first hand or not .

16 Q.        Your information      is a compendium      of source s, it

17 would be fair to say ; right ?

18 A.        It can be , yes .

19 Q.        Then you've     got to put your subject ive judgment

20 on those source s to indicate        -- to form your opinion ;

21 is that right ?

22 A.        All right .     I'm not sure what you're       get ting at

23 with that .      Try that again .

24 Q.        Well , you don't have to be sure what I'm get ting

25 at .   Your opinion      come s from your subject ive judgment




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1 of all that information ; is that right ?

2 A.       Yes .

3 Q.       Thank you .

4          MR. MONTEMARANO :      If I might , Your Honor .

5          THE COURT:      You may .

6          MR. MONTEMARANO :      Thank you .

7                          CROSS-EXAMINATION

8          BY MR.   MONTEMARANO :

9 Q.       Let me see if I understand .         Certain    part s of

10 the code d language     you look for are , in essence , term s

11 of art in the drug business , like the number eight

12 refer ring to eighth s being an eighth        of a kilogram     or

13 an ounce ; correct ?

14 A.      Correct .

15 Q.      Other numbers     which sort of appear       at random ,

16 like 62 or 125 , because      62 grams is a sixteenth       of a

17 kilogram , isn't it ?

18 A.      Yes .

19 Q.      And 125 is an eighth        of a kilogram ; right ?

20 A.      That 's correct .

21 Q.      Okay .   Would it also be fair to say there is

22 other language    which has no specific       relation    to the

23 parameter s of the drug trade like number s do ; correct ?

24 A.      That 's correct .

25 Q.      And there 's certain ly language        that has no




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 1 bear ing on the kinds of drug s being dealt with , like a

 2 case I once had where they referred            to heroin    and

 3 cocaine    as Helen and Charlie, and that           would n't be real

 4 difficult ; right ?       You wouldn't     need expertise    to

 5 figure    that out .

 6 A.        I don't know     about that case , but I would think

 7 something    like that might become         obvious .

 8 Q.        Isn't it fair to say that the words use d as

 9 code d language     in a particular       case , be it this one or

10 any other , often are words that have never been use d in

11 your experience        before ?

12 A.        Yes .   I would say on every wire you probably

13 hear a new code word .

14 Q.        It 's also fair to say that in your experience ,

15 the number    of code words use d for , for example ,

16 cocaine , is almost       end less .

17 A.        It is end less .

18 Q.        Basically , it only has to be a noun .

19 A.        It could be anything         you want .   I could say

20 every time you say the word "cup ," that mean s --

21 Q.        Cup .   Car .   Carpet .     Those are just a few;

22 right ?

23 A.        Yes .

24 Q.        And it goes on from there ?

25 A.        Yes .




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1 Q.          And you're     a narcotic s detective ; correct ?

2 A.          I was .

3 Q.          You were , I'm sorry , for 17 year s.

4 A.          Correct .

5 Q.          It 's fair to say that that is your area of

6 ex pertise     in terms of your train ing and experience            as a

7 police officer .

8 A.          Yes .

9 Q.          And by comparison , without , in any way , shape or

10 form intend ing to       de mean your experience, D etective

11 Sakala , you don't know bank robber ies in the same way .

12 A.         No .    That 's correct .

13 Q.         I'm a criminal     defense   attorney .     So if you come

14 to me with a tax problem , I'm lost .            That would n't

15 surprise     you either , would it ?

16 A.         I don't know     your background .       But if you say

17 so , I'll take your word for it .

18 Q.         My question     is the follow ing .      When you listen

19 to a wiretap , it 's based upon suspicion            of drug

20 activity ; correct ?

21 A.         No , that is not correct .      A wiretap     is based on

22 probable     cause on the affidavit      before     a judge .    It 's

23 not suspicion .

24 Q.         It 's based upon probable      cause .     You have a

25 belief   that people      on the wiretap    -- the people       you're




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 1 tapping , the people       call ing , them are involve d in drug

 2 activity ; correct ?

 3 A.        There is probable      cause to believe      that person

 4 is involve d in narcotic s activity , yes .

 5 Q.        That probable      cause stem s from what you've

 6 written     in an affidavit    to the judge ; correct ?

 7 A.        Correct .

 8 Q.        And it stem s from your investigation ; correct ?

 9 A.        Correct .

10 Q.        Ultimate ly , when you go to the judge,           you're

11 say ing to the judge , I believe         these people   are

12 involve d in drug activity ; correct ?

13 A.        We present     the affidavit     to the judge .

14 Q.        You don't believe      they're    involve d in drug

15 activity ?

16 A.        You said -- you asked --

17           MS. JOHNSTON:       Your Honor , if Mr. Montemarano

18 would allow the witness        to finish     his answer s.

19           THE COURT:       Allow him to finish    his answer s.

20           THE WITNESS:       The affidavit    stands   or falls on

21 its own .     We have to    take an oath and swear to the

22 affidavit .     The judge make s the determination           whether

23 there is probable      cause or not .

24           BY MR. MONTEMARANO:

25 Q.        You kind of stand there and twiddle           your thumb s




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 1 while the judge goes through         the affidavit ; right ?

 2 A.        We wait for the judge to sign it .

 3 Q.        My question    is not what you say to the judge ,

 4 because   you don't say anything , but at the time you go

 5 to the judge you have       what you understand       to be a well -

 6 found ed belief      that these people    -- the target s of your

 7 investigation       -- are involve d in drug activity ; is that

 8 a fair statement ?

 9 A.        Yes .

10 Q.        Thank you .

11           That is    based upon your investigation ; correct ?

12 A.        Based upon the affidavit , yes .

13 Q.        And then when you listen       to the call s, you

14 already   have a belief     that these people      are involve d in

15 drug activity ; correct ?

16 A.        That 's correct .

17 Q.        And therefore , you believe       that people       who speak

18 with these people       are involve d in drug activity .

19 A.        No , I would n't say that 's correct .       No .

20 Q.        You suspect    that the people     speak ing with them

21 are involve d in drug activity ; correct ?

22 A.        The phrase    I would probably     say is , I believe

23 that there are people       that they talk to , but certain ly

24 not everybody       they talk to is going to be involve d in

25 narcotic s.       If you limit it to being     some of the people




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 1 who they talk ed to,      I would agree with that statement .

 2 Q.        Okay .    Often they are speak ing about subject s

 3 which you do not understand ; correct ?

 4 A.        Initial ly , yes .

 5 Q.        And there are people      often who come into a

 6 wiretap     who you did not know before       you heard them on

 7 the wiretap ; correct ?

 8 A.        That is correct , I would say .

 9 Q.        Therefore , you've    not inter view ed these people ;

10 correct ?

11 A.        That 's correct .

12 Q.        And you don't know about their background ?

13 A.        I would say that 's -- if we don't know the

14 person , I would say that 's correct .         Once they're

15 identifi ed , certain ly we know the background .

16 Q.        Certain ly , even the people      you identify , you

17 don't know everything        about them ; right ?

18 A.        Correct .

19 Q.        So it just might be that if you listen           to a call

20 with someone       you do or don't know about prior to the

21 inception     of the wiretap    that the "cup s" or the "car s"

22 or the "carpet s" might just be cup s; might just be

23 car s; and might just be carpet s; right , detective ?

24 A.        Sure .

25           MR. MONTEMARANO:      No further    question s, Your




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1 Honor .

2           MR. MITCHELL:       Just to follow    up brief ly , Your

3 Honor .

4                          CROSS-EXAMINATION

5           BY MR. MITCHELL:

6 Q.        Just to follow      up with what Mr. Montemarano        just

7 said .

8           These words that are use d could be what they

9 really    are ; correct?

10 A.       There is no doubt that in many conversation s,

11 the words are what they really         are .

12 Q.       And to get back to your characterization             of your

13 investigation    of this .    It 's not rocket    science ; right ?

14 A.       It 's not a difficult     task in many circumstance s.

15 Q.       But in your determination        of what these words

16 mean , it isn't a science      either , is it ?

17 A.       No .

18 Q.       It 's your guess work .

19 A.       No .

20 Q.       It 's not guess work ?

21 A.       That is correct .

22 Q.       So you know for certain       -- if someone     is

23 referring   to a cup , you know for certain         what that cup

24 -- what that word actual ly mean s.

25 A.       I would say in the vast majority          -- the




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 1 overwhelming     majority     of the conversation s, yes , I know

 2 for certain     exact ly what they're           referring   to .

 3 Q.         You know without     question        that 100 percent        of

 4 the time    is that item that you suspect .

 5 A.         In the vast majority         of the conversation s, it 's

 6 without    question , it 's without       doubt , and there is no

 7 doubt in my mind exact ly what they're               referring       to .

 8 Q.         But it 's still your own guess work , because                you

 9 don't see it .        You only hear     it .

10 A.         I didn't    say it was guess work .        There 's no doubt

11 in my mind .     It 's not a guess .           It 's not an estimation .

12 I know to my mind , to a moral certainty , what they're

13 talk ing to .

14            MR. MITCHELL:      Thank you .

15            MR. MARTIN:      Your Honor , I know we're going out

16 of turn here , so if I could just ask him a couple                     of

17 question s.

18            THE COURT:      Hurry up .

19            MR. MARTIN:      Very good .

20            THE COURT:      We've covered        this garden pretty

21 thorough ly , but go ahead .

22                            CROSS-EXAMINATION

23            BY MR. MARTIN:

24 Q.         Sergeant , you would admit that with respect                     to

25 some of the phone conversation s, these people                     met and




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 1 talk ed to each other , other than on the phone ; right ?

 2 A.        Yes .

 3 Q.        Based on your experience , it would n't be un usual

 4 for somebody       to have a follow up conversation       that just

 5 segued    on to an earlier       conversation    that you weren't

 6 able to hear ; right ?

 7 A.        Sure .    That 's not un usual .

 8           MR. MARTIN:      Nothing   further .    Thank you .

 9           THE COURT:      All right .    Are we all --

10           MR. MCKNETT :       Your Honor , I just -- just very

11 brief ly .

12                           CROSS-EXAMINATION

13           BY MR.    MCKNETT :

14 Q.        Sergeant    -- I got it right ; right ?

15 A.        Sure .

16 Q.        Sergeant    Sakala , you just said that in the

17 overwhelming       majority   of conversation s you know exact ly

18 what the people       are talk ing about to a moral certainty .

19 A.        Yes .

20 Q.        But it come s down to your opinion         of what

21 they're      say ing , right , because   you weren't   there .

22 A.        It depends     on what you mean by "there ."          I'm

23 certain ly listen ing to        the conversation s that are

24 taking    place , but I'm not stand ing next to the person .

25 So , I don't know      what you mean by "there ".




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 1 Q.         Well , if someone    were to say -- I have to use

 2 Mr. Montemarano 's words -- I have six cup s here .

 3 You're    not there ; right ?

 4 A.         Based on one conversation ?

 5 Q.         You're    not there ; right ?

 6 A.         Based on the conversation        where one person     says

 7 six cup s, I would n't offer an opinion .

 8 Q.         Were you there ?

 9 A.         In your hypothetical ?

10 Q.         Yes .

11 A.         I guess I was n't there , if you're         tell ing me I

12 was n't there .

13 Q.         But suppose    someone     later told you that the word

14 "cup s" meant cocaine .

15 A.         Okay .

16 Q.         You would then go back and re- read the

17 conversation s, would n't you ?         Or listen     to them again?

18 A.         Perhaps .

19 Q.         Then you would form an opinion         as to whether     the

20 word "cup s" -- when someone          said , I have    six cup s here ,

21 whether that        was a reference    to cocaine , or maybe an

22 innocent     reference    to cup s; right ?

23 A.         If I only had one conversation         to form an

24 opinion    on , I probably     would n't render     an opinion on

25 the a conversation .        If I had 10, 000 conversation s




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 1 regard ing cup s, I might render         an opinion .   It would

 2 depend   on the conversation s.

 3 Q.         Suppose    someone   else says , I'm going -- I've got

 4 a cup ; oh , good .      Hold those six cup s for me because

 5 I'm comi ng over to get them .

 6 A.         Okay .

 7 Q.         And then later somebody       says "cup s" meant

 8 cocaine .     Now you have two conversation s.

 9 A.         Okay .

10 Q.         Well , it 's -- it might be a bit out of the

11 ordinary     for people    to say , I have six cup s; oh , hold

12 them for me and I'll come get them .           That 's kind of an

13 un usual conversation s, isn't it ?

14 A.         I guess it could be .

15 Q.         Now you're    going to go back and you're      going to

16 re- listen    to the conversation s; right ?      And now you're

17 going to see two conversation s that say "cup s."

18 A.         Okay .

19 Q.         Now , suppose   there 's a third conversation      with

20 other people        and one of those people    says , I pick ed up

21 eight cup s.        Do you want them ?    On this one you decide ,

22 we're going to find out and -- you go and y ou do a

23 surveillance        and you observe   a drug transaction , okay ?

24 A.         Okay .    If I observe   the drug transaction , okay .

25 Q.         It turn s out the conversation      in that -- the use




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 1 of the words in that conversation             meant cocaine .

 2 A.       Okay .

 3 Q.       Now , it 's quite possible       you're   now going to go

 4 back an d re- listen       to those other recordings        and you're

 5 going to say , "cup s" might mean cocaine           in all these

 6 conversation s; right ?

 7 A.       I think you've       only given me two conversation s,

 8 if I'm follow ing this hypothetical , and the first

 9 conversation      didn't    offer to tell me what it was , and

10 in the second      one we made a stop and seize d cocaine .                I

11 think in that case the second          conversation       we might

12 have some inclination that "cups"             refers to    cocaine .       I

13 don't know     that I would infer , based on two

14 conversation s, to the first conversation , if I

15 understand     the example     correct ly .

16 Q.       Let 's assume      the third conversation        -- let 's

17 assume   in the first two conversation s --

18 A.       Okay .

19 Q.       -- the same person       says , I have six cup s.          Then

20 that person     says , I just got six cup s.        Do you want

21 them ?   And then in the third conversation , the same

22 person   says -- to someone       not in the first two

23 conversation s -- I have six more cup s.            Do you want

24 them .   That person       says yes , and you decide       you're

25 going to do a surveillance , okay ?            You now have a




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 1 conversation       between   Person   A and Person C talk ing

 2 about cup s, all right ?

 3           Are you follow ing me , or am I confusing            you ?

 4 A.        I am not follow ing you .

 5 Q.        The first conversation        Person A and Person B.

 6 Person    A says , I have     six cup s here , okay ?

 7 A.        Okay .

 8 Q.        In the    second   conversation     between P erson A and

 9 Person B, Person A says , I've got six cup s.               Do you

10 want them ?

11           Okay?

12 A.        Okay .

13 Q.        In the    third conversation      between P erson A and

14 Person C, Person A says , I just got eight cup s.                Person

15 C says , I'll come get them .

16           Okay ?

17 A.        Okay .

18 Q.        So y ou do a surveillance         on person s A and C --

19 A.        Okay .

20 Q.        -- and you see a drug deal .          Okay ?

21 A.        Okay .

22 Q.        You see Person C go get cocaine .              You now have a

23 situation     where you have found a situation            where the

24 word "cup s" has been use d as code word for cocaine ;

25 right ?




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 1 A.         It would appear     to be , yes .

 2 Q.         Now , you go back and you examine        the first two

 3 conversation s between P erson A and B.            You could easily

 4 form the opinion        that Person A is talk ing about cocaine

 5 then , too ; correct ?

 6 A.         It could be an indication .         I don't think    I'd

 7 render    an opinion     based on three conversation s.

 8 Q.         Suppose   there 's a dozen conversation s and Person

 9 A is always       say ing "cup s."

10            MS. JOHNSTON:      Your H onor , objection .

11            THE COURT:      Mr. McKnett , I think we've got your

12 point .

13            MR. MCKNETT :     May I just --

14            THE COURT:      One or two more .

15            BY MR. MCKNETT :

16 Q.         When you say that in the overwhelming          majority

17 of conversation s I know exact ly what the people              are

18 talk ing about to a moral certain ly , what you're             say ing

19 is that you have based your opinion            of what those

20 people    are talk ing about on the circumstance s and that

21 your opinion       can't be wrong .

22 A.         No .   No , I didn't   say that at all .    I said I

23 know for a moral certainty           what the overwhelming

24 majority     of these conversation s are about .        If I don't

25 offer an opinion , I will         say I do not know what that




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1 conversation       is about .

2 Q.         What you claim to know about these conversation s

3 is based on circumstance s surround ing the

4 conversation s; correct ?

5 A.         That 's correct .

6 Q.         Your observance s of those circumstance s

7 surround ing a conversation ; right ?

8 A.         That is a factor , yes .

9 Q.         Your expertise       of other case s --

10 A.        Yes .

11 Q.        -- and what people       involve d in this case have

12 told you ; correct ?

13 A.        I think I went over that with Mr. Montemarano .

14 I think other people       in the case have confirm ed my

15 opinion .     I do not believe      I've bas ed any of my

16 opinion s on what other cooperator s or witness es have

17 told me .

18 Q.        But you have decide d that you know -- what if

19 someone     told you your opinion      was wrong ?

20 A.        I'm sure there are a lot of people           in this room

21 who would say that .

22 Q.        I'm talk ing about people         involve d -- suppose   you

23 had a conversation      where you were firm ly convince d it

24 was a drug conversation         involving    this case and someone

25 else involve d in this case said , you're            wrong .   Would




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 1 you change    your opinion ?

 2 A.        Oh , no .

 3 Q.        You didn't ?

 4 A.        That has not happened       in this case .    No one has

 5 had a different       opinion    of the conversation s than I

 6 have .    If they did , it would depend       on their basis of

 7 that belief     and the conversation , but I doubt very

 8 strong ly I would dis agree on the mean ing of these

 9 conversation s.

10 Q.        Are you say ing that in the 17 year s of your

11 experience    in drug trafficking       investigation s, no one 's

12 ever dis agreed with your opinion ?

13 A.        I thought    we were talk ing about the call s in

14 this particular       case .    If that 's what we're talk ing

15 about , I stick with the answer .         If you want to go back

16 over other case s, we can talk about that .            Certain ly

17 I've made mis take s in my career , as almost          everybody

18 has .

19 Q.        In this case you form ed your opinion s based on

20 the circumstance s surround ing a conversation           and then

21 your opinions     were always      -- well , not "always "

22 confirm ed , but your opinion s, or at least         some of the

23 -- about some of the conversation s were confirm ed .

24 A.        About many of the conversation s that the -- my

25 opinion    was confirm ed by cooperator s and other




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1 witness es .        That is correct .

2             MR. MCKNETT :     Thank you .

3             THE COURT:      Anything    further ?

4             MR. WARD:      Just a couple    of question s, Your

5 Honor .

6                             CROSS-EXAMINATION

7             BY MR. WARD:

8 Q.          Detective , it 's fair to say that all of the

9 person s intercept ed on the wiretap s were

10 African-American s?

11 A.         No , that 's not fair to say .          That 's not

12 accurate .

13 Q.         There may have     been one or two who were not ?

14 A.         I have    no idea , but I would say it 's probably

15 quite a bit more than that .

16 Q.         You would ?

17 A.         Yes .

18 Q.         I see .    Would you concede , sir , or would you

19 agree with me that some African- American s, particular ly

20 inner city African-American s, speak a sort of street

21 language     or street    dialect     that is not necessarily

22 comprehensible        to a person     such as yourself     or to me ,

23 who are both white ?

24 A.         If you're     say ing that they have an accent         or

25 speak in street        slang , I would agree with that .




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 1 Q.         That 's what I'm    talk ing about , street        slang .

 2 A.         Not comprehensible .       I'm not sure I agree with

 3 that .

 4 Q.         I'm talk ing a about street         slang .

 5 A.         I would agree that there are street              slang that

 6 exist s.    It 's the    in comprehensible      part that I have a

 7 problem    with .

 8            MR. WARD:     I see .    I have    no other question s.

 9 Thank you .

10            THE COURT:      All right .      Anything     further ?

11            Any re direct    on qualification s?

12            MS. JOHNSTON:      No , Your Honor .        We would ask the

13 court to accept        Sergeant    Sakala    as an ex pert in the

14 area of drug trafficking           pattern s and the      use of code

15 language    in those drug trafficking           activities .

16            MR. MONTEMARANO :       Our objection       remain s, Your

17 Honor .

18            THE COURT:      I've heard your object ions, and I

19 over rule them .

20            I will accept     him as an ex pert who can give an

21 opinion    on the subject s de scribe d by Ms. Johnston .

22            MR. WARD:     Your Honor , one further          thing .   If

23 this witness        is going to testify       as both a fact witness

24 and an ex pert witness , we insist            that the government

25 state or designate         what part of his testimony          they're




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 1 offering    as ex pert testimony       and what part they're

 2 offering    as non- ex pert testimony , and we would ask the

 3 court to appropriately        instruct    the jury at the time

 4 the government     make s that designation .

 5            MS. JOHNSTON:     Your Honor , I think I've done

 6 that up at the bench in term s of the surveillance s and

 7 the pole camera        identification s, and I will make it

 8 clear in my question ing when he 's being asked questions

 9 as a fact witness .

10            THE COURT:     She will make that clear during         her

11 examination , Mr. Ward .

12            MR. WARD:     I just want ed to mention      that , Your

13 Honor .

14            THE COURT:     Counsel , as I mention ed to you , I

15 have a case trail ing this one for a sentenci ng today .

16 Let 's take a 15 -minute      recess    and we'll go until about

17 4:25 and quit for the day , all right ?

18                  (Jury excused at 3:41 p.m.)

19                  (Off the record       at 3:41 p.m. )

20                  (On the record at       3:55 p.m. )

21            THE COURT:     While we're wait ing for the

22 courtroom    deputy     to come in , I want ed to make certain

23 that spectators        in this courtroom    are aware of the fact

24 that cell phone s in this courtroom          are strict ly

25 precluded    from being on .     I've had three incident s




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 1 to day of cell phone s going off in this courtroom .              I'm

 2 a very patient      person , but if they go off again I'm

 3 going to exclude      you from the courtroom .         So , you make

 4 a decision      that when    you come in this courtroom , cell

 5 phone s are off .     If they go off in the courtroom , you

 6 will be exclude d from        the courtroom     because   we've got

 7 to maintain      the decorum     of the proceed ings in this

 8 courtroom .

 9                   (Jury return s at 3:58 p.m. )

10                   (Witness     resume s the stand .)

11          THE COURT:         You may proceed .

12                         FURTHER DIRECT EXAMINATION

13          BY MS. JOHNSTON:

14 Q.       Detective    Sakala , in term s of the conversation s

15 that we're about to listen          to .   Did you form opinion s

16 concern ing some of the conversation s?

17 A.       Yes .

18 Q.       Are those opinion s based on each conversation               in

19 isolation ?

20 A.       No .

21 Q.       What are your opinion s base d upon ?

22 A.       The totality        of the call s intercept ed , which

23 would probably      in excess     of 10, 000 call s.

24          MS. JOHNSTON:         With that , Your Honor , we would

25 like to begin play ing the telephone            call s that are




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 1 contain ed in Volume       1 --

 2            THE COURT:     All right .

 3            MS. JOHNSTON:      -- which is referred      to as CD-1A

 4 as the trial exhibit .        We're going to begin with B-14 .

 5            THE COURT:     What page number       is that on ?

 6            MS. JOHNSTON:      B-14 is on Page 1.

 7            THE COURT:     Page 1?   All right .

 8            BY MS. JOHNSTON:

 9 Q.         While everyone     is get ting their book s out .

10            Detective    Sakala , on what date did the actual

11 intercept s begin in this case ?

12 A.         If it was n't March 8, it was right around            there ,

13 2004 .

14 Q.         I can put up the chart that we use d on the first

15 day of trial .

16            Does that tell you when the interception s

17 actual ly began ?

18 A.         March 8th of 2004 .

19 Q.         This first call that we're going to listen             to

20 occurred    over which telephone        line ?

21 A.         The B line .    The home telephone       line of Paul ette

22 Martin .

23 Q.         On what date and time did the first call take

24 place ?

25 A.         The first call , or this call ?




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1 Q.          The call we're going to listen           to , B-14 .

2 A.          Oh. 15 :03 p.m. is 3:03 p.m. on March 8th .

3 Q.          If we could please        play that call .

4             (Audio record ing begin s play ing at 4:01 p.m .)

5             (Audio record ing stop s play ing at 4:0 p.m. )

6             BY MS. JOHNSTON:

7 Q.          When you original ly heard that on March 8 of

8 2004 , did you form an opinion            as to the nature       of that

9 conversation ?

10 A.         No .

11 Q.         Did there come a time dur ing the course               of the

12 interception s when you form ed an opinion              as to that

13 conversation ?

14 A.         Yes .

15 Q.         What was that opinion        based upon ?

16 A.         The other call s that were intercept ed and

17 possibly     on surveillance , but primarily           on the pattern

18 of call s that we intercept ed , and it became               -- the

19 nature   of the call became         clear .

20 Q.         Who were the two people        speaking     in that call ?

21 A.         Paulette    Martin     and Milburn    Walk er .

22 Q.         And "Bruce " refer s to who ?

23 A.         Milburn    Walk er .

24 Q.         Based upon the information           that you've    learn ed

25 throughout        the course    of this investigation        and the




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 1 other call s you've       listened    to , do you have an opinion

 2 as to what they were discuss ing when Ms. Martin                asked ,

 3 what size outfit        do you want for your godc hildren , and

 4 both of them are wear ing a size 8?

 5 A.         Yes .

 6 Q.         What is your opinion ?

 7 A.         Mr. Walk er is ordering          a quantity   of drug s from

 8 Ms. Martin ; "size 8" refer s to the quantity               that he 's

 9 buy ing from her .

10 Q.         "Both of them " refer s to what ?

11 A.         One would be crack cocaine , and one is powder

12 cocaine .     One of each .

13 Q.         That is based not only on this call but also on

14 call s that you've       listened    to ?

15            MR. MCKNETT :     Your Honor , I object        to that

16 answer .

17            Could we approach ?

18            THE COURT:      Yes .

19                    (At the bar of the Court.)

20            MR. MCKNETT :     Your Honor , my objection        goes to

21 the fact that the witness           has cross ed the line from

22 ex pert to fact witness .          It is certain ly within      his

23 expertise     to testify     that kind of section        has to do

24 with in his ex pert opinion          illegal     drug s, but then he

25 goes across the line and interpret s fact s co ntained




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 1 during   an investigation          of this case and clothe s them

 2 in an expert's        robe .     He is not allow ed to do that .

 3            MS. JOHNSTON:         I don't know    what fact s counsel

 4 is talk ing about .       I mean , technically , his

 5 identification        of the voice s would be fact s, and I will

 6 ask him -- if that 's what           he 's object ing to , I can say ,

 7 based on your contact            with these individuals       and the

 8 call s you've       listened     to , who was speak ing .     We can     do

 9 it that way .

10            I think that 's also his opinion          if that 's who

11 they are , based on their identifier s; or if he 's

12 talk ing about that it was cocaine              and cocaine    base ,

13 that is his opinion            based on his train ing and

14 experience     and the other conversation s that he 's

15 listened    to .

16            MR. MCKNETT :        Your Honor , that 's not my

17 objection .        My objection     has to do with his

18 presentation        of the conversation , not the

19 identification        of the name s.      What the witness      has done

20 -- let me read it from the case in my brief:                   Ex pert

21 testimony     will be aim ed at reveal ing the significance

22 of code d communication , eval uating            the evidence    and

23 particular     difficulti es , warrant ing individual           language

24 by the trial court who is an ex pert , who is also the

25 case agent .        He goes beyond and       summarize s the belief s




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 1 about the defendant 's conduct          based upon his knowledge

 2 of the    case , and that 's exact ly what he 's done .

 3           THE COURT:      He 's interpret ing what was in th e

 4 conversation     by the term , "W hat size outfit       do you want

 5 for your god children ?       Both of them are size 8?"           " Both

 6 of them are size 8."

 7           He 's giving    an interpretation     of what that

 8 mean s.

 9           MR. MCKNETT :     I suggest    he needs to be voir

10 dire d outside    the presence      of the jury as to his basis

11 for that opinion .       If that opinion     is base d solely      on

12 information     gain ed duri ng the investigation       of this

13 case --

14           THE COURT:      He is giving    that testimony     by

15 background     an d experience .     He 's also re fuse d to give

16 an opinion     base d jus t by listen ing to     one record ing .

17 He want s to -- he can give an accurate           interpretation

18 of what they meant , and that 's what he 's done .           So , I

19 over ruled the objection .         I over rule the objection .

20                   (Back in open court .)

21           BY MS. JOHNSTON:

22 Q.        If we could go to the next call on Page 2, B-28 .

23           Can you tell us , detective , on what date and

24 time this call took place ?

25 A.        March 8, 2004 , 17 :53 hour s, or 5:53 p.m.




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 1 Q.        does the transcript           accurate ly reflect   the

 2 part ies to   that call ?

 3 A.        Paulette    Martin and Derrick Bynum        .

 4 Q.        If we could play that , please .

 5           (Audio   record ing begin s play ing at 4:07 p.m. )

 6           (Audio   record ing stop s play ing at 4:07 p.m. )

 7           BY MS. JOHNSTON:

 8 Q.        Do you know where the telephone            was locate d

 9 where Ms. Martin       received    the call ?

10 A.        This was received        at her home .     She was home

11 when she received       it .

12 Q.        Where is her home ?

13 A.        810 Hayward A venue , Takoma         Park , Maryland .

14 Q.        If we could go to call B-35 on Page 3.

15           What is the date and time of this call ?

16 A.        This is on March 8, 2004 , 20 :26 p.m. or 8:26

17 p.m.

18 Q.        Is this part of a series           of call s?

19 A.        This is a portion        of that .    The transcript      is a

20 portion   of the     entire    call .

21 Q.        Is it related        to call s B-42 and B-47 on the --

22 our next two call s in the book ?

23 A.        That 's correct .

24 Q.        Are the parti es the same in B-35 and B-42 ?

25 A.        Yes .




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 1 Q.         The parti es in B-47 are whom ?

 2 A.         B-47 is a male name d Cuba LNU .

 3 Q.         These call s took place over which telephone

 4 line ?

 5 A.         The B line .    The home telephone         line of Paulette

 6 Martin .

 7 Q.         Locate d in the residence       on Hayward ?

 8 A.         Hay ward A venue .

 9 Q.         What is the time span between        the three call s?

10 A.         B-35 is 8:26 p.m .; the next one , B-42 is at 9:41

11 p.m .; and B-47 is 10 :18 a.m.

12 Q.         If we could play those three call s, please .

13            (Audio record ing begin s play ing at 4:09 p.m. )

14            (Audio record ing stop s play ing at 4:09 p.m. )

15            (Second   record ing begins playing         at 4:09 p.m. )

16            (Second recording       stop s playing     at 4:10 p.m. )

17            MS. JOHNSTON:        And B-47 , please .

18            (Audio record ing start s play ing at 4:10 p.m. )

19            (Audio record ing stop s play ing at 4:12 p.m.)

20            BY MS. JOHNSTON:

21 Q.         First of all , in that last telephone , where was

22 Mr. Goodwin     when he made that call ?

23 A.         He was at the residence        on Hayward     Avenue -- Ms.

24 Martin 's residence .

25 Q.         Is that how you were able to intercept            that




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 1 call ?

 2 A.         Yes .

 3 Q.         Call ing your attention     to those call s.

 4            Could you explain     to the ladies and gentlemen of

 5 the jury     what your opinion     is in term s of what was

 6 discuss ed in those three call s?

 7 A.         In the first call between       Paulette     Martin    and

 8 Learley    Goodwin , Ms. Martin     is asking       Mr. Good win if

 9 she can get a half a sweet potato           pie .    By " one half ,"

10 she 's referring      to an ounce, which is         to come from

11 Cuba , which is reference d in the second             line there .

12            In the second    conversation , she 's asking         him if

13 he 's still comi ng over ; he tell s her he will be right

14 there .

15            In the third conversation       is when Mr. Goodwin

16 call ing Cuba to make arrangement s to meet him .

17 Q.         Okay .    Base d on your surveillance s throughout

18 this investigation , did you determine              whether   or not    a

19 new Giant is locate d across the street              from Prince

20 George 's Plaza ?

21 A.         Yes .

22 Q.         Based upon your train ing and experience , did you

23 make a determination        as to what kind of drug s that kilo

24 and a half was going to be ?

25 A.         Cocaine    powder .




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 1 Q.       In that first conversation , on Page 3, what is

 2 the code word that 's being use d by Ms. Martin                 to

 3 de scribe    the cocaine ?

 4 A.       "Sweet potato       pie ."

 5 Q.       Again , is that based on this call in isolation ?

 6 A.       No .    In fact , when we first heard this one , we

 7 had no idea what they were referring               to .

 8 Q.       What is your opinion          based upon ?

 9 A.       Subsequent     conversation s -- hundreds            and

10 hundreds.       It will become     obvious .

11 Q.       If we could then turn to Page 7 of the book .

12 Th is would be call B-80 .

13          What is the     date and time of this call ?

14 A.       This was on March 9, 2004, at 1:12 p.m.

15 Q.       So it would be the second             day of your

16 interception s?

17 A.       Yes .

18 Q.       Does the transcript          accurate ly identify          the

19 part ies to     the call ?

20 A.       Yes .    It 's Paulette      Martin    and Reece W hiti ng .

21 Q.       Is call B-82 , on Page 8, related                to call B-80 ?

22 A.       Yes .

23 Q.       Who are the parti es to the call ?

24 A.       The same .     It's Paulette      Martin     and Reece

25 Whiti ng .




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 1 Q.         If we could play those please .

 2            (Audio record ing begin s play ing at 4:15 p.m .)

 3            (Audio record ing stop s play ing at 4:16 p.m.)

 4            MS. JOHNSTON:        If we could play B-82 .

 5            (A udio record ing begins     play ing at 4:16 p.m .)

 6            (Audio record ing stop s play ing at 4:17 p.m. )

 7            BY MS. JOHNSTON:

 8 Q.         Who are the parti es to those -- well , who left

 9 the message        on Page 7?

10 A.         Reece W hiti ng left the message      on Paulette

11 Martin's     home phone .

12 Q.         Do you see that person       in the courtroom ?

13 A.         Yes .

14 Q.         Could you identify       him , for the record ?

15 A.         The gentleman     seat ed at the defense    table with

16 his glass es on top of his head .

17            MS. JOHNSTON:        We would ask the record      to

18 reflect    the witness      has identifi ed Mr. Reece W hiti ng .

19            THE COURT:      The record   will so indicate .

20            BY MS. JOHNSTON:

21 Q.         Do you have     an opinion , based upon your train ing

22 and experience , as to what Mr. Whiti ng was request ing

23 of Ms. Martin        and what her response    was ?

24 A.         Yes .    In the first call he 's leav ing a message

25 for her tell ing her he want s to buy cocaine           from her .




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1           In the second     call , she 's tell ing him that she

2 does n't have any and she might have some near the end

3 of the week .

4 Q.        What is the language      that you're     interpret ing to

5 mean that he 's look ing for cocaine         and that she does n't

6 have any but she'll        have it later in the week ?

7 A.        In the first call , he refer s to the cocaine

8 using the code word "ticket s;" and in the second               call

9 she tell s him that she does n't have any ticket s --

10 excuse   me , he does n't have any print ed so he'll have to

11 wait until the end of the week , refer ring to           the

12 ticket s he left a message      for .

13 Q.       What is it in term s of this investigation            and

14 your train ing and experience       that led you to conclude

15 in these particular       intercept s that the word "ticket s"

16 refers   to drug s?

17 A.       Early on in the case we identifi ed "ticket s" as

18 a code word for drug s, and that continued           to be a

19 pervasive   code word all the way through         the hundreds

20 and hundreds      of call s that we intercept ed.

21 Q.       Based on your -- how did you determine           that

22 "ticket s" were not actual      tick ets for a movie or for a

23 concert ?

24 A.       Yeah .    Again , I think I talk ed about normal

25 conversation s.       When most people   order ticket s, they




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 1 identify     what it 's for and what date it 's for and what

 2 price it 's for and what that they're going              to see .

 3 That's     whole tick ets , not half ticket s or short

 4 ticket s.

 5            MR. HALL:    Objection     to the "half ticket "

 6 remark .     It was n't use d in this conversation .

 7            THE COURT:      I didn't   hear your objection .

 8            MR. HALL:    I said , I object     to the "half ticket "

 9 remark .     There was no mention        of it in this

10 conversation .

11            MS. JOHNSTON:      I asked him for his opinion           that

12 the word " ticket s" refer s to drugs .

13            THE COURT:      Overruled .

14            BY MS. JOHNSTON:

15 Q.         You may proceed .

16 A.         There was mention of       short ticket s and long

17 ticket s.     The re would    be conversation    that -- the

18 conversation s did not refer to ticket s.             I think

19 there 's a conversation        we're going to hear about a

20 Peruvian- style ticket .        That would not refer to a

21 normal     ticket .

22            Additional ly , we found in other conversation s no

23 indication     that anybody     was engage d in any --

24            MR. SUSSMAN :     Objection .

25            THE COURT:      What's   the objection ?




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 1           MR. SUSSMAN :     It's a hearsay     objection , Your

 2 Honor .

 3           THE COURT:      Sustained .

 4           BY MS. JOHNSTON:

 5 Q.        Your basis of your opinion         is also based upon

 6 other intercept ed conversation s; is that correct ?

 7 A.        That 's correct .

 8 Q.        What was the nature       of those other intercept ed

 9 conversation s that led you to           conclude   that "ticket s"

10 was use d to refer to drug s in this particular

11 conversation ?

12 A.        We had no intercept ed conversation s regard ing

13 legitimate    ticket   commerce .    There was no evidence

14 during    the entire --

15           MR. MCKNETT :     Object ion, Your Honor , to the

16 conclusion    there was no conversation         about legitimate

17 ticket    commerce .

18           MS. JOHNSTON:       Your H onor , that 's his opinion .

19           THE COURT:      Over ruled .

20           BY MS. JOHNSTON:

21 Q.        Please   continue .

22 A.        Ticket   commerce .

23           Additional ly , when we executed          search   warrant s,

24 we look ed for any clue or any indication              of people

25 sell ing ticket s and found none .




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 1 Q.       If we could go to call B-129 .          What is the date

 2 and time of call B-129 , on Page 9?

 3 A.       This is on March 9, 2004 , 7:59 p.m.

 4 Q.       If we could play that , please .

 5          (Audio record ing begins        play ing at 4:21 p.m .)

 6          (Audio record ing stop s play ing at 4:22 p.m. )

 7          BY MS. JOHNSTON:

 8 Q.       Who are the part ies to        that conversation ?

 9 A.       Paulette    Martin   and Luis Mangual , Jr .

10 Q.       Did you form an opinion         as to what they were

11 discuss ing in that call ?

12 A.       Yes .

13 Q.       What is that opinion ?

14          MR. MCKNETT :      Your Honor , objection .

15          There is no indication         of any code in this

16 conversation .

17          THE COURT:      Over ruled .

18          BY MS. JOHNSTON:

19 Q.       Based upon your train ing and experience            and all

20 of the call s you 've listened       to in this case , did you

21 form an opinion      as to if there was anything          that was

22 said in this call relat ing to          drug activity ?

23 A.       Yes , there is .

24 Q.       What is that ?

25 A.       Mr. Mangual     was tell ing Ms. Martin      he has




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 1 cocaine    for sale .

 2 Q.        Where do you see that ?

 3 A.        "Everything     is good ."

 4 Q.        To your knowledge , did Ms. Martin          -- strike

 5 that.

 6           During    the course   of your investigation , did you

 7 un cover any evidence       of another    relationship    between

 8 Ms. Martin       and Mr. Mangual ?

 9 A.        They certain ly knew each other .

10 Q.        Were they in the ticket         business   together ?

11 A.        No .

12 Q.        If we could go to the next telephone           call , A-87,

13 on Page 10 .       And if we could play that , please .

14           (Audio record ing begin s play ing at 4:23 p.m .)

15           (Audio record ing stop s play ing at 4:24 p.m.)

16           BY MS. JOHNSTON:

17 Q.        Detective     Sakala , who is leavi ng the message        on

18 Ms. Martin 's answering       machine ?

19 A.        Ruby Harden .

20 Q.        Do you see Ms. Hard en in the courtroom ?

21 A.        Yes .

22 Q.        Would you identify      her , for the record ?

23 A.        She 's sitting    in the , I guess the second       row of

24 the defense , with a tan sweat er , second           in from the

25 aisle , next to Mr. Sussman .




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 1            MS. JOHNSTON:       We would ask the record        to

 2 reflect    the witness      has identifi ed Ruby Harden .

 3            THE COURT:      The record      will so indicate .

 4            BY MS. JOHNSTON:

 5 Q.         Based upon your train ing and experience , did you

 6 make a determination         as to whether      or not this call

 7 concerns     drug s?

 8 A.         Not direct ly , no .

 9 Q.         In term s of the phrase , "I've got my tractor

10 trail er and I've got to drop off something              for a

11 customer ."     Based on your train ing and experience , was

12 that legitimate         business , or was it a drug customer ?

13 A.         I believe     the customer      she 's referring   to is

14 she 's dropping        off a trail er .     Ms. Hard en is a truck

15 driver , and she was dropping             off a trail er for a

16 customer .     She 's leaving     a message     for Ms. Martin     to

17 get back with her .

18 Q.         When she says , "H ead ing over that way ," is that

19 a reference     to where ?

20 A.         She 's comi ng over to see -- to be -- will be in

21 Paula 's neighborhood        -- P aulette     Martin 's area .

22 Q.         If we could go to the next call , B-149 on Pa ge

23 11 , and i f we could play that please .

24            (Audio record ing begin s play ing at 4:26 p.m.)

25            (Audio record ing stop s play ing at 4:27 p.m.)




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 1            BY MS. JOHNSTON:

 2 Q.         Who are the parties       in that telephone         call ?

 3 A.         Paulette    Martin    and Derrick      Bynum .

 4 Q.         There 's a reference      to "Becky ."      Do you know who

 5 that 's referring       to ?

 6 A.         Yes .

 7 Q.         Who is that ?

 8 A.         Lavon Dobie .

 9 Q.         Do you see Ms. Do bie in         the courtroom ?

10 A.         Yes , I do .

11 Q.         Would you identify       her for the record ?

12 A.         She 's the female      sitting    next to the defense

13 counsel on the far        right-hand     side .

14 Q.         We would ask the record          reflect   the witness       has

15 identif ied the       defendant , Lavon Dobie .

16            THE COURT:      All right .      The record      will so

17 indicate.

18            MS. JOHNSTON:        May I ask one more question ?

19            THE COURT:      Ask your question .

20            BY MS. JOHNSTON:

21 Q.         Based on your train ing and experience , was there

22 anything     significant       to you about drug trafficking            in

23 the call ?

24 A.         Yes .

25 Q.         What was that significance ?




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 1 A.        Ms. Martin     said yes , and Mr. Bynum says that

 2 he 's going to come over anyway , de spite the fact that

 3 Ms. Dobie is     still there .

 4 Q.        One more question , Your Honor .          Could I ask him

 5 to identify     Mr. Bynum if he see s him in the courtroom ?

 6           THE COURT:      You may .

 7           THE WITNESS:      Mr. Bynum is seat ed with defense

 8 counsel     in a dark button -up shirt , fourth        one from the

 9 right side, seated next to         Mr. Whiti ng .

10           MS. JOHNSTON:      We would ask     the record    to

11 reflect     the witness   has identifi ed Derrick Bynum .

12           THE COURT:      All right , the record      will so

13 indicate .

14           Ladies and gentlemen        , we're going to recess     for

15 the day .     I have   a sentenci ng tomorrow       morn ing at 9:00,

16 so we will start tomorrow        at 10 :00.     I anticipate     going

17 to about 4:30 tomorrow , so it will           be a normal   schedule

18 tomorrow .

19           I would ask that the jury be excused           now and,

20 counsel , that you also prompt ly dis appear , because            I

21 have a sentenci ng that was schedule d to start at 4:00 .

22                          (Jury excused     at 4:28 p.m. )

23                          (Off the record at 4:28 p.m.)

24

25




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 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, criminal Action Number            RWT -04-0235 on

10 June 20, 2006.

11

12       I further certify that the foregoing            234 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this 4th day of       April 2008 .

19

20

21                        __________________________
                          TRACY RAE DUNLAP, RPR , CRR
22                        OFFICIAL COURT REPORTER

23

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